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                                      Midlab Inc

                                           VS.

                                        Wycoff




                                  VINCENT T. KELLER

                                     August 06, 2021




  EXHIBIT Q
      Case No. 1:20-cv-03142-DDD-KLM Document 57-17 filed 11/01/21 USDC Colorado pg 2
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                                                               Page 1                                                             Page 2
IN THE UNITED STATES DISTRICT COURT                                     ·1· · · · · · · Pursuant to Notice and the Federal
FOR THE DISTRICT OF COLORADO                                            ·2· ·Rules of Civil Procedure, the Zoom deposition
Civil Action No. 1:20-CV-03142-KLM                                      ·3· ·of VINCENT T. KELLER, called by Defendants, was
__________________________________________________                      ·4· ·taken on Friday, August 6, 2021, commencing at
ZOOM DEPOSITION OF VINCENT T. KELLER                                    ·5· ·9:06 a.m., via remote videoconference, before
August 6, 2021                                                          ·6· ·Tracy L. Harris, Certified Realtime Reporter,
__________________________________________________                      ·7· ·Registered Merit Reporter, and Notary Public
MIDLAB, INC., a Tennessee Corporation,                                  ·8· ·within and for the State of Colorado.
Plaintiff,                                                              ·9
vs.                                                                     10
MERRIE PISANO WYCOFF individually and as trustee
                                                                        11· · · · · · · · · · · · I N D E X
of The Wycoff Family Trust; WYCOFF FINANCIAL, LLC,
                                                                        12· ·ZOOM DEPOSITION OF VINCENT T. KELLER
a Colorado limited liability company; MAGNUS
                                                                        13· ·EXAMINATION BY:· · · · · · · · · · · · · · · ·PAGE
VERITAS LLC, a Colorado limited liability company;
                                                                        14· · · · Mr. Pulkrabek· · · · · · · · · · · · · · · --
and GCS452, LLC, a Colorado limited liability
                                                                        15· · · · Mr. Abelman· · · · · · · · · · · · · · · · ·4
company,
                                                                        16
Defendants.
                                                                        17· ·PREVIOUSLY MARKED· · · · · · · · INITIAL REFERENCE
__________________________________________________
                                                                        · · ·EXHIBITS
APPEARANCES:
                                                                        18
· · ·KEATING WAGNER POLIDORI & FREE, PC
                                                                        · · ·Exhibit 31 Manufacturing and Supply Agreement· ·33
· · · · · ·By Ross W. Pulkrabek, Esq.
                                                                        19
· · · · · · · 1290 Broadway, Suite 600
                                                                        · · ·Exhibit 42 E-mail to V. Keller from Speth,· · · 68
· · · · · · · Denver, Colorado· 80203
· · · · · · · · Appearing via Zoom on behalf of                         20· · · · · · · 3/25/17

· · · · · · · · Plaintiff                                               21· ·Exhibit 43 E-mail to V. Keller, et al., from· · 79

· · ·BROWNSTEIN HYATT FARBER SCHRECK, LLP                               · · · · · · · · Speth, 5/13/16

· · · · · ·By Steven E. Abelman, Esq.                                   22
· · · · · · · 410 - 17th Street, Suite 2200                             · · ·Exhibit 47 E-mail to Keller and Bodie from· · · 91
· · · · · · · Denver, Colorado· 80202                                   23· · · · · · · Miller, 9/14/16
· · · · · · · · Appearing via Zoom on behalf of                         24· ·Exhibit 49 E-mail to Lowe and Miller from· · · ·98
· · · · · · · · Defendants                                              · · · · · · · · Housley, 3/16/20
Also Present: Ana Herrera, technician                                   25

                                                               Page 3                                                             Page 4
·1· · · · · · · · · I N D E X (Continued)
                                                                        ·1· · · · · · · · · ·P R O C E E D I N G S
·2· ·PREVIOUSLY MARKED· · · · · · · · INITIAL REFERENCE
· · ·EXHIBITS
                                                                        ·2· · · · · · · (Exhibits 68 and 69 marked.)
·3                                                                      ·3· · · · · · · · · ·VINCENT T. KELLER,
· · ·Exhibit 51 Limited Continuing Guaranty· · · · · 34                 ·4· ·being first duly sworn in the above cause, was
·4· · · · · · · (Guaranty Limited to $1,000,000)
                                                                        ·5· ·examined and testified as follows:
·5· ·Exhibit 53 E-mail to Keller from Wycoff,· · · · 67
· · · · · · · · 3/21/16                                                 ·6· · · · · · · · · · · ·EXAMINATION
·6                                                                      ·7· ·BY MR. ABELMAN:
· · ·Exhibit 55 E-mail to Keller from Wycoff,· · · · 81                 ·8· · · · Q· · ·Good morning, Mr. Keller.· This is
·7· · · · · · · 6/12/16
·8· ·Exhibit 56 E-mail to Keller from Wycoff,· · · · 84
                                                                        ·9· ·Steve Abelman.· I'm an attorney for the
· · · · · · · · 6/13/16                                                 10· ·defendants.
·9                                                                      11· · · · · · · MR. PULKRABEK:· Hold on just one
· · ·Exhibit 57 E-mail to Keller from Wycoff,· · · · 85
                                                                        12· ·second.· I need to interrupt.· I don't think we
10· · · · · · · 7/13/16
11· ·Exhibit 62 E-mail to Keller, Schenk and Miller· 93
                                                                        13· ·did any kind of appearances or anything along
· · · · · · · · from Wycoff, 4/8/16                                     14· ·those lines.· Did you want to do that before we
12                                                                      15· ·get going with the questioning?
13· ·EXHIBITS· · · · · · · · · · · · ·INITIAL REFERENCE
                                                                        16· · · · · · · MR. ABELMAN:· I thought I just did
14· ·Exhibit 68 Amended Complaint· · · · · · · · · ·116
15· ·Exhibit 69 Handwritten notes· · · · · · · · · ·101                 17· ·that.
16                                                                      18· · · · · · · MR. PULKRABEK:· No.· I don't -- I
17
                                                                        19· ·don't think we were asked to -- for appearances or
18
19
                                                                        20· ·anything.· Did I miss that?· Maybe the court
20                                                                      21· ·reporter can clarify, but I just --· Yeah, I
21                                                                      22· ·didn't hear any kind of appearances on the record,
22
                                                                        23· ·but maybe I just missed it.
23
24                                                                      24· · · · · · · MR. ABELMAN:· I was making my
25                                                                      25· ·appearance, Ross.· You're entitled to make yours.

           EXHIBIT Q
                                                      Vincent T. Keller· - 08/06/2021                                               1–4    YVer1f
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                                                   Page 5                                                     Page 6
·1· · · · · · · MR. PULKRABEK:· Yes.· Okay.· Well, just     ·1· · · · Q· · ·Okay.
·2· ·for the record, Ross Pulkrabek on behalf of the        ·2· · · · A· · ·Yes.
·3· ·plaintiff, Midlab.· I'm sorry.· I didn't hear if       ·3· · · · Q· · ·Mr. Keller, is there anything that
·4· ·there was any kind of a request for that in this       ·4· ·would prevent you from answering questions today
·5· ·case.                                                  ·5· ·in an honest and forthright manner?
·6· · · · · · · And, Tracy, we can't hear you.· You're      ·6· · · · A· · ·No, there is not.
·7· ·on mute.                                               ·7· · · · Q· · ·Where are you presently located,
·8· · · · · · · THE REPORTER:· I'm sorry.· I did not        ·8· ·physically?
·9· ·ask for appearances.                                   ·9· · · · A· · ·Knoxville, Tennessee.
10· · · · · · · MR. PULKRABEK:· It just seemed like we      10· · · · Q· · ·And are you in a business office?
11· ·weren't following the usual protocol, so I just        11· · · · A· · ·Yes.
12· ·wanted to make sure we did.· Thank you very much.      12· · · · Q· · ·What business office is that?
13· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, have you      13· · · · A· · ·Keller Group, LLC.
14· ·ever been deposed before?                              14· · · · Q· · ·And is there anybody in the room with
15· · · · A· · ·No, sir.                                    15· ·you?
16· · · · Q· · ·So we have a court reporter.· You're on     16· · · · A· · ·No.
17· ·video, and there's some basic guidelines that are      17· · · · Q· · ·Do you have any notes or documents with
18· ·beneficial for all of us to follow.· So those          18· ·you?
19· ·include avoiding talking over one another.· Also,      19· · · · A· · ·Yes.
20· ·what I would ask is that all responses to my           20· · · · Q· · ·What do you have with you?
21· ·questions be verbal and that you wait until I          21· · · · A· · ·I have copies of three supply
22· ·finish talking before you begin.· I will try and       22· ·agreements between Midlab and ZAP!· I have a copy
23· ·afford you the same courtesy.                          23· ·of, I guess, the complaint -- I'm not sure of the
24· · · · · · · Is that --· Is that --                      24· ·legalese -- of Midlab, Inc. vs. --· You know, it's
25· · · · A· · ·Okay.                                       25· ·the lawsuit or the complaint.
                                                   Page 7                                                     Page 8
·1· · · · · · · I also have a notebook that I carry         ·1· ·to the situation.· I guess that was in -- in
·2· ·with me at all times, keeping notes of my day and      ·2· ·response to requests by Midlab's counsel, and I
·3· ·meetings I'm in, et cetera.· I have a photocopy of     ·3· ·sent them --· I had a phone call describing them.
·4· ·some pictures from that notebook and other             ·4· ·My handwriting is -- is not very legible, chicken
·5· ·notebooks in previous times that I think are           ·5· ·scratches, especially if I'm writing quickly, so I
·6· ·exhibits that will be used in this case and that       ·6· ·would have read or commentated on what the notes
·7· ·are germane to this conversation.                      ·7· ·said.
·8· · · · · · · I also have a myriad of other paper,        ·8· · · · · · · So I'm not sure if that fully answers
·9· ·unrelated documents around me.                         ·9· ·your question.· I'm not sure about in specific
10· · · · Q· · ·So is it your habit to keep notes of --     10· ·request by the defense.· That --· Yeah, that was
11· ·of all the meetings you attend on a daily basis?       11· ·never mentioned to me, nor did it occur to me.· So
12· · · · A· · ·Generally, yes.· That would be my           12· ·I'm trying to answer your question accurately.
13· ·answer.· I don't always keep detailed notes, but I     13· ·Did I go back and look through notes at the
14· ·often do.                                              14· ·request of my counsel?· Yes.
15· · · · Q· · ·And how far back have you been doing --     15· · · · Q· · ·So your --· And nobody ever asked you
16· ·has that been your habit?                              16· ·to review notes responsive to specific requests
17· · · · A· · ·Since approximately the mid-'90s, maybe     17· ·made by my clients, the defendants?
18· ·the late '90s.                                         18· · · · · · · MR. PULKRABEK:· Object to the form of
19· · · · Q· · ·So did you review your notebooks for        19· ·the question.
20· ·information pertinent to this lawsuit consistent       20· · · · Q· · ·(By Mr. Abelman)· Go ahead and answer
21· ·with discovery requests from the defendants?           21· ·the question, please.
22· · · · A· · ·I'm not sure what is meant by               22· · · · A· · ·I couldn't hear --· Ross said
23· ·"consistent with discovery requests," but allow me     23· ·something, and I was waiting for him to clarify.
24· ·to elaborate.· I certainly did review my notes to      24· · · · · · · MR. PULKRABEK:· I said object to the
25· ·see if anything that I had in my notes was germane     25· ·form of the question.

       EXHIBIT Q
                                          Vincent T. Keller· - 08/06/2021                                       5–8    YVer1f
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                                                   Page 9                                                     Page 10
·1· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, go ahead      ·1· · · · · · · (Page 9, Lines 6 through 10 read.)
·2· ·and answer the question, please.                       ·2· · · · A· · ·That --· That is correct.· That is my
·3· · · · A· · ·Okay.· I --· I'm not aware that I've        ·3· ·recollection.· I have not seen that or read that.
·4· ·reviewed my notes in specific request for              ·4· · · · Q· · ·(By Mr. Abelman)· With whom did you
·5· ·information asked for by defense counsel.              ·5· ·discuss your deposition?
·6· · · · Q· · ·So I take that to mean, among other         ·6· · · · A· · ·Matthew Schenk, briefly.
·7· ·things, that you never were presented or you've --     ·7· · · · Q· · ·And what was said in that conversation?
·8· ·you've never read the specific requests for            ·8· · · · A· · ·I asked, "How did your deposition go?"
·9· ·production or interrogatories propounded by -- by      ·9· ·He said, "Fine.· It wasn't terribly long, maybe an
10· ·me?                                                    10· ·hour and a half."
11· · · · · · · MR. PULKRABEK:· Object to the form of       11· · · · · · · There was not much more than that. I
12· ·the question.· Also, this calls -- or this may         12· ·was at a conference in Maine and short on time. I
13· ·call for an attorney-client communication.             13· ·asked if he knew when -- when my actual deposition
14· · · · · · ·So in answering the question,                14· ·was.· I knew it to be on Friday, but I didn't have
15· ·Mr. Keller, I'd instruct you not to reveal             15· ·a time.· He said he did not.
16· ·communications that have occurred between myself       16· · · · · · · That was the extent of it.
17· ·or Mr. Goldhamer and you or Midlab personnel.          17· · · · Q· · ·Did he tell you any questions that were
18· ·Thank you.                                             18· ·posed to him?
19· · · · Q· · ·(By Mr. Abelman)· So within --· Keeping     19· · · · A· · ·He said that he was asked why Merrie
20· ·in mind Mr. Pulkrabek's admonition, please answer      20· ·was involved in the -- why Merrie Wycoff would be
21· ·the question.                                          21· ·involved in this case.
22· · · · A· · ·Okay.· Would you please repeat the          22· · · · Q· · ·And what else did he say with regard to
23· ·question once more.                                    23· ·that?
24· · · · · · · MR. ABELMAN:· Tracy, would you please       24· · · · A· · ·He did not say anything else in regard
25· ·read back the question.                                25· ·to that.
                                                  Page 11                                                     Page 12
·1· · · · Q· · ·Mr. Keller, what's your home address?       ·1· · · · Q· · ·Are you the sole owner of the Keller
·2· · · · A· · ·2628 Keller Bend Road, Knoxville,           ·2· ·Group?
·3· ·Tennessee· 37922.                                      ·3· · · · A· · ·Keller Group, LLC, yes.
·4· · · · Q· · ·And describe your post-secondary            ·4· · · · Q· · ·And how long have you been the sole
·5· ·education.                                             ·5· ·owner of the Keller Group, LLC?
·6· · · · A· · ·Emory University in Atlanta, Georgia.       ·6· · · · A· · ·Sole owner?· Approximately seven or
·7· ·Harvard Business School for a master's in business     ·7· ·eight months.· An owner, 20 years.
·8· ·administration.                                        ·8· · · · Q· · ·So describe how you -- how you became
·9· · · · Q· · ·And was your MBA anything --· Was there     ·9· ·the sole owner.
10· ·a specialty in your MBA?                               10· · · · A· · ·I purchased the remaining shares of my
11· · · · A· · ·My specialty --· I assume you mean an       11· ·father and my half-brother.
12· ·emphasis on a particular area of business, such as     12· · · · Q· · ·And that was seven or eight months ago?
13· ·accounting or finance.· If you mean that, I would      13· · · · A· · ·Correct.· Yeah, to the best of my
14· ·say no.· It was more of a general management           14· ·recollection.· Certainly not much longer than
15· ·focus.· They don't really have, like, majors like      15· ·that, if longer.
16· ·one has in an undergraduate setting.                   16· · · · Q· · ·Was your --· Is your father Till
17· · · · Q· · ·Did you do the executive MBA program?       17· ·Keller?
18· · · · A· · ·No.· It was --· I don't know what --        18· · · · A· · ·My father is Tillman J. Keller, III; he
19· ·It was the regular full-time MBA program.              19· ·goes by Tim.· My grandfather was Tillman J.
20· · · · Q· · ·And what's your current position with       20· ·Keller, II, and he went by the name Till.
21· ·the Keller Group?                                      21· · · · Q· · ·And was it Till Keller who founded the
22· · · · A· · ·I'm in the position of chief executive      22· ·Keller Group?
23· ·officer.                                               23· · · · A· · ·No.· My father would have founded the
24· · · · Q· · ·How long have you been the CEO?             24· ·Keller Group.· Till Keller was the founder of a
25· · · · A· · ·Approximately 20 to 21 years.               25· ·number of companies.· The owner of Midlab,

       EXHIBIT Q
                                          Vincent T. Keller· - 08/06/2021                                      9–12     YVer1f
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                                                  Page 13                                                     Page 14
·1· ·Incorporated is a company called Kelsan,               ·1· · · · A· · ·The Keller Group provides management
·2· ·Incorporated, and he founded that company in 1950.     ·2· ·services to Kelsan.· The best way to describe the
·3· · · · Q· · ·So you're the third generation of           ·3· ·Keller Group is that it's a holding company which
·4· ·Kellers in this family business?                       ·4· ·has control and oversight of Kelsan, but it is not
·5· · · · A· · ·Yes, sir.                                   ·5· ·legally a holding company.· It is an LLC that does
·6· · · · Q· · ·Since --· When did you receive your         ·6· ·not control or hold the stock of Kelsan.· It acts
·7· ·MBA?                                                   ·7· ·like a holding company for -- just for your
·8· · · · A· · ·1995.                                       ·8· ·understanding, if that's helpful to you.
·9· · · · Q· · ·And since 1995, have you worked in the      ·9· · · · · · · But it is a management services company
10· ·family business?                                       10· ·that has management services agreements with
11· · · · A· · ·Yes.                                        11· ·Kelsan, but it does not hold the stock of Kelsan,
12· · · · Q· · ·How would you describe your                 12· ·if that helps you.· But that's what Keller Group
13· ·responsibilities as CEO?                               13· ·does and is.
14· · · · A· · ·Responsibility for the oversight of not     14· · · · Q· · ·That is helpful.· Who holds the stock
15· ·just -- well, for a number of different entities       15· ·of Kelsan?
16· ·and businesses.· I have operating presidents that      16· · · · A· · ·A spousal limited access trust, my
17· ·report to me that run various organizations.· I'm      17· ·half-brother, Blaine Keller individually, and me
18· ·responsible --· Along with an executive team, I'm      18· ·individually.
19· ·responsible for setting strategic direction,           19· · · · Q· · ·And what's the relationship --· Does --
20· ·financial strategy, banking relations, company         20· ·Does the Keller Group provide management services
21· ·culture, merger and acquisition activity,              21· ·to Midlab?
22· ·oversight and involvement, strategic planning and      22· · · · A· · ·Yes.
23· ·such matters like that.                                23· · · · Q· · ·And who owns --· Who owns the stock of
24· · · · Q· · ·So describe for me the relationship         24· ·Midlab?
25· ·between the Keller Group and Kelsan.                   25· · · · A· · ·Kelsan, Incorporated.
                                                  Page 15                                                     Page 16
·1· · · · Q· · ·What other companies does Kelsan,           ·1· ·Internet company marketing janitorial and cleaning
·2· ·Incorporated own and what are their businesses?        ·2· ·supplies on-line, but that's also a division of
·3· · · · A· · ·Allow me to think for a moment.             ·3· ·Kelsan, not a legal separate entity.· So that's
·4· · · · · · · I think --· We made an acquisition for      ·4· ·why I was pausing.
·5· ·a janitorial sanitary supply distributor based in      ·5· · · · · · · I'm not --· And no other companies come
·6· ·Chattanooga, with offices in Nashville, Tennessee      ·6· ·to mind that it owns separately as subsidiaries or
·7· ·a long time ago, circa 1998, and bought that stock     ·7· ·with an investment.
·8· ·and kept that corporation open.· The name of that      ·8· · · · Q· · ·Is there a Kelsan board of directors?
·9· ·company is escaping me at the moment, but I'm sure     ·9· · · · A· · ·There are a board of directors for
10· ·it will come back to me.· I think somewhat             10· ·Kelsan, yes.· They're organized --· They're called
11· ·recently, we finally dissolved that entity, so it      11· ·the Keller Group board, but it's -- it's -- but
12· ·probably no longer exists; so that might be one.       12· ·legally, they are the board of Kelsan,
13· ·But, again, it seems to me in recent years that        13· ·Incorporated, yes.
14· ·might have been folded in and no longer -- no          14· · · · Q· · ·You said they're called the Keller
15· ·longer is a legal entity.                              15· ·Group board?
16· · · · · · · We have one or two other activities         16· · · · A· · ·Well, we call it a quarterly Keller
17· ·that we run as divisions, but they're not legal        17· ·Group board meeting.· Kelsan would be one of
18· ·entities.· We have a shredding business, as in         18· ·several companies that would present information
19· ·document management and document destruction, like     19· ·to the board, but they -- but -- but statutorily,
20· ·Shred-it or Iron Mountain, if you're familiar with     20· ·legally, they're the board of directors for
21· ·those.· But that's run as a division, so it's not      21· ·Kelsan, Incorporated, Midlab, Incorporated,
22· ·a separate legal corporation.· Therefore, Kelsan       22· ·et cetera.
23· ·doesn't own --· So it just owns the assets of that     23· · · · Q· · ·So the Keller Group provides the
24· ·division.                                              24· ·individuals who serve on the boards of Kelsan?
25· · · · · · · Then the same is true with an on-line       25· · · · A· · ·Correct.

       EXHIBIT Q
                                          Vincent T. Keller· - 08/06/2021                                     13–16     YVer1f
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·1· · · · Q· · ·And others?                                 ·1· · · · A· · ·One of my children does.· My son, whose
·2· · · · A· · ·Correct.                                    ·2· ·name is Tillman Keller, works for Kelsan.
·3· · · · Q· · ·And you're one of the board members?        ·3· · · · Q· · ·And what's his position?
·4· · · · A· · ·Correct.                                    ·4· · · · A· · ·He is a salesperson --· Specific title,
·5· · · · Q· · ·Who --· Who are the other board             ·5· ·I think, is business development national
·6· ·members?                                               ·6· ·accounts; I think that's his specific title.· But
·7· · · · A· · ·My father, Tim Keller, Dr. Chuck            ·7· ·he -- he -- he is a salesperson generating new
·8· ·Cowart, C-o-w-a-r-t -- or Charles Cowart, but he       ·8· ·business.
·9· ·goes by Chuck.· And also Mr. Mike Sims, S-i-m-s.       ·9· · · · Q· · ·How many children do you have?
10· ·We would call those outside directors, non-family      10· · · · A· · ·Two.
11· ·members, non- -- non-management directors.             11· · · · Q· · ·And the other child's name is . . .
12· · · · Q· · ·So you, your father, Chuck Cowart and       12· · · · A· · ·Heidi, H-e-i-d-i, Keller.
13· ·Mike Sims?                                             13· · · · Q· · ·Has Heidi ever worked for any of the
14· · · · A· · ·Correct.                                    14· ·Keller Group enterprises?
15· · · · Q· · ·Don't most boards have an odd number of     15· · · · A· · ·Very shortly, just for a short period
16· ·board members?                                         16· ·of time, a summer- -- a summertime in one of our
17· · · · A· · ·I don't know.                               17· ·businesses that's in the automotive sector.· She
18· · · · Q· · ·Okay.· And so at regular board              18· ·was there for, I'm guessing, 2-1/2 or 3 months.
19· ·meetings, there may be presentations on Midlab as      19· · · · Q· · ·Has Heidi ever been covered by the
20· ·well as Kelsan -- Kelsan and -- and a few other        20· ·Keller Group's health insurance?
21· ·businesses?                                            21· · · · A· · ·As a dependent on her parents, yes.
22· · · · A· · ·Yes, that is correct.                       22· ·And she still is.
23· · · · Q· · ·Do any of your children work for the        23· · · · Q· · ·Is --· Is she under the age of 26?
24· ·Keller Group or any of the businesses with whom        24· · · · A· · ·Yes.
25· ·the Keller Group has management services?              25· · · · Q· · ·Your home at 2628 Keller Bend Road, how
                                                  Page 19                                                     Page 20
·1· ·is that titled?                                        ·1· ·you can do that.
·2· · · · A· · ·Jointly with me and my wife.                ·2· · · · · · · The --· You know, if you want to ask
·3· · · · Q· · ·And what do you estimate is the value       ·3· ·him about methodologies of -- of home valuation,
·4· ·of that home?                                          ·4· ·if it has some connection to the Wycoffs, I think
·5· · · · · · · MR. PULKRABEK:· Form and foundation.        ·5· ·that would be a different question entirely.
·6· · · · · · · THE DEPONENT:· So I would ask my            ·6· · · · · · · MR. ABELMAN:· Are you directing your
·7· ·counsel, should I answer that question?                ·7· ·client not to answer the question?
·8· · · · · · · MR. PULKRABEK:· Mr. Abelman, let me ask     ·8· · · · · · · MR. PULKRABEK:· Yeah, I think I just
·9· ·you, what's the relevance of the estimated value       ·9· ·said that.· If you want to go to the Court and
10· ·of Vince Keller's home to any issue in this case?      10· ·ask that Mr. Keller state the estimated value of
11· · · · · · · MR. ABELMAN:· This is all responsive to     11· ·his house, then I guess --· I just don't think it
12· ·issues you've raised in your complaint.· There's       12· ·has any conceivable relevance to this case at all,
13· ·reference to how the Wycoffs have valued their         13· ·so . . .
14· ·home, and so I think it's clearly relevant and         14· · · · · · · MR. ABELMAN:· Ross, you've raised that
15· ·certainly useful for impeachment purposes to           15· ·the -- the valuation that the Wycoffs have applied
16· ·understand the standards being employed.               16· ·to their house has been erroneous, so I want to
17· · · · · · · So that's why I'm asking.                   17· ·know what standards are being employed by
18· · · · · · · MR. PULKRABEK:· Well, as to this            18· ·Mr. Keller.· He's --· He's --· He's clearly the --
19· ·particular question, I don't see how it could          19· ·the principal of the plaintiffs, so what's --
20· ·conceivably be relevant to any issue, and it does      20· ·what's an appropriate standard for a non-expert to
21· ·seem to be asking for personal information, so I       21· ·utilize when representing the value of their home
22· ·don't think that Mr. Keller should have to answer      22· ·and other properties.
23· ·this particular question.· I suppose if you want       23· · · · · · · MR. PULKRABEK:· Well, you haven't even
24· ·to go to the Court and ask for an order requiring      24· ·asked him that question at all.· And I think there
25· ·him to state the value of his personal residence,      25· ·would be further objections to that on foundation.

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·1· ·But you're --· I mean, you've asked him                ·1· · · · · · · MR. PULKRABEK:· Okay.· And, once again,
·2· ·specifically what the value of his house is, and       ·2· ·Mr. Keller, don't answer.· You don't need to
·3· ·that has no bearing on anything in this case.          ·3· ·answer that question.· Mr. Abelman just stated
·4· · · · · · · MR. ABELMAN:· Sure, it does.· It has        ·4· ·that you had valid concerns about the privacy of
·5· ·bearing on the standard that -- that you are           ·5· ·that information and conceded that point, and I
·6· ·employing in your complaint.· I want to know what      ·6· ·agree.· You don't need to answer that question.
·7· ·the value -- what he estimates the value of his        ·7· ·Thank you.
·8· ·house to be, and then I'm going to ask him what he     ·8· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, do you
·9· ·bases that on and -- and how -- how he checks          ·9· ·believe that your wife is liable for the debts of
10· ·that.                                                  10· ·the Keller Group?
11· · · · · · · MR. PULKRABEK:· Yeah.· So you can make      11· · · · A· · ·Of the Keller Group, no.
12· ·that argument to the Court, Mr. Abelman.· I think      12· · · · Q· · ·Do you believe that your wife is liable
13· ·that this is pretty far afield, how Mr. Keller --      13· ·for the debts of Kelsan?
14· ·in response to your question, what he would say        14· · · · A· · ·No.
15· ·the value of his house is.                             15· · · · · · · MR. PULKRABEK:· Foundation.
16· · · · · · · MR. ABELMAN:· And --· And your concern      16· · · · Q· · ·(By Mr. Abelman)· Do you believe that
17· ·about the privacy of Mr. Keller is certainly           17· ·your wife is liable for the debts of Midlab?
18· ·valid, and when I expressed similar concerns with      18· · · · · · · MR. PULKRABEK:· Foundation.
19· ·regard to intrusion into the privacy of Azuraye        19· · · · · · · THE DEPONENT:· Ross, does that mean I
20· ·Wycoff, I was met with opposition.· So I'm going       20· ·answer or not answer?
21· ·to ask this question --· I'm going to ask the          21· · · · · · · MR. PULKRABEK:· You can go ahead and
22· ·question again.· If you're directing your client       22· ·answer the question, if you can.
23· ·not to answer it, then please say so.                  23· · · · A· · ·Okay.· I do not think that my wife is
24· · · · Q· · ·(By Mr. Abelman)· What do you estimate      24· ·liable for the debts of Midlab.
25· ·is the present value of your home, Mr. Keller?         25· · · · Q· · ·(By Mr. Abelman)· Explain why you
                                                  Page 23                                                     Page 24
·1· ·believe that, please.                                  ·1· ·personally and to -- and would be connected to my
·2· · · · A· · ·Because my wife is not an officer, a        ·2· ·estate if I were to predecease her, and so she is
·3· ·party to any of the business of those businesses.      ·3· ·connected in those ways, but not connected to
·4· ·She's not made representations to anything like        ·4· ·other separate legal entities that she has no
·5· ·that.· What my wife would be liable for is debts       ·5· ·affiliation with and no connection with as an
·6· ·of my personal estate, or if I personally              ·6· ·officer or owner or party.
·7· ·guaranteed something and then passed, my estate        ·7· · · · Q· · ·(By Mr. Abelman)· So if she --· Are the
·8· ·would be -- would owe that, and so my wife, as an      ·8· ·officers of Midlab liable for the debts of Midlab,
·9· ·executor of my estate, would have an obligation to     ·9· ·in your opinion?
10· ·meet my obligations.                                   10· · · · · · · MR. PULKRABEK:· Form and foundation.
11· · · · · · · So that's how my wife might be              11· · · · · · · Go ahead.
12· ·connected to obligations of me, but not connected      12· · · · A· · ·Not unless the officers had executed
13· ·to obligations of some separate corporations of        13· ·personal guarantees for debts of the company.
14· ·which she had no affiliation or part of.· Just         14· ·Otherwise, no.
15· ·from my understanding --                               15· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, do you
16· · · · Q· · ·(By Mr. Abelman)· So do you believe         16· ·have life insurance?
17· ·officers --                                            17· · · · A· · ·Yes.
18· · · · A· · ·I'm sorry.· Go ahead.                       18· · · · Q· · ·Are either of your children named as
19· · · · · · · MR. PULKRABEK:· Well, hold on just one      19· ·beneficiaries on any of your life insurance
20· ·second.· I think Mr. Keller needs to finish his        20· ·policies?
21· ·answer before the next question gets posed, as         21· · · · A· · ·Allow me to reflect a moment.· I do not
22· ·opposed to talking over each other.· Thanks.           22· ·think my children are named beneficiaries.· That's
23· · · · · · · MR. ABELMAN:· Agreed.                       23· ·my recollection.
24· · · · A· · ·So my layman's understanding of -- of       24· · · · Q· · ·Are there trusts for which your
25· ·how these things work, she is connected to me          25· ·children are named beneficiaries that are named as

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·1· ·beneficiaries of your life insurance?                  ·1· ·past my death, but it would be for their care and
·2· · · · A· · ·Yes.                                        ·2· ·enablement going forward.
·3· · · · Q· · ·And why did you --· Why is that             ·3· · · · Q· · ·(By Mr. Abelman)· And how old are they?
·4· ·structured that way?                                   ·4· ·You mentioned that your daughter Heidi is under
·5· · · · A· · ·I would --· I mean, I don't mind giving     ·5· ·26, but what are their ages?
·6· ·you my best recollection to an answer, but -- but      ·6· · · · A· · ·My daughter is 23.· My son is 25.· He's
·7· ·I would also say that I was advised by people who      ·7· ·25, yeah.
·8· ·do this for a living and would be considered           ·8· · · · Q· · ·I understand that the building where
·9· ·expert in that field that suggested it that way        ·9· ·Midlab operates belongs to an entity owned by you
10· ·for estate management reasons, tax management          10· ·directly or indirectly; is that correct?
11· ·reasons.· So that is -- that is, especially            11· · · · A· · ·I'm am --· I am an owner of an entity
12· ·regarding estate taxes, an efficient way to            12· ·that owns the real estate building and real
13· ·transfer wealth, et cetera.· That's my                 13· ·estate, yes.
14· ·recollection and understanding for why their --        14· · · · Q· · ·So what's the name of the entity, then,
15· ·the -- at least a couple of policies that I can        15· ·that owns that real estate?
16· ·think of are -- are in trusts.                         16· · · · A· · ·For Midlab?
17· · · · Q· · ·Fair enough.· Tell me why you have your     17· · · · Q· · ·Yes.
18· ·children as ultimate beneficiaries of your life        18· · · · A· · ·Exit 49, LLC.
19· ·insurance policies -- of some life insurance           19· · · · Q· · ·And what interest do you have in
20· ·policies.                                              20· ·Exit 49, LLC?
21· · · · · · · MR. PULKRABEK:· Form and foundation.        21· · · · A· · ·In terms of an amount of ownership?
22· · · · A· · ·The reason they would be at least           22· · · · Q· · ·Yes.
23· ·partially beneficiaries --· I don't recall the         23· · · · A· · ·50 percent.
24· ·exact structure for how it works.· Certainly my        24· · · · Q· · ·Who owns the other 50 percent?
25· ·wife would be a beneficiary as well if she lives       25· · · · A· · ·My father, Tim Keller.
                                                  Page 27                                                     Page 28
·1· · · · Q· · ·And what is your estimate of the fair       ·1· · · · · · · MR. PULKRABEK:· Okay.· Well, you
·2· ·market value of that building?                         ·2· ·haven't laid any foundation that would establish
·3· · · · · · · MR. PULKRABEK:· You know, the same          ·3· ·that Mr. Keller's making representations that the
·4· ·objection as earlier.· Mr. Abelman, what is the        ·4· ·value of a building owned by a different entity
·5· ·relevance of an estimate by Mr. Keller as to the       ·5· ·is -- is impacting his net worth.· If you can lay
·6· ·value of a building owned by an entity that's not      ·6· ·that foundation, then maybe it's relevant.· Absent
·7· ·even a part of this lawsuit?                           ·7· ·that, I think that this is outside the scope of
·8· · · · · · · MR. ABELMAN:· These are all issues that     ·8· ·discovery and I'd direct Mr. Keller not to answer
·9· ·you've raised in your complaint.                       ·9· ·that question.
10· · · · · · · MR. PULKRABEK:· I don't think we've --      10· · · · Q· · ·(By Mr. Abelman)· Is there a mortgage
11· ·We don't have any allegations in our complaint         11· ·against the building owned by Exit 49?
12· ·about the value of a building owned by a different     12· · · · A· · ·Yes.
13· ·entity that's not a party in this -- in this case      13· · · · Q· · ·And in your estimation, is there equity
14· ·under -- that is somehow connected to Midlab.          14· ·in that building that inures to the benefit of you
15· ·Where's that allegation in our complaint?              15· ·and your father?
16· · · · · · · MR. ABELMAN:· The allegation in your        16· · · · A· · ·Yes.
17· ·complaint, which you very well know, is that the       17· · · · Q· · ·And would you consider that that equity
18· ·farm was owned by -- by a Wycoff entity, and that      18· ·would be calculated --· Would you use that equity
19· ·that somehow -- that that somehow was a                19· ·in any calculation of your personal net worth?
20· ·misrepresentation for purposes of the net worth of     20· · · · A· · ·Yes.
21· ·the Wycoffs.                                           21· · · · Q· · ·Mr. Keller, let's discuss ZAP! in
22· · · · · · · So we're going to go through this.· And     22· ·particular.· When did you first become aware of
23· ·that's --· I mean, that's the relevance of it, is      23· ·ZAP! or Jeff Wycoff?
24· ·whether you think an intermediate enterprise           24· · · · A· · ·The answer to that would be a bit
25· ·impacts upon the net worth of an individual.           25· ·earlier than, let's say, 2015 -- the fall of '15

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·1· ·when -- when we -- when Midlab started                 ·1· ·described.
·2· ·manufacturing product for ZAP!· And the reason is,     ·2· · · · Q· · ·So for ZAP!, was Matt Schenk the
·3· ·going back several years prior, which I'm going to     ·3· ·primary source of -- of communication in 2015?
·4· ·have to give a guess as to how many years before       ·4· · · · A· · ·I think it's fair to characterize him
·5· ·this time period of approximately the fall of          ·5· ·as the primary.· He certainly talked with him --
·6· ·2015 --· Midlab did business with Mr. Wycoff years     ·6· ·Yes, he would be primary.· He talked to him more
·7· ·earlier, circa 2005, I'm guessing, plus or minus a     ·7· ·than I did.· I did talk to him, but he talked to
·8· ·couple of years, in manufacturing some product on      ·8· ·him more than I did.· Yes, that would be accurate.
·9· ·his behalf.· I think the product brand name was        ·9· · · · Q· · ·So did you have conversations with
10· ·Simplicity, and it was a laundry detergent sold at     10· ·Jeff Wycoff prior to the execution of the
11· ·a variety of places, but in particular at Walmart.     11· ·management and supply agreement?
12· · · · · · · So I was aware of and knew --· I don't      12· · · · A· · ·I would think, yes.· I'm not positive
13· ·know --· I don't recall knowing him then. I            13· ·without, again, referring to, you know, journals
14· ·certainly knew of him, and Matt Schenk knew him        14· ·or e-mails, but -- but I feel comfortable that,
15· ·and dealt with him personally at that time.· So --     15· ·yes, I did have conversations with him prior to
16· ·So back to, let's say, 2015 when this situation        16· ·the execution of the agreement.
17· ·with ZAP! began and they signed the supply             17· · · · Q· · ·I took Steve Miller's deposition
18· ·agreement with Midlab, we started making the           18· ·earlier this week --· And he's the vice president
19· ·various Zap! Products, which I guess that was the      19· ·of finance for Midlab; is that correct?
20· ·fall of 2015.· Without looking, that's my              20· · · · A· · ·That is correct.
21· ·recollection.                                          21· · · · Q· · ·And he testified that before taking on
22· · · · · · · I --· I was --· I certainly knew Jeff       22· ·a new customer, Midlab often required an
23· ·then and met him at some point and certainly           23· ·application, and they -- they always required his
24· ·started communicating and speaking to him and          24· ·department to perform a financial analysis.
25· ·e-mailing with him, but I knew him prior, as I've      25· · · · · · · Does that comport with your
                                                  Page 31                                                     Page 32
·1· ·understanding?                                         ·1· · · · · · · Is that consistent with your
·2· · · · · · · MR. PULKRABEK:· Form and foundation.        ·2· ·understanding?
·3· · · · A· · ·That comports with my understanding of      ·3· · · · A· · ·It is consistent, yes.
·4· ·what would be normal practice.· I don't know that      ·4· · · · Q· · ·And he testified that -- that he
·5· ·it was done always, you know, every time without       ·5· ·presented to the management team and the
·6· ·fail or how thorough that is, but it does comport      ·6· ·management team approved ZAP! as a customer.
·7· ·with my understanding that that would be -- that       ·7· · · · · · · Is that consistent --· Does that
·8· ·that would be normal practice and -- and I think       ·8· ·comport with your recollection?
·9· ·often was practice, yes.                               ·9· · · · A· · ·Yes.
10· · · · Q· · ·And Mr. Miller testified that sometime      10· · · · Q· · ·And he testified that the financial
11· ·in the summer of 2015, Midlab started -- started       11· ·information that was required from Jeff Wycoff and
12· ·evaluating ZAP!'s financials and products and          12· ·ZAP! was performance and -- and product
13· ·projections under his supervision.                     13· ·information as well as projections.
14· · · · · · · Does that --· Is that your                  14· · · · · · · Is that what you would expect that your
15· ·understanding as well?                                 15· ·VP of finance would do?
16· · · · A· · ·Yes.                                        16· · · · A· · ·Yes.
17· · · · · · · MR. PULKRABEK:· Form and foundation.        17· · · · Q· · ·And if the management team approved a
18· · · · · · · Go ahead.                                   18· ·customer, only then would the -- would a
19· · · · A· · ·That would be --· That would be my          19· ·manufacturing and supply agreement be drafted and
20· ·understanding, yes.                                    20· ·submitted to the customer.
21· · · · Q· · ·(By Mr. Abelman)· And Mr. Miller            21· · · · · · · Is that accurate?
22· ·testified that the results of their analysis are       22· · · · A· · ·I think that is accurate.
23· ·submitted to the management team and that the          23· · · · Q· · ·And he testified that the management
24· ·management team then makes the decision to approve     24· ·team approved ZAP! as a customer based upon the
25· ·a customer.                                            25· ·evaluations you performed, and a manufacturing and

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·1· ·supply agreement was drafted and submitted to Jeff     ·1· · · · Q· · ·And when I --· I'll be asking you to
·2· ·Wycoff.                                                ·2· ·identify exhibits in the future as well.· When
·3· · · · · · · Is that consistent with your                ·3· ·doing so, would you kindly reference not only the
·4· ·understanding?                                         ·4· ·title of the document, but also the date?
·5· · · · A· · ·Yes.                                        ·5· · · · A· · ·Sure.· This is dated September 16,
·6· · · · · · · MR. PULKRABEK:· Form.                       ·6· ·2015.
·7· · · · A· · ·It is.· Yes, it is.                         ·7· · · · Q· · ·And is this the same document as the
·8· · · · · · · MR. ABELMAN:· Ana, could you pull up        ·8· ·one that you have in -- in your office?
·9· ·Exhibit 31.                                            ·9· · · · A· · ·It appears to be based on this -- on
10· · · · · · · THE REPORTER:· Ana, we just see the         10· ·what I'm looking at, yes.
11· ·list of exhibits.                                      11· · · · Q· · ·And who executed it on behalf of Zap!
12· · · · · · · THE TECHNICIAN:· They were re-titled.       12· ·Products?
13· ·Do you happen to know what number that exhibit         13· · · · A· · ·On my copy, when I flip to the end, who
14· ·would be?                                              14· ·executed it for Zap! Products was Jeffrey Wycoff.
15· · · · · · · MR. ABELMAN:· It's Exhibit 31.              15· · · · Q· · ·And in what capacity did he execute it?
16· · · · · · · THE DEPONENT:· I think I saw one titled     16· · · · A· · ·President.
17· ·Exhibit 31 on the screen.                              17· · · · · · · MR. ABELMAN:· Ana, would you pull up
18· · · · · · · THE TECHNICIAN:· Do you see it now?         18· ·what's been marked as Exhibit 51, please.
19· · · · · · · THE DEPONENT:· Yes.                         19· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, I'm
20· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, would you     20· ·sorry.· Did --· Are you able to identify this --
21· ·identify Exhibit 31 -- what's been marked as           21· ·this --
22· ·Exhibit 31, please.                                    22· · · · A· · ·Oh, I'm sorry.· I was waiting for you
23· · · · A· · ·It says it is and appears to be a           23· ·to ask me something.· I can identify it.· It's --
24· ·manufacturing and supply agreement between --          24· ·It's called the Limited Continuing Guaranty, and
25· ·excuse me -- Midlab and ZAP!                           25· ·it says, in the first line, blah, blah, blah to
                                                  Page 35                                                     Page 36
·1· ·induce Midlab, Inc. to extend credit or continue       ·1· ·examined it back in 2015.
·2· ·accommodations of that product.                        ·2· · · · Q· · ·Do you know whose idea it was to get a
·3· · · · · · · It doesn't have a date on what I can        ·3· ·guaranty from Jeff Wycoff?
·4· ·read here.· I just see the top portion of what         ·4· · · · A· · ·I'm not certain, but if you'd like me
·5· ·would be, I guess, Page 1.                             ·5· ·to kind of give you my view of my best
·6· · · · Q· · ·There is a date.· It's on Page 3.           ·6· ·recollection, I can do that.
·7· · · · · · · MR. ABELMAN:· Ana, if you could go to       ·7· · · · Q· · ·Please.
·8· ·Bates No. -000011.· Scroll down.                       ·8· · · · A· · ·I think it was a conversation, a
·9· · · · A· · ·Yeah, this appears to be the end of the     ·9· ·discussion from Matt Schenk, with our counsel
10· ·agreement and the signature section.· And it's         10· ·Colman Hoffman, with me, independent of one
11· ·dated the 11th day of November, 2015, signed by        11· ·another or together on more than one occasion.
12· ·Jeffrey Wycoff, witnessed by Russell Leadingham.       12· ·And what precipitated it was that ZAP! was going
13· · · · Q· · ·(By Mr. Abelman)· So have you seen this     13· ·to really grow and purported to do a lot of
14· ·Limited Continuing Guaranty before?                    14· ·business and was running up a -- a significant
15· · · · A· · ·Yes.                                        15· ·accounts receivable.· It was getting to be
16· · · · Q· · ·Do you recall when you first saw it?        16· ·impactful to our business and of concern to us,
17· · · · A· · ·Well, I saw it yesterday when speaking      17· ·and a thought was "Why not help get us better
18· ·to my counsel about various exhibits that perhaps      18· ·protection through a personal guaranty" that we're
19· ·will be shown today.· Before that, I was aware of      19· ·observing here as this exhibit.
20· ·the guaranty.· I don't know that I personally saw      20· · · · · · · That's --· That's how and who suggested
21· ·it or read it, me personally.· I knew it was           21· ·that.· My recollection was Matt Schenk, Colman
22· ·$4 million.· I probably saw it in someone's hand,      22· ·Hoffman and myself thinking, "Yes, this would help
23· ·such as Colman Hoffman's, but I can't say with         23· ·with security of the situation."· Steve Miller
24· ·certainly.· Although it's possible I saw it --         24· ·might have opined and said that --· You know, it's
25· ·that I saw it and looked at it and carefully           25· ·possible he chimed in on that as well, but --· So

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·1· ·that's my best recollection on who was involved in     ·1· ·those could be considered that, but I don't know
·2· ·that and why.                                          ·2· ·of, yet again, a completely separate personal
·3· · · · Q· · ·Describe for me what you mean by            ·3· ·guaranty other than the one that's on the exhibit
·4· ·"security of the situation."                           ·4· ·now.
·5· · · · A· · ·By security of the situation, I mean by     ·5· · · · Q· · ·So you would concede that Midlab did
·6· ·helping to guarantee, to give assurance --             ·6· ·not request a guaranty from Merrie Wycoff?
·7· ·increased assurance of payment.· If the business       ·7· · · · A· · ·I would concede that Midlab did not
·8· ·didn't perform or the business venture that he was     ·8· ·request a personal guaranty from Merrie Wycoff,
·9· ·in -- that he was involved in failed and had           ·9· ·yes.
10· ·financial problems, it was meant to bolster and        10· · · · Q· · ·And Midlab was not requiring Merrie
11· ·give security to Midlab's accounts receivable          11· ·Wycoff's personal assets to be a backstop for the
12· ·being able to be collected in the event that were      12· ·ZAP! debt?
13· ·to occur.                                              13· · · · A· · ·I would disagree with that, in that --
14· · · · Q· · ·What other guaranties for ZAP! did          14· ·I would disagree with that, in that the personal
15· ·Midlab require?                                        15· ·financial statement of Jeff Wycoff had substantial
16· · · · A· · ·What other guaranties --· I'm trying to     16· ·assets which, to my understanding, were also joint
17· ·understand your question.                              17· ·marital assets, such as his personal residence,
18· · · · Q· · ·Were there any other guarantors or          18· ·which he spoke to me about numerous times; for
19· ·guaranties executed?                                   19· ·sure the farm, as he referred to it in Longmont,
20· · · · A· · ·No.· There --· To my knowledge, there       20· ·Colorado, which was on the financial statement,
21· ·was not a separate other guaranty executed.· There     21· ·used to validate his credit worthiness, financial
22· ·were two subsequent supply agreement enhancements,     22· ·strength and ability to make good on a personal
23· ·addendums, additions, amendments -- I'm not sure       23· ·guaranty, as well as her --· And it -- it -- it
24· ·of the exact word -- that Jeff Wycoff signed, and      24· ·was my understanding and is my understanding that
25· ·those reaffirmed his guaranty, but --· So perhaps      25· ·many of the assets on his statement, she had
                                                  Page 39                                                     Page 40
·1· ·involvement with, commingling with, whatever the       ·1· ·understanding to the best of my knowledge.· I hope
·2· ·phraseology is.                                        ·2· ·that answers your question.
·3· · · · · · · So we did rely on her in that regard,       ·3· · · · Q· · ·(By Mr. Abelman)· So are you saying
·4· ·yeah.                                                  ·4· ·that for any debt that you personally guarantee, a
·5· · · · Q· · ·Fair enough.· Explain what you mean by      ·5· ·creditor of yours could take all of what is
·6· ·"joint marital assets."· So if you and your wife       ·6· ·jointly owned between you and your wife?
·7· ·own something jointly, do you think that means         ·7· · · · · · · MR. PULKRABEK:· Form and foundation.
·8· ·that half of the asset or all of the asset is          ·8· · · · A· · ·I don't --· The answer is I don't know.
·9· ·accessible to creditors that you may have?             ·9· ·I think it would depend on state law.· My
10· · · · · · · MR. PULKRABEK:· Hold on.· Form --· Form     10· ·understanding is that in certain states, that's
11· ·and foundation on that question.· Thanks.              11· ·possible.· In other states, it's not.
12· · · · · · · THE DEPONENT:· So what does that mean,      12· · · · Q· · ·(By Mr. Abelman)· Well, what's Midlab's
13· ·Ross?· Should I answer?                                13· ·position with regard to the joint assets of -- of
14· · · · · · · MR. PULKRABEK:· If --· Yeah, you can go     14· ·the Wycoffs?· Was it Midlab's --· That's the
15· ·ahead and answer the question, if you can.             15· ·question.
16· · · · A· · ·I don't know the answer to your             16· · · · · · · MR. PULKRABEK:· All right.· Objection,
17· ·question, Steve.· But I --· I --· If it's a            17· ·form, foundation.· That also calls for attorney
18· ·marital asset, such as a -- such as a residence --     18· ·work product and attorney-client communications to
19· ·a primary place of residence and it's joint, and       19· ·the extent that you're really asking for a legal
20· ·there's a problem with a spouse --· Let's say a        20· ·theory.· So I would instruct this witness not to
21· ·spouse signed a personal guaranty and that asset       21· ·answer the question.
22· ·needs to be used to settle the debt.· Then the         22· · · · · · · MR. ABELMAN:· I'm not asking for what
23· ·creditor can take all of the asset, not just half,     23· ·the lawyers think.· I know what the lawyers think,
24· ·if it was, quote, 50 percent jointly owned.            24· ·Ross.· I'm asking for what Mr. Keller thinks.
25· · · · · · · That's --· That's my opinion and            25· · · · · · · MR. PULKRABEK:· Well, if you're asking

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·1· ·for Mr. Keller's legal opinion, the objection --       ·1· ·that Merrie Wycoff had no personal liability to
·2· · · · · · · MR. ABELMAN:· I'm asking for his            ·2· ·Midlab in 2015?
·3· ·opinion.· He's not a lawyer.· I'm not asking for       ·3· · · · · · · MR. PULKRABEK:· Form and foundation.
·4· ·his legal opinion.· I'm asking for his opinion.        ·4· · · · · · · If you can answer, go ahead.
·5· · · · · · · MR. PULKRABEK:· Okay.· Form and             ·5· · · · A· · ·I --· I don't know the answer to your
·6· ·foundation.                                            ·6· ·question.
·7· · · · · · · Go ahead.                                   ·7· · · · Q· · ·(By Mr. Abelman)· Well, had Merrie
·8· · · · A· · ·Okay.· So what -- what -- what --           ·8· ·Wycoff made any commitment to pay anything to
·9· ·Mr. Abelman, what's the question, then.                ·9· ·Midlab in 2015?
10· · · · · · · MR. ABELMAN:· I've --· Would you read       10· · · · A· · ·No.
11· ·it back, please.                                       11· · · · Q· · ·Okay.
12· · · · · · · (Last questoin read.)                       12· · · · · · · MR. ABELMAN:· Let's --· I'm not sure
13· · · · A· · ·My answer would be that it is Midlab's      13· ·why these are part of Exhibit 51, but --· So,
14· ·position that the joint assets served as security      14· ·Ana, would you go to the next page, which is
15· ·on the guaranty and should be used to help make        15· ·Bates No. -000012.
16· ·good on the guaranty.                                  16· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, have you
17· · · · Q· · ·(By Mr. Abelman)· I'm sorry.· Did           17· ·ever seen this letter before?
18· ·Midlab have a security interest in any of the          18· · · · A· · ·I saw it yesterday.
19· ·Wycoff joint assets?                                   19· · · · Q· · ·Was that the first time you saw it?
20· · · · · · · MR. PULKRABEK:· Objection, form and         20· · · · A· · ·It's the first time I recall seeing
21· ·foundation.                                            21· ·this letter.
22· · · · A· · ·I don't know the technical answer to        22· · · · Q· · ·Do you know who at Midlab received this
23· ·that question.· That's --· Perhaps not.· What they     23· ·letter?
24· ·had was a personal guaranty with Jeff Wycoff.          24· · · · A· · ·I don't know if anyone at Midlab
25· · · · Q· · ·(By Mr. Abelman)· Okay.· Isn't it true      25· ·received it.· I believe and recollect that Colman
                                                  Page 43                                                     Page 44
·1· ·Hoffman received it, and he's -- he was general        ·1· ·personal financial statement.
·2· ·counsel at the Keller Group level acting on behalf     ·2· · · · · · · And so he -- he shared with me his
·3· ·of Midlab.                                             ·3· ·opinion of the assets and whether there was
·4· · · · Q· · ·And do you know how it came to be in        ·4· ·substantial value to warrant the million dollar
·5· ·Mr. Hoffman's possession?                              ·5· ·personal guaranty.
·6· · · · A· · ·It's my understanding that it was sent      ·6· · · · Q· · ·Would you read aloud the second
·7· ·to him by Jeff Wycoff or his representatives.          ·7· ·paragraph in this letter.
·8· · · · Q· · ·Did you ever discuss this letter with       ·8· · · · A· · ·Yes.· "Jeffrey and Merrie Wycoff have
·9· ·Mr. Hoffman?                                           ·9· ·elected to omit substantially all the disclosures
10· · · · A· · ·Yes.                                        10· ·required by accounting principles generally
11· · · · Q· · ·When did you discuss it with                11· ·accepted in the United States of America.· If the
12· ·Mr. Hoffman?                                           12· ·omitted disclosures were included in the statement
13· · · · A· · ·In the fall of 2015.                        13· ·of financial condition, they might influence the
14· · · · Q· · ·So you discussed this without reading       14· ·user's conclusions about the financial condition
15· ·the letter or seeing the letter?                       15· ·of Jeffrey and Merrie Wycoff.· Accordingly, the
16· · · · A· · ·That's my recollection.                     16· ·financial statement is not" designated "for those
17· · · · Q· · ·What did he --· What did he say to you      17· ·who are not informed about such matters."
18· ·about the letter?                                      18· · · · Q· · ·So you have an MBA.· Explain to me what
19· · · · A· · ·That he has --· It was not so much just     19· ·you think that means.
20· ·about the letter, but that he got the personal         20· · · · · · · MR. PULKRABEK:· Form and foundation.
21· ·financial statement of Jeff Wycoff and, you know,      21· · · · · · · Go ahead, if you can.
22· ·any relevant supporting documentation.· I don't        22· · · · A· · ·It means that --· My --· My take on
23· ·recall him saying "and also a separate letter."        23· ·what this means is Robert Henke, who signed this
24· ·It was --· It would have been framed in the            24· ·letter, is saying that there could very well be
25· ·conversation about the materials related to the        25· ·things omitted from this and that you need to be

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·1· ·aware of that.· And if you're going to take the        ·1· · · · Q· · ·Is it something that, in retrospect,
·2· ·information, you need -- you should be informed        ·2· ·you would have liked to have been brought to your
·3· ·about how things work in such financial matters.       ·3· ·attention?
·4· · · · · · · That's what I take that second              ·4· · · · · · · MR. PULKRABEK:· Objection, form.
·5· ·paragraph to mean.                                     ·5· · · · · · · THE DEPONENT:· I'm not sure what, Ross,
·6· · · · Q· · ·(By Mr. Abelman)· Okay.· So how did         ·6· ·you said.
·7· ·Midlab respond to that caveat?                         ·7· · · · · · · MR. PULKRABEK:· I said objection to
·8· · · · · · · MR. PULKRABEK:· Form and foundation.        ·8· ·form.· I --· I don't know if the court reporter
·9· · · · A· · ·I'm not sure what your question means.      ·9· ·got my objection, but . . .
10· ·In terms --· Ultimately, they granted a personal       10· · · · · · · THE REPORTER:· I did.
11· ·guaranty of $1 million on the basis of the             11· · · · · · · THE DEPONENT:· Do I proceed?
12· ·disclosures provided.· That might be what,             12· · · · · · · MR. PULKRABEK:· You can answer --· If
13· ·ultimately, what you mean.· That's what --· That's     13· ·you can answer the question, go ahead.
14· ·what they did, if that's what you mean.                14· · · · A· · ·Do I wish that Colman Hoffman had said,
15· · · · Q· · ·(By Mr. Abelman)· Sure.· Well, I mean,      15· ·"Hey, there's a" -- "there's a disclaimer at the
16· ·how would you classify that paragraph?· Is it a        16· ·bottom of" -- "of the cover letter for the
17· ·disclaimer?· Is it a --· Is it a caveat?· What         17· ·personal financial statement saying, you know, use
18· ·language would you use to classify that second         18· ·this information carefully?"· I'm --· I guess my
19· ·paragraph?                                             19· ·answer would be I'm indifferent to that.· I think
20· · · · · · · MR. PULKRABEK:· Form and foundation.        20· ·that one would need to use the financial
21· · · · A· · ·I would use that as --· I think your        21· ·information carefully regardless of whether
22· ·word "disclaimer" is accurate.                         22· ·there's a disclaimer on the cover.
23· · · · Q· · ·(By Mr. Abelman)· Okay.· Did you and        23· · · · · · · So that's --· That's my --· That's my
24· ·Mr. Hoffman discuss this disclaimer?                   24· ·answer.
25· · · · A· · ·No.                                         25· · · · Q· · ·(By Mr. Abelman)· Isn't --· Isn't
                                                  Page 47                                                     Page 48
·1· ·Midlab complaining about some of the accuracy of       ·1· · · · Q· · ·Do you know if Mr. Hoffman looked
·2· ·the contents of this statement of financial            ·2· ·through his files to determine whether he had any
·3· ·condition in its complaint?                            ·3· ·correspondence relating to this letter?
·4· · · · A· · ·It is my understanding that Midlab is       ·4· · · · · · · MR. PULKRABEK:· Form and foundation.
·5· ·complaining about the accuracy of the financials       ·5· · · · A· · ·Do I --· Do you mean --· I'm not --
·6· ·presented, yes.                                        ·6· ·I'm not understanding your question, Steve.
·7· · · · Q· · ·So there's a disclaimer about the           ·7· ·Back --· Back then did he look --· I'm not
·8· ·contents of that statement of financial condition,     ·8· ·understanding.· Ask your question in a different
·9· ·and you weren't alerted to that disclaimer?            ·9· ·way, please.· I'm not following your question.
10· · · · A· · ·Correct.                                    10· · · · Q· · ·(By Mr. Abelman)· Well, Midlab was
11· · · · Q· · ·Okay.                                       11· ·requested to provide various documents to --
12· · · · · · · MR. ABELMAN:· Let's go to the next          12· ·responsive to discovery propounded by the
13· ·page, please.                                          13· ·defendants.
14· · · · Q· · ·(By Mr. Abelman)· Oh, by the way,           14· · · · A· · ·Okay.
15· ·before we do that, what was the date on the -- of      15· · · · Q· · ·And my question is, do you know if
16· ·the letter from Mr. Henke?                             16· ·Midlab has looked through its files to determine
17· · · · A· · ·The date is November 3, 2015.               17· ·whether there was any correspondence which Midlab
18· · · · Q· · ·And do you know when Mr. Hoffman            18· ·was part of which precipitated this letter?
19· ·actually received this?                                19· · · · A· · ·No.· I do not know --
20· · · · A· · ·I --· I don't know when.                    20· · · · · · · MR. PULKRABEK:· Form and foundation.
21· · · · Q· · ·Do you know how Mr. Hoffman solicited       21· · · · A· · ·I do not know that.
22· ·this letter?                                           22· · · · Q· · ·(By Mr. Abelman)· Who would know that?
23· · · · A· · ·I do not know precisely, no.· I assume      23· · · · · · · MR. PULKRABEK:· Foundation.
24· ·he asked --· I assume he asked someone for it, but     24· · · · · · · Go ahead.
25· ·I do not know exactly how or whatever.                 25· · · · A· · ·I --· I'm --· I think --· I'm --· For

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·1· ·the record, I'm not fully understanding your           ·1· ·recollection is that Colman Hoffman got this back
·2· ·question.· If you're asking did -- was Midlab          ·2· ·in 2015, although I don't know the exact date, but
·3· ·asked to go through their files and send the           ·3· ·shortly after November 3rd, I believe.· And it is
·4· ·defense information related to correspondence for      ·4· ·also my understanding that he was asked to keep
·5· ·this -- this particular personal financial             ·5· ·this confidential, as carefully as he could.· He
·6· ·statement, I --· Yeah, I don't know if they were.      ·6· ·discussed with me, and I'm certain Matt Schenk,
·7· ·If they were, I suspect Colman was asked to do so,     ·7· ·but I know he discussed with me -- I remember
·8· ·or maybe Steve -- Steve Miller, perhaps Matt           ·8· ·standing in the frame of his office doorway --
·9· ·Schenk.· And I suspect they did, but I don't know      ·9· ·about Mr. Wycoff's financial status based on his
10· ·the answer to your question.                           10· ·disclosures in the personal financial statement.
11· · · · Q· · ·(By Mr. Abelman)· Well, both Steve          11· ·So that was discussed with me.
12· ·Miller and Matt Schenk said they had never seen        12· · · · · · · I'm sure it was discussed with Matt and
13· ·this before.· Steve Miller said he'd never seen        13· ·Steve Miller, but I don't know that they were ever
14· ·it.· Matt Schenk said the first time he saw it was     14· ·shown this.· It's my recollection they weren't. I
15· ·a week ago.                                            15· ·was not.· And part of the reason, as I recall, was
16· · · · · · · MR. PULKRABEK:· Foundation                  16· ·that he was asked, in essence, as a professional
17· · · · A· · ·And you're referring to the exhibit on      17· ·courtesy or whatever, "Hey, keep this on the down
18· ·the screen?                                            18· ·low," or "Hey, protect this private information.
19· · · · Q· · ·(By Mr. Abelman)· Yeah.· I'm referring      19· ·Use it for you, for your counsel to advise, but
20· ·to the letter from Mr. Henke and the next page,        20· ·protect this."
21· ·which is the statement of financial condition?         21· · · · · · · So it wasn't widely disseminated -- or
22· · · · A· · ·Okay.· Thank you.· I'm less confused        22· ·not even disseminated to one or two people or
23· ·now.· I am --· Okay.· Obviously, I've been             23· ·beyond even Colman.
24· ·confused.                                              24· · · · Q· · ·Who asked Colman to keep it
25· · · · · · · I am not surprised by that.· My             25· ·confidential?
                                                  Page 51                                                     Page 52
·1· · · · A· · ·My understanding was whoever sent this      ·1· ·that says -- says that -- in it when it was sent.
·2· ·to him, be it Jeff Wycoff or Mr. Wycoff's counsel,     ·2· ·So as I'm just kind of thinking aloud, I guess I
·3· ·and I'm paraphrasing -- it was, "Mr. Hoffman,          ·3· ·am a little surprised if that doesn't exist.
·4· ·here's the information.· We ask you to keep this,      ·4· · · · · · · Anyway, that's my recollection for how
·5· ·you know, guarded, private.· Please don't share        ·5· ·Colman handled the information.
·6· ·this, but this is the information you requested."      ·6· · · · Q· · ·(By Mr. Abelman)· Okay.· So I just want
·7· · · · · · · That's my understanding.· That's -- I       ·7· ·to make sure I understand.· You don't believe that
·8· ·mean, that's --· Yeah, that's it.· That's my           ·8· ·you actually saw --
·9· ·recollection.                                          ·9· · · · · · · MR. ABELMAN:· Can we flip to the next
10· · · · Q· · ·I don't see such a request in -- in the     10· ·page, please.
11· ·letter.· Do you?                                       11· · · · Q· · ·(By Mr. Abelman)· -- that you actually
12· · · · A· · ·No, not in this letter on the screen.       12· ·saw this until recently?
13· ·I do not.                                              13· · · · A· · ·Yes.
14· · · · Q· · ·And no notes have been produced             14· · · · Q· · ·And how recently did you review -- I'm
15· ·reflecting that request.                               15· ·sorry.· When was the first time you think you
16· · · · · · · Does that surprise you?                     16· ·reviewed this?
17· · · · · · · MR. PULKRABEK:· Object to the form and      17· · · · A· · ·Yesterday.
18· ·foundation.                                            18· · · · Q· · ·Yesterday was the first time you looked
19· · · · · · · Go ahead and answer the question, if        19· ·at this statement of financial condition?
20· ·you can.                                               20· · · · A· · ·Yes.
21· · · · A· · ·I'm neither --· I am not surprised nor      21· · · · Q· · ·In your view, are the contents of the
22· ·--· I'm --· I'm --· I don't have an opinion as to      22· ·complaint filed by Midlab --· Is --· Is the
23· ·whether I would have thoughts that there would be      23· ·statement of financial condition a material aspect
24· ·some letters about that.· I guess, just logically,     24· ·of the complaint?
25· ·one would think there's an e-mail or -- or such        25· · · · A· · ·Yes.

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·1· · · · Q· · ·Yet you never reviewed this until           ·1· ·studying of the matter revealed.· The decision was
·2· ·yesterday?                                             ·2· ·made based on our counsel's review of the
·3· · · · A· · ·That --· I personally did not until         ·3· ·information and assuring us that the assets were
·4· ·yesterday, yes.                                        ·4· ·substantial.
·5· · · · Q· · ·Who is --· Who is supervising the           ·5· · · · · · · I do recall him talking about the house
·6· ·litigation against the Wycoffs on behalf of the        ·6· ·and its value.· Incidentally, and importantly,
·7· ·Keller Group and/or Midlab?                            ·7· ·Jeffrey Wycoff talked to me about that numerous
·8· · · · A· · ·Well, supervising it would, I guess, be     ·8· ·times, and about the farm as well, as well as
·9· ·Matt Schenk, but I -- I think that Midlab relies       ·9· ·other assets of the company and intellectual
10· ·heavily on Ross, our counsel.                          10· ·property value with the Simplicity brand and the
11· · · · Q· · ·Let me get this straight.· Matt Schenk      11· ·pet -- the pet products and the herpes products,
12· ·said he never saw this statement of financial          12· ·et cetera.· And we had discussed that even prior
13· ·condition until last week.· You never read it          13· ·to the execution of the personal guaranty, so this
14· ·until yesterday, yet a complaint was filed on          14· ·was the foundation of the decision.
15· ·behalf of Midlab asserting that this contains          15· · · · · · · Again, it was my understanding and
16· ·material omissions upon which Midlab relied.           16· ·recollection that it was asked to be held closely
17· · · · · · · Do I have that right?                       17· ·and was.· I --· And I distinctly remember standing
18· · · · · · · MR. PULKRABEK:· Object to the form and      18· ·in the doorway of Colman Hoffman's office when he
19· ·foundation.                                            19· ·said, "Look, Vince, the guy's got a lot of assets.
20· · · · · · · Go ahead.                                   20· ·He's got a good net worth, double digit net worth.
21· · · · A· · ·Yes.· You have --· You have that right,     21· ·For the $1 million, it looks like we should be
22· ·yes.· The fact that I didn't see it until              22· ·safe.· We should be covered there."
23· ·yesterday doesn't change any figures on this           23· · · · · · · I remember that conversation.· And I'm
24· ·sheet.· It also doesn't change the situation at        24· ·paraphrasing, so I'm not quoting, but it was very
25· ·hand and what our counsel's investigation and          25· ·similar to that, said in that way, in that manner.
                                                  Page 55                                                     Page 56
·1· ·And that's my --· That's --· That's my answer.         ·1· ·they even own these -- all of these.· Maybe
·2· ·That's my recollection.                                ·2· ·certain ones they did at that time, but --· So I
·3· · · · Q· · ·Okay.· So what in this statement of         ·3· ·would just add to my answer that it's possible --
·4· ·financial condition do you believe was inaccurate?     ·4· ·again, I don't have the details of the timing --
·5· · · · A· · ·I believe cash and cash equivalents of      ·5· ·that some of the assets should -- should not have
·6· ·$904,000 was very likely inaccurate.· And it's --      ·6· ·appeared on here as they are anyway.
·7· ·I now have knowledge, after understanding our case     ·7· · · · Q· · ·Such as what?
·8· ·and talking with counsel and understanding -- and,     ·8· · · · A· · ·Well, again, I'm not sure if, at this
·9· ·you know, seeing the complaint filed by Midlab and     ·9· ·exact time, in retrospect, the real estate farm
10· ·subsequently learning about the IRS judgment that      10· ·was an asset of Jeffrey and Merrie Wycoff or if it
11· ·the "Liabilities" section was -- was grossly           11· ·was, on that exact date, October 31, 2015, in a
12· ·inaccurate, because there's not a thing on there       12· ·different LLC.· I don't know.· I'm just saying I'm
13· ·about possible -- or -- or IRS claims,                 13· ·not sure to its accuracy as I'm sitting here
14· ·judgments -- and "judgments" may not be the right      14· ·testifying today.
15· ·word -- assertions from the service that he owed       15· · · · Q· · ·But if Jeffrey and -- and Merrie Wycoff
16· ·millions in back taxes, according to the IRS.· So      16· ·were the owners of the LLC, how would that make a
17· ·I would think the "Liabilities" section is             17· ·difference with regard to their net worth?
18· ·inaccurate.                                            18· · · · · · · MR. PULKRABEK:· Object to the form.
19· · · · Q· · ·Anything else?                              19· · · · A· · ·I don't know, but it's possible, you
20· · · · A· · ·No.· Well, I would also add that with       20· ·know, with an LLC, that it might have other claims
21· ·the advantage of knowledge now of things that          21· ·on that LLC that wouldn't be shown here.· It
22· ·transpired, in essence, the whole thing is             22· ·wouldn't --· If --· It would be possible for it
23· ·inaccurate, in that he's purporting that these are     23· ·not to give a full picture, would be my opinion,
24· ·assets of the -- of their -- of them personally.       24· ·if that were the case.· It might not change it,
25· ·And I may have the details wrong, but I'm not sure     25· ·but it might.· There's so many other factors one

       EXHIBIT Q
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·1· ·would need to know.                                    ·1· · · · · · · MR. ABELMAN:· I'm asking him for what
·2· · · · Q· · ·(By Mr. Abelman)· But sitting here          ·2· ·he knows.
·3· ·today, you don't know -- you don't know, do you?       ·3· · · · · · · MR. PULKRABEK:· No, you didn't.· The
·4· · · · A· · ·I don't know what.                          ·4· ·question was something like, "And you instructed
·5· · · · · · · MR. PULKRABEK:· Object to form.             ·5· ·your counsel," which calls for an attorney-client
·6· · · · Q· · ·(By Mr. Abelman)· You don't know            ·6· ·communication.· So that question should not be
·7· ·whether the ownership of the farm and another LLC      ·7· ·answered, and I'm instructing the witness not to
·8· ·caused the value to be misrepresented?                 ·8· ·answer that particular question.· If you want to
·9· · · · A· · ·I --· I do not have enough information      ·9· ·ask another question, then please go ahead.
10· ·to, quote, know.                                       10· · · · Q· · ·(By Mr. Abelman)· Then answer the
11· · · · Q· · ·So you've authorized your lawyers to        11· ·question without implicating --
12· ·file a lawsuit making that argument, yet you don't     12· · · · · · · MR. ABELMAN:· Well, are you suggesting
13· ·know the answer to that?                               13· ·that -- that you filed this lawsuit, Ross, without
14· · · · · · · MR. PULKRABEK:· Form and foundation.        14· ·authorization from Mr. Keller?
15· ·Also, this calls for attorney-client                   15· · · · · · · MR. PULKRABEK:· Mr. Abelman, you know
16· ·communication, so I'd instruct the witness not to      16· ·it's improper, and it's unethical, frankly, for
17· ·even answer the question.                              17· ·you to be trying to drive at the communications
18· · · · · · · MR. ABELMAN:· I'm not asking him for        18· ·I'm having with my client.· So ask another
19· ·what the communication is.· I'm asking him for         19· ·question that doesn't --
20· ·what --                                                20· · · · · · · MR. ABELMAN:· I want to be very clear.
21· · · · · · · MR. PULKRABEK:· Yeah, you asked him --      21· ·I am not asking him to reveal the contents of
22· · · · · · · MR. ABELMAN:· Ross --· Ross, I'm asking     22· ·any -- of any conversations, any communications
23· ·him --                                                 23· ·that he had with his counsel.
24· · · · · · · MR. PULKRABEK:· You're asking for an        24· · · · · · · MR. PULKRABEK:· Okay.· So ask a
25· ·attorney-client communication.                         25· ·question that doesn't ask for that.
                                                  Page 59                                                     Page 60
·1· · · · Q· · ·(By Mr. Abelman)· Did you --· Mr. --        ·1· ·you aware of a single time where Midlab requested
·2· ·Did you authorize the filing of the complaint?         ·2· ·an update on this statement of financial condition
·3· · · · A· · ·I or Matt Schenk did.· I certainly          ·3· ·from Jeff Wycoff?
·4· ·agreed with it, if I didn't technically authorize      ·4· · · · A· · ·No.
·5· ·it.· So, yes, I did.                                   ·5· · · · Q· · ·Would it surprise you to hear that
·6· · · · Q· · ·Did you read it before it was filed,        ·6· ·Mr. Henke was never contacted by Midlab with --
·7· ·sir?                                                   ·7· ·with a single question concerning this statement
·8· · · · A· · ·No.                                         ·8· ·of financial condition?
·9· · · · Q· · ·When did you read it for the first          ·9· · · · A· · ·Would I be surprised?· No.
10· ·time?                                                  10· · · · Q· · ·And Mr. Miller testified that he never
11· · · · A· · ·I --· I think I read it for the first       11· ·spoke with Merrie Wycoff or communicated with her
12· ·time through yesterday.                                12· ·about anything related to ZAP! or the Wycoffs'
13· · · · Q· · ·Mr. Miller testified that Midlab            13· ·personal financial condition.
14· ·required ZAP! to regularly update its financial        14· · · · · · · Is --· Is that consistent with your
15· ·disclosures during the duration of the business        15· ·understanding?
16· ·relationship.· He said that he would generally         16· · · · · · · MR. PULKRABEK:· Form and foundation
17· ·obtain financial information directly from Jeff        17· · · · A· · ·Steve Miller --· Steve Miller, yes,
18· ·Wycoff or Jeff Wycoff's -- or ZAP!'s bookkeeper        18· ·that would be consistent with my understanding.
19· ·monthly.                                               19· ·Matt Schenk, no, because he did speak with Merrie
20· · · · · · · Does that comport with your                 20· ·and Jeff.· But not --· But I would agree that
21· ·understanding?                                         21· ·Steve Miller likely did not.
22· · · · · · · MR. PULKRABEK:· Form and foundation.        22· · · · Q· · ·(By Mr. Abelman)· Are you aware that
23· · · · · · · Go ahead.                                   23· ·Mr. Schenk testified that he, prior to Jeff
24· · · · A· · ·Yes, it does.                               24· ·Wycoff's death, met Merrie Wycoff once?
25· · · · Q· · ·(By Mr. Abelman)· Were there --· Are        25· · · · A· · ·Am I --· Am I aware of that or do I --

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·1· · · · Q· · ·Yes.                                        ·1· · · · · · · Go ahead.
·2· · · · A· · ·-- agree with that?                         ·2· · · · A· · ·My understanding is that Matt Schenk
·3· · · · · · · I --· Yes, I would agree that -- I          ·3· ·visited Merrie and Jeff and had seen the real
·4· ·mean, I'm --· I think that's probably accurate,        ·4· ·estate, saw that it existed, saw that it was
·5· ·yes.                                                   ·5· ·actually there and real; that he was at their
·6· · · · Q· · ·And his testimony was that at that          ·6· ·residence, was at the farm, saw the horse barn and
·7· ·meeting, he couldn't remember her saying anything      ·7· ·stables, and so I think that would --· That's --
·8· ·in particular, but he did recall she said very         ·8· ·That's all, to my knowledge, that was done to
·9· ·little.                                                ·9· ·verify it.
10· · · · A· · ·Okay.                                       10· · · · · · · We -- me and Matt Schenk -- relied on
11· · · · Q· · ·So you just --· You just mentioned that     11· ·the history of our relationship with Jeff, the
12· ·Mr. Schenk had communications with Jeff Wycoff and     12· ·prior business that I mentioned earlier in this
13· ·Merrie Wycoff.· I --· I --· I agree with you that      13· ·call done with Simplicity years earlier, as well
14· ·Mr. Schenk and Mr. Wycoff had numerous                 14· ·as Jeff's continued and frequent communication and
15· ·communications, so I'm just asking you, again,         15· ·detail of what was going on; how things were
16· ·based upon your statement, are you aware of any        16· ·going, the promise of things that were going
17· ·substantive discussions that anybody from Midlab       17· ·along, and we believed his -- his personal
18· ·had with Merrie Wycoff about ZAP!                      18· ·financial statement that he submitted to us.
19· · · · A· · ·Not --· Not --· Not other than the one      19· · · · · · · There was no other verification that
20· ·you just described with Matt Schenk.· Not prior to     20· ·I'm aware of in terms of asking banks to verify
21· ·his death, no.                                         21· ·money or things of that nature.
22· · · · Q· · ·What efforts did Midlab make, if any,       22· · · · Q· · ·So what evidence, if any, do you have
23· ·to confirm any of the numbers on this statement of     23· ·that the cash and cash equivalents figure of
24· ·financial condition?                                   24· ·$904,000 was not accurate as of October 31, 2015?
25· · · · · · · MR. PULKRABEK:· Form and foundation.        25· · · · A· · ·I have no evidence.· It's simply an
                                                  Page 63                                                     Page 64
·1· ·opinion, now that I see this, knowing his              ·1· ·certainly can and do, and in recent years have.
·2· ·financial strengths and how he was working             ·2· · · · Q· · ·Fair enough.· Do you see the line item
·3· ·diligently to raise capital on borrowed funds,         ·3· ·for Zap! Products?
·4· ·that he would have had that sitting there, because     ·4· · · · A· · ·Yes.
·5· ·I think he would have used it otherwise.· So it's      ·5· · · · Q· · ·What's the valuation for Zap! Products?
·6· ·just conjecture.· It's just an opinion of mine.        ·6· · · · A· · ·$5 million.
·7· · · · Q· · ·So cash and cash equivalents refers to      ·7· · · · Q· · ·Do you have any problem with that
·8· ·liquid assets, doesn't it?                             ·8· ·valuation?
·9· · · · A· · ·That's my understanding, yes.               ·9· · · · A· · ·If --· I'm going to answer this two
10· · · · Q· · ·So that can change day to day, week to      10· ·ways.· Right now, as I sit here, yes.· It proved
11· ·week, month to month, year to year, can't it?          11· ·to be of no value not terribly long -- maybe just
12· · · · A· · ·Yes.                                        12· ·a couple of years after that.· But if I had looked
13· · · · Q· · ·But you don't believe that, as of           13· ·at this at that moment, I would not have balked at
14· ·October 31st, this number was accurate?                14· ·that too much.· That --· That could have been
15· · · · A· · ·As I sit here today in 2021 and know        15· ·acceptable.· I --· I would have taken that at face
16· ·what happened, I -- I -- yeah, I question that.        16· ·value, I think.
17· ·That's my opinion.· I don't have any evidence          17· · · · Q· · ·Well, a statement of financial
18· ·otherwise, as you say.                                 18· ·condition, whatever that is, I mean, is --· That's
19· · · · Q· · ·Okay.· And real estate values can           19· ·what this is labeled, isn't it?· It says
20· ·change, can't they?                                    20· ·"Statement of Financial Condition"?
21· · · · A· · ·They can.                                   21· · · · A· · ·Yes.
22· · · · Q· · ·And they do change frequently, don't        22· · · · Q· · ·Are you familiar with that term?
23· ·they?                                                  23· · · · A· · ·I am.
24· · · · A· · ·They do, but often not as fast as cash      24· · · · Q· · ·How does a statement of financial
25· ·can change from one day to the next.· But they         25· ·condition differ from a financial statement?

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·1· · · · A· · ·I don't know that it --· Well, a            ·1· ·said.
·2· ·financial statement, as I understand it, is a          ·2· · · · Q· · ·(By Mr. Abelman)· Actually, you're
·3· ·measurement of the profitability of an entity over     ·3· ·correct.· I stand corrected.· The tax court issued
·4· ·a specified period of time, which could be a month     ·4· ·an adverse ruling disallowing all but $3.7 million
·5· ·or could be a year of operations.                      ·5· ·of management fees and imposing a deficiency of
·6· · · · · · · A statement of financial condition is a     ·6· ·$6 million, $5 million for unpaid taxes and $1
·7· ·static snapshot, much like a balance sheet, as of      ·7· ·million for interest and penalties on October 16,
·8· ·a point in time -- in this case, October 31,           ·8· ·2017.
·9· ·2015 -- of values at a given moment.                   ·9· · · · · · · So that's not reflected in this
10· · · · Q· · ·Right.· Well, I mean, a personal            10· ·snapshot of October 31, 2015, correct?
11· ·financial --· What's the difference between a          11· · · · A· · ·Correct.
12· ·personal financial statement and a statement of        12· · · · Q· · ·Because it didn't exist on October 31,
13· ·financial condition?· If there is one?                 13· ·2015, correct?
14· · · · A· · ·There perhaps is not.· It may be            14· · · · · · · MR. PULKRABEK:· Object to the form.
15· ·semantics.                                             15· · · · A· · ·Correct.· It --· The judgment that you
16· · · · Q· · ·Ultimately, there was an adverse tax        16· ·read from October of 2017 did not exist.· It is my
17· ·judgment against the Wycoffs that you alluded to       17· ·understanding there was -- I'm not sure of the
18· ·earlier; is that correct?                              18· ·word to use -- a claim -- perhaps that's the
19· · · · A· · ·Yes.                                        19· ·correct word -- from the Internal Revenue Service
20· · · · Q· · ·And the adverse judgment was close to       20· ·stemming from earlier tax returns in the
21· ·$9 million in November of 2017; is that right?         21· ·neighborhood of approximately $4 million-something
22· · · · · · · MR. PULKRABEK:· Form and foundation.        22· ·that was outstanding against the Wycoffs -- Jeff
23· · · · A· · ·It's my understanding there was a           23· ·Wycoff, and perhaps Merrie, but I'm not sure of
24· ·judgment, and I thought it was in October of 2017,     24· ·that.· That's not reflected as a contingent
25· ·somewhere in the neighborhood of the figure you        25· ·liability.
                                                  Page 67                                                     Page 68
·1· · · · · · · MR. ABELMAN:· I'd like --· Ana, if you      ·1· ·do 5 or 10 minutes.
·2· ·would pull up Exhibit 53.                              ·2· · · · · · · MR. PULKRABEK:· Yeah, let's do 10.
·3· · · · · · · THE TECHNICIAN:· You said 53?               ·3· · · · · · · MR. ABELMAN:· Okay.
·4· · · · · · · MR. ABELMAN:· Yes.· And I can give you      ·4· · · · · · · (Recess from 10:47 a.m. to 10:58 a.m.)
·5· ·Bates numbers if that helps, but it should be          ·5· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, would you
·6· ·designated by exhibit                                  ·6· ·identify what's been marked as Exhibit 42, please.
·7· · · · · · · THE TECHNICIAN:· They are designated by     ·7· · · · A· · ·It appears to be an e-mail from Kerry
·8· ·exhibit.· I just don't have 53.· So let me see if      ·8· ·Speth to me copying Steve Miller, and it's titled
·9· ·I can pull that up.                                    ·9· ·"ZAP! Valuation," sent --· It just went off the
10· · · · · · · MR. ABELMAN:· Oh, I'm sorry.· You're        10· ·screen.
11· ·right.· You have the exhibit, but it's not             11· · · · Q· · ·You've got to make the most of your
12· ·designated as Exhibit 53.· We might need to use        12· ·time.
13· ·the Bates numbers.                                     13· · · · A· · ·I know.· It was sent 3-25-2016 at
14· · · · · · · THE TECHNICIAN:· If you want to give me     14· ·3:23 p.m.
15· ·that Bates numbers that you have, I can write them     15· · · · Q· · ·And who is Kerry Speth?
16· ·down and see which exhibit it's under.                 16· · · · A· · ·He was the vice --· I don't know his
17· · · · · · · MR. ABELMAN:· It's -0013182; that's         17· ·exact title, but he was vice president of finance
18· ·0013182.                                               18· ·for Kelsan, the parent company of Midlab.
19· · · · · · · THE TECHNICIAN:· Okay.                      19· · · · Q· · ·Well, in fact, his exact title is
20· · · · · · · THE REPORTER:· And, Mr. Abelman, if we      20· ·probably on the bottom of this.
21· ·could take a five-minute break when you get to a       21· · · · A· · ·Oh, there it is.· I was right.
22· ·good point, I'd appreciate it.                         22· · · · Q· · ·Yes, you were right.· And so Steven
23· · · · · · · MR. ABELMAN:· Yeah, maybe we should do      23· ·Miller reported to Kerry Speth, because Steven
24· ·that now.                                              24· ·Miller was the vice president for Midlab?
25· · · · · · · Is that okay with you, Ross?· We could      25· · · · A· · ·No, he didn't.· He would work closely

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·1· ·with Kerry, and their banking arrangements are         ·1· ·had a guess.· My recollection would be that the
·2· ·consolidated between the two companies.· At that       ·2· ·supply agreement, one of the two amendments, other
·3· ·time, Steve Miller probably reported to Ken Bodie,     ·3· ·than reaffirming his obligation to us, had
·4· ·the president of Kelsan.· Actually, I believe he       ·4· ·language in it about -- and I guess I'd use the
·5· ·had --· If you've heard of a matrix reporting          ·5· ·word an "option" -- I think that fits; I don't
·6· ·relationship, he would report to Ken Bodie, but        ·6· ·know if it was technically called that -- the
·7· ·also to Matt Schenk in his capacity at Midlab.         ·7· ·opportunity if Midlab wanted to convert a portion
·8· · · · · · · But, anyway, Steve certainly would work     ·8· ·of the debt into an equity position in that
·9· ·closely with Kerry.                                    ·9· ·company or one of his other companies going
10· · · · Q· · ·Mr. Miller testified that --· Well, do      10· ·forward.
11· ·you recall why Mr. Speth was doing a valuation of      11· · · · Q· · ·So Midlab considered the -- the
12· ·ZAP! in late March of 2016?                            12· ·proposal?
13· · · · · · · MR. PULKRABEK:· Foundation, form.           13· · · · A· · ·I don't know that I would --· Well, I
14· · · · A· · ·I --· I don't recall why.· I have a         14· ·guess it would be accurate to say they considered
15· ·guess.                                                 15· ·it.· We certainly wanted to have the option.· I do
16· · · · Q· · ·(By Mr. Abelman)· Let me see if I can       16· ·not recall us having serious conversations of,
17· ·jog your memory.· I believe Mr. Miller testified       17· ·"All right.· Let's get this valued and let's think
18· ·that Jeff Wycoff had made a proposal for Midlab to     18· ·about it.· What are" --· You know, "What are the
19· ·take an equity interest in ZAP! in order to            19· ·prospects of this business going forward?· Should
20· ·satisfy some of the accounts receivable Zap! owed      20· ·we do it or should we not?"
21· ·to Midlab.                                             21· · · · · · · ·It was never to the point of, "All
22· · · · · · · Does that --                                22· ·right.· Let's actually convert this," but --· So
23· · · · A· · ·Correct.                                    23· ·it would not be inaccurate to say that was a
24· · · · Q· · ·Does that ring a bell?                      24· ·consideration, something we discussed about,
25· · · · A· · ·Yeah.· Well, I said --· Like I said, I      25· ·"Hey, what about getting the option that if things
                                                  Page 71                                                     Page 72
·1· ·go well with this business, perhaps we could get       ·1· · · · A· · ·You want me to read the last sentence?
·2· ·our money back that way?"                              ·2· · · · Q· · ·You can read --· I mean, it's only a
·3· · · · · · · So --· So --· So, yeah, it would be a       ·3· ·couple sentences, so just read the whole thing.
·4· ·consideration.· It just wasn't considered heavily      ·4· · · · A· · ·Sure.· "In our conversations with
·5· ·or in depth or at length.                              ·5· ·5/3 Bank's Business Valuation department, the
·6· · · · Q· · ·So it didn't go that far, but -- but as     ·6· ·industry multiple for this type of household goods
·7· ·an initial step, it appears that Kerry Speth           ·7· ·and cleaning supply company is a multiple 4 to 6
·8· ·performed an evaluation on -- of ZAP!?                 ·8· ·times of EBITDA.· Therefore, we place a valuation
·9· · · · · · · MR. PULKRABEK:· Form and foundation.        ·9· ·of ZAP! in the range of $9.0 million to $13.5
10· · · · A· · ·It would appear, but I would call that      10· ·million.
11· ·a "back of the envelope" math valuation.· It was       11· · · · · · · "Please let us know if you" have any
12· ·no more than what you saw in the e-mail, which is      12· ·additional --· "Please let us know if you need any
13· ·no longer on my screen, but a call or two to a         13· ·additional information."
14· ·banker, trade multiples going on at the time.· So      14· · · · Q· · ·Do you recall what value Jeff Wycoff
15· ·if you want to call it a valuation, you can.· It       15· ·ascribed to ZAP! in his statement of financial
16· ·was not very in-depth, though.                         16· ·condition?
17· · · · · · · MR. ABELMAN:· Ana, I'll need you to         17· · · · A· · ·Yes.· $5 million.
18· ·keep the -- keep -- keep that exhibit on the           18· · · · Q· · ·And so Mr. Speth is saying that the
19· ·screen until we move to another one.· Thanks.          19· ·value could be in the range of $9 million to
20· · · · Q· · ·(By Mr. Abelman)· So what is the --· In     20· ·$13.5 million?
21· ·that first paragraph, what's --· Would you just        21· · · · A· · ·Yes.
22· ·read the last sentence of this e-mail to you.          22· · · · · · · MR. PULKRABEK:· Form, foundation.
23· · · · A· · ·The one that --· The paragraph that         23· · · · Q· · ·(By Mr. Abelman)· And if the value of
24· ·begins "In our conversations"?                         24· ·ZAP! was in that range, that would enhance the
25· · · · Q· · ·Yes.                                        25· ·Wycoffs' net worth, wouldn't it?

       EXHIBIT Q
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·1· · · · A· · ·If it were in that range, it would,         ·1· · · · A· · ·It's an e-mail from Jeff Wycoff to me
·2· ·yes.· And the valuation was dependent upon EBITDA      ·2· ·on 3-21-2016 copying Matt Schenk, subject of
·3· ·being certain levels and then multiplied by the        ·3· ·"Investment."
·4· ·valuation multiple range to result in the              ·4· · · · Q· · ·(By Mr. Abelman)· And what's the
·5· ·$13.5 million.· All of those would need to have        ·5· ·essence of the message that he sent to you?
·6· ·been true.                                             ·6· · · · A· · ·Well, let me --· I think I will need to
·7· · · · · · · MR. ABELMAN:· Ana, would you pull up        ·7· ·read the lower part, because the top part's not
·8· ·Exhibit 43, please.· Or do you have Exhibit 53 at      ·8· ·very long.· Let me --· Allow me to read that and
·9· ·this --· Do you have Bates No. -0013182                ·9· ·then I will comment.
10· · · · · · · THE TECHNICIAN:· That's Exhibit 53,         10· · · · · · · So it's an original e-mail that I sent
11· ·correct?                                               11· ·to him on Monday, March 21st, so the same day, but
12· · · · · · · MR. ABELMAN:· Well, we're -- we're          12· ·earlier in the day.
13· ·going to mark it as Exhibit 53.· I sent it marked      13· · · · · · · MR. PULKRABEK:· And to the court
14· ·as Exhibit 53.· It hasn't --· I don't believe it's     14· ·reporter, just for the record, we're doing this by
15· ·been utilized previously.                              15· ·Zoom.· The exhibit is only being partially shown
16· · · · · · · THE TECHNICIAN:· All right.· Yeah. I        16· ·on the screen, but it appears to be a multiple
17· ·have one that says 53, so if that's the correct        17· ·page exhibit.
18· ·one, I'll pull that up right now.                      18· · · · · · · MR. ABELMAN:· Well, it's not a multiple
19· · · · · · · MR. ABELMAN:· Yeah.· Could you pull         19· ·page exhibit, but it's -- but we can only see the
20· ·that up, please.                                       20· ·top half of the page.
21· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, this is a     21· · · · · · · Ana, could you show us the bottom part
22· ·couple of e-mails.· Could you identify what we've      22· ·as well.· Thank you.
23· ·marked as Exhibit 53, please, from the top?            23· · · · · · · MR. PULKRABEK:· Is it --· And I don't
24· · · · · · · MR. PULKRABEK:· Object to form.             24· ·mean to quibble, Mr. Abelman, but the document
25· · · · · · · Go ahead.                                   25· ·itself shows that it's a two-page document.· So I
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·1· ·don't know what's on Page 2.                           ·1· ·Wycoff and you starting around the spring of 2016.
·2· · · · · · · MR. ABELMAN:· Well, the exhibit that's      ·2· · · · · · · Is that your recollection?
·3· ·been marked 53 is -- has the Bates No. -0013182.       ·3· · · · · · · MR. PULKRABEK:· Object to the form.
·4· · · · · · · MR. PULKRABEK:· And only that page.         ·4· · · · A· · ·Yes, that's what this e-mail shows.
·5· ·Okay.· Understood.                                     ·5· ·Anyway --
·6· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, could you     ·6· · · · · · · THE DEPONENT:· So it's scrolled too far
·7· ·look --· Tell us what the essence of this message      ·7· ·down for me to see my response.· Yeah, there we
·8· ·from Jeff Wycoff was.                                  ·8· ·are.
·9· · · · A· · ·Yes.· He wrote to me and Matt Schenk,       ·9· · · · A· · ·So I told him we were at a trade show
10· ·and he's -- he's outlining how promising things        10· ·and that we were busy.· He had been seeking
11· ·are going on a variety of fronts with ZAP! with        11· ·investment from numerous sources is my
12· ·certain retailers.· That's the bottom of the           12· ·recollection, and -- and had a number of different
13· ·e-mail, the originating part.                          13· ·possibilities.· And as we've already previously
14· · · · · · · THE DEPONENT:· I'll need you to scroll      14· ·discussed on this deposition call, he had been
15· ·up a little bit, because I can't read all of what      15· ·amenable to and I think wanted an investment from
16· ·I have here.                                           16· ·Midlab in return for giving portions of the
17· · · · · · · I read it before she scrolled down, and     17· ·accounts receivable.
18· ·my recollection --· Oh, there we go.                   18· · · · · · · And what I've said is, you know, if we
19· · · · · · · THE DEPONENT:· Oh, well, I'll need to       19· ·did something, it would be limited to $500,000 due
20· ·scroll up a little bit more.                           20· ·to our other capital demands and needs.· And if he
21· · · · Q· · ·(By Mr. Abelman)· So it appears that        21· ·needs more money, which I think he did, and he
22· ·there's more, at least from the documents produced     22· ·said he did, then he needed to keep looking for
23· ·from Midlab -- or from those documents that were       23· ·it.· But that was it.· You know, keep me posted.
24· ·produced by Midlab, I should say, the -- that          24· · · · · · · · · ·And then I think he had a nice
25· ·there was more direct communication between Jeff       25· ·thank you, talk to y'all soon.· That was it.

       EXHIBIT Q
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·1· · · · Q· · ·(By Mr. Abelman)· And was there             ·1· ·and that would enhance the value to $10 million
·2· ·anything else that precipitated more communication     ·2· ·for his farm, and that that was in the works and
·3· ·directly to you starting in the spring of 2016?        ·3· ·had counsel ready to work on that.
·4· · · · A· · ·Perhaps.· Nothing that I specifically       ·4· · · · · · · I'm just relating --· You asked me was
·5· ·recall.· I will elaborate and say that whether it      ·5· ·there other communication.· I don't --· Yes, there
·6· ·was in the spring of '16 or the fall of '15, the       ·6· ·was, and so I've tried to characterize it. I
·7· ·summer of '16 or the fall of '16, or the spring of     ·7· ·don't know if it was exactly in the spring of
·8· ·'17 -- and I don't know the preciseness as I just      ·8· ·2016.
·9· ·sit here from memory -- we had several phone calls     ·9· · · · Q· · ·No.· I appreciate that.· Throughout
10· ·and e-mails.· And the subject matter of -- of --       10· ·this business relationship, so let's say from 2015
11· ·of those was often, "How are things going with         11· ·to 2017, were you generally satisfied with the
12· ·ZAP!?· How are things going with the TV                12· ·level of communication that Jeff Wycoff was
13· ·commercials and the ratings they're generating?        13· ·providing Midlab?
14· ·How are things going with various retailers coming     14· · · · A· · ·Yes, I was generally --· Yes.· I mean,
15· ·onboard?· When might that happen," as well as          15· ·I was okay with it.
16· ·how -- and then also discussions about how things      16· · · · Q· · ·What about the content of the
17· ·were going with raising capital from a number of       17· ·communication?· Were there any issues with regard
18· ·different sources, as well as his farm value and       18· ·to the financial disclosures that ZAP! was making?
19· ·what it's worth, when it was going on the market,      19· · · · · · · MR. PULKRABEK:· Form.
20· ·if it was going on the market.                         20· · · · · · · Go ahead.
21· · · · · · · Another particular conversation I           21· · · · A· · ·He --· He would not make, like, written
22· ·recall was that he was -- is that he had close         22· ·formal disclosures to me.· It was all verbal, and,
23· ·communication with an account executive for            23· ·you know, I would take notes on them.· Jeff was a
24· ·getting things rezoned for his farm that would         24· ·fast talker and an excitable personality, and he
25· ·allow for marijuana -- crop growing of marijuana,      25· ·would -- would, you know, bring a lot of the
                                                  Page 79                                                     Page 80
·1· ·energy to our conversations about what was going       ·1· · · · · · · MR. ABELMAN:· Let's move to Exhibit 43.
·2· ·on and about the promising prospects.                  ·2· · · · A· · ·Would you like me to comment on that?
·3· · · · · · · His company and his accounting person,      ·3· · · · Q· · ·(By Mr. Abelman)· I mean, you'll have
·4· ·one or two different ones, I think, within ZAP!        ·4· ·to wait for my question.· So would you identify
·5· ·would send, as requested and on occasion to            ·5· ·-- Would you identify what's been marked as
·6· ·Midlab, to Kerry Speth and to Steve Miller, as an      ·6· ·Exhibit 43, please.
·7· ·example, you know, cash flow projections and           ·7· · · · A· · ·Yeah.· Well, You usually want me to say
·8· ·when -- when we would get our next payment, when       ·8· ·who sent it, so I was ready to jump in.
·9· ·that might come.· And that would occur on, you         ·9· · · · · · · Okay.· This is an e-mail from Kerry
10· ·know, an occasional basis.                             10· ·Speth to me and Steve Miller on May 13th of 2016.
11· · · · · · · And I recall people in our organization     11· · · · Q· · ·And what's the general purpose of this
12· ·being satisfied that they were -- would attempt to     12· ·e-mail?
13· ·communicate, you know, timely, et cetera.· So I        13· · · · A· · ·Allow me to read it to familiarize --
14· ·didn't have a problem with it in terms of the          14· ·re-familiarize myself with it, if you will.
15· ·frequency or if he would return a phone call or        15· · · · · · · Well, the first point is that he's
16· ·something like that.· He didn't, quote, disclose       16· ·speaking on some technical details of whether we
17· ·things to me in writing maybe ever, but -- or it       17· ·factored accounts -- I think he means accounts
18· ·was --· He --· I mean, perhaps he did.· I don't        18· ·receivable, although he didn't say it, because
19· ·recall it, but he certainly communicated verbally      19· ·that's usually what factoring has to do with.· If
20· ·and through some e-mails about the type of stuff       20· ·we factor to Walmart and they return product, it
21· ·I've described.                                        21· ·looks like we could have a problem and be perhaps
22· · · · Q· · ·(By Mr. Abelman)· Did you ever have a       22· ·a little upside-down financially, and so he's
23· ·problem with his effort to get accounts receivable     23· ·suggesting that an attorney could -- would know
24· ·paid?                                                  24· ·how to write this if we were to enter an agreement
25· · · · A· · ·No, I did not.                              25· ·to -- to apparently -- or possibly factor with

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·1· ·Walmart.· That's the first point, or that's my         ·1· ·these were previously sent to Aaron.· I'm not --
·2· ·understanding of what he's saying.                     ·2· ·I'm not suggesting you're at fault in any way,
·3· · · · · · · Allow me to read the second point.· In      ·3· ·just that we -- we provided these previously.
·4· ·the second point, he's theorizing of the               ·4· · · · · · · THE TECHNICIAN:· And these were not
·5· ·possibility, instead of factoring, of creating a       ·5· ·marked; is that correct?
·6· ·portion of the accounts receivable in a short-term     ·6· · · · · · · MR. ABELMAN:· These were not marked.
·7· ·note -- a promissory note in addition, over and        ·7· ·The ones in the 50s were not marked.
·8· ·above the personal guaranty, and that note carries     ·8· · · · · · · THE TECHNICIAN:· So --
·9· ·the same could be collateralized by an invoice to      ·9· · · · · · · MR. ABELMAN:· The ones in the 50s,
10· ·Walmart.                                               10· ·these were not marked.
11· · · · Q· · ·Okay.                                       11· · · · · · · THE TECHNICIAN:· -- what happened
12· · · · · · · MR. ABELMAN:· Ana, would you pull up        12· ·was --· Well, I'm guessing what happened is Aaron
13· ·Exhibit 56, please.· I'm sorry.· Exhibit 55,           13· ·only sent the ones that were marked and discarded
14· ·please.                                                14· ·the ones that were not marked.
15· · · · · · · THE TECHNICIAN:· I don't have 55.· The      15· · · · · · · MR. ABELMAN:· Okay.
16· ·only ones in the 50s that I do have are 50, 51, 53     16· · · · · · · MR. PULKRABEK:· Just for clarification,
17· ·and 58.                                                17· ·who is Aaron?· When you're talking about "Aaron,"
18· · · · · · · MR. ABELMAN:· Okay.· Exhibit --· Did        18· ·you're not talking about Aaron Goldhamer in my
19· ·you say you --· You don't have 55 and 56?              19· ·office?
20· · · · · · · THE TECHNICIAN:· That is correct.           20· · · · · · · THE TECHNICIAN:· This is --
21· · · · · · · MR. ABELMAN:· Okay.· I will --· I was       21· · · · · · · MR. ABELMAN:· No.
22· ·told that these were sent.· Let me have them sent      22· · · · · · · THE TECHNICIAN:· This is the video tech
23· ·directly to you.· Give me --· Just give me a           23· ·from Monday's and Tuesday's depositions.
24· ·couple minutes here.                                   24· · · · · · · MR. PULKRABEK:· Okay.· Thank you.
25· · · · · · · The record should reflect that all of       25· · · · · · · MR. ABELMAN:· So they're being sent
                                                  Page 83                                                     Page 84
·1· ·now.· You can let me know when you get it.             ·1· ·a general sense, if that makes sense.
·2· · · · · · · THE TECHNICIAN:· All right.· I have         ·2· · · · · · · MR. ABELMAN:· Could you pull up
·3· ·received 55 through 57, 62 and 67, correct?            ·3· ·Exhibit 56, please.
·4· · · · · · · MR. ABELMAN:· Great.· Thanks.· So let's     ·4· · · · Q· · ·(By Mr. Abelman)· And would you
·5· ·start with 55.                                         ·5· ·identify that.
·6· · · · Q· · ·(By Mr. Abelman)· Would you identify        ·6· · · · A· · ·Yes, I will.· It's an e-mail from
·7· ·what's been marked as Exhibit 55, please.              ·7· ·Jeff Wycoff to me, Vince Keller, on 6-13-2016.
·8· · · · A· · ·Yes.· It is an e-mail from Jeff Wycoff      ·8· · · · Q· · ·And what's the general nature of this?
·9· ·on 6-12-2016 to me with a subject of "Update."         ·9· · · · A· · ·Allow me a moment to review it, and I
10· · · · Q· · ·And the purpose of this appears to be       10· ·will give you my opinion.
11· ·Jeff trying to give you a status update?               11· · · · · · · Okay.· So in the first paragraph, it
12· · · · A· · ·Yes.· Well, an update --· Yes, on how       12· ·looks it's promising to get his product into Sam's
13· ·the company's, you know, doing and how much money      13· ·Club.· In the second paragraph, he has meetings
14· ·he needs to keep it going in various time frames.      14· ·with Costco coming up.· He gives an estimate for
15· · · · Q· · ·Okay.· Do you remember discussing this      15· ·what Sam's opening order might be at $4 million.
16· ·with him?                                              16· ·And I do recall him not --· It says it here, but
17· · · · A· · ·I --· I --· I think I do.· Again, we        17· ·he just didn't have the relationship with Costco.
18· ·had multiple conversations about raising money --      18· ·He had never really done business with them.
19· ·him raising money and who he was talking to and        19· · · · · · · And then in the last paragraph -- well,
20· ·how likely it might be to happen and when.· So         20· ·not the last --· In the next paragraph, he talks
21· ·it's hard to remember each one distinctly, but         21· ·about Costco's a different animal, just to quote
22· ·I -- I do have notes in my notebook that -- that       22· ·him.· He's meeting with the L.A. buyer, but
23· ·reflect numbers from this e-mail that he's             23· ·they've got to do some testing, so it's not nearly
24· ·recapping for me while we talked live.                 24· ·as near term; there's -- there's more to be done
25· · · · · · · So, yeah.· I --· I recall this in -- in     25· ·there.· And then he mentions a smaller wholesale

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·1· ·buyers club store known as BJ's.· And he said he       ·1· ·that issue.
·2· ·does not have an appointment with them, but he's       ·2· · · · Q· · ·And did you have any additional
·3· ·hoping he can get one in the next year with a          ·3· ·discussions in July -- in or around July about how
·4· ·$700,000 opening order, perhaps.                       ·4· ·it was being marketed and what the asking price
·5· · · · Q· · ·Okay.                                       ·5· ·was?
·6· · · · · · · MR. ABELMAN:· And then Exhibit 57,          ·6· · · · · · · MR. PULKRABEK:· Objection --
·7· ·please.                                                ·7· · · · A· · ·I don't know.· It's entirely possible
·8· · · · Q· · ·(By Mr. Abelman)· Would you identify        ·8· ·we did.· And, again, as I said some time ago,
·9· ·what's been marked as Exhibit 57, please.              ·9· ·maybe 10, 20, 30 minutes ago, we talked about his
10· · · · A· · ·Sure.· It's an e-mail from Jeff Wycoff      10· ·farm on numerous occasions.· So whether it was
11· ·on 7-13-2016 to me, Vince Keller.· The subject is      11· ·that summer or that spring or a little bit later
12· ·"Farm."· It's so short that I'll just read it.         12· ·in the fall, you know, the evidence would show if
13· · · · · · · "Vince, I don't think I answered your       13· ·it was in an e-mail or in my handwritten notes.
14· ·question this morning.· We priced the farm a bit       14· · · · · · · So the answer to your question is quite
15· ·below market value to sell it quickly.· It may be      15· ·possibly, but I cannot say with specificity just
16· ·worth a lot more but anything with a price tag         16· ·from my memory.
17· ·upwards of $5 million takes some time to sell.         17· · · · Q· · ·(By Mr. Abelman)· Do you --· Do you
18· ·Jeff."                                                 18· ·recall ever seeing the exclusive listing agreement
19· · · · Q· · ·So do you recall what your question was     19· ·that the Wycoffs signed with Karen Bernardi
20· ·that precipitated this -- this e-mail?                 20· ·listing the farm at $5,850,000 in --
21· · · · A· · ·I --· I think it was --· My                 21· · · · A· · ·No.
22· ·recollection is, and the e-mail also seems to          22· · · · Q· · ·-- June of 2016?
23· ·imply, I asked him about what's going on with his      23· · · · A· · ·No.· I do not recall ever seeing --
24· ·farm and the marketing of his farm and at what         24· ·actually seeing the agreement.
25· ·price might it sell?· You know, questions about        25· · · · Q· · ·Were you aware of the agreement?
                                                  Page 87                                                     Page 88
·1· · · · A· · ·I can't say --· No.· I don't have a         ·1· ·don't dispute that he may have said that.· He
·2· ·recollection of being aware of the agreement or        ·2· ·certainly talked about selling his farm a lot, so
·3· ·recalling that realtor's name, no.· I --· I -- I       ·3· ·I'm just trying to be as precise as possible what
·4· ·do recall him saying that, you know, he was going      ·4· ·my recollections are.
·5· ·to sell it and that he had, in fact, listed it,        ·5· · · · Q· · ·And you haven't seen the -- the actual
·6· ·but nothing beyond that general -- that general        ·6· ·exclusive right to sell listing contract that --
·7· ·statement.                                             ·7· · · · A· · ·I am unaware of that.· I'm sorry.
·8· · · · · · · You know, he --· I don't recall him         ·8· · · · Q· · ·-- we've provided to your counsel?
·9· ·saying, "I listed it with this company.· Here's my     ·9· · · · A· · ·I --· I --· I do not recall seeing the
10· ·agent.· I'll send you a copy of the MLS agreement"     10· ·MLS agreement, whether --
11· ·or anything like that.· I just recall him saying,      11· · · · Q· · ·Okay.
12· ·you know, "We're going to get this thing" --           12· · · · A· · ·-- from Jeff or from my counsel.
13· ·He --· He always asserted he -- that he could pay      13· · · · Q· · ·Have you seen the agreement to amend
14· ·us because of his farm, and so he talked about         14· ·and extend the contract with Karen Bernardi that
15· ·that a lot.                                            15· ·was a year later in August of 2017 for $3,789,000?
16· · · · · · · But, again, I don't recall seeing the       16· · · · A· · ·No.
17· ·listing agreement.                                     17· · · · Q· · ·Are you aware that the Wycoffs did not
18· · · · Q· · ·But you do recall him, Jeff, telling        18· ·receive any offers for the property between June
19· ·you that he had listed it sometime in the summer       19· ·of 2016 and sometime in 2017?
20· ·of 2016?                                               20· · · · · · · MR. PULKRABEK:· Form and foundation.
21· · · · A· · ·Probably.· And I can't attest to when       21· · · · A· · ·My answer is no, I am unaware of that.
22· ·exactly.· And I --· And I --· And I cannot with        22· · · · Q· · ·(By Mr. Abelman)· Now, throughout
23· ·certainty say he told me that he put it on the         23· ·the --· You said you had in front of you the
24· ·MLS, that he actually did that.· I --· I --· In        24· ·manufacturing and supply agreement and the
25· ·fact, I don't specifically recall that, but I also     25· ·amendment to the manufacturing and supply

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·1· ·agreement, as well as the second amendment to the      ·1· ·thorough --
·2· ·manufacturing and supply agreement.· What were the     ·2· · · · · · · THE REPORTER:· I'm sorry, Mr. Keller.
·3· ·dates of the amendment to the manufacturing and        ·3· ·You just cut out for me.· I'm sorry, but I'll need
·4· ·supply agreement and the second amendment to the       ·4· ·you to start your answer over.
·5· ·manufacturing and supply agreement?                    ·5· · · · · · · THE DEPONENT:· Sure.
·6· · · · A· · ·I will look.· Just a moment.· The first     ·6· · · · · · · THE DEPONENT:· I was saying that I
·7· ·one, which is referred to as "Amendment to             ·7· ·don't particularly agree with the exact
·8· ·Manufacturing and Supply Agreement," is dated          ·8· ·characterization that Mr. Abelman was -- as he
·9· ·April 1, 2016.· The date of what is referred to as     ·9· ·said it.
10· ·the "Second Amendment to Manufacturing and Supply      10· · · · A· · ·I --· If you'd like me to describe what
11· ·Agreement" is dated the 2nd day of September,          11· ·this -- these agreements reflect, they were us
12· ·2016.                                                  12· ·trying to, in writing, very specifically document
13· · · · Q· · ·And is it fair to say that this first       13· ·some business term changes and agreements to --
14· ·amendment and second amendment represent Midlab's      14· ·to -- that would guide the relationship going
15· ·and ZAP!'s continuing efforts to work to get the       15· ·forward.
16· ·outstanding accounts receivable and -- and             16· · · · · · · I don't disagree with you, Mr. Abelman,
17· ·optimize ZAP!'s business position?                     17· ·that it's meant to help the arrangement to a
18· · · · · · · MR. PULKRABEK:· Object to the form of       18· ·successful venture or conclusion or continuation,
19· ·the question.                                          19· ·but I -- I wouldn't have characterized it as -- as
20· · · · A· · ·I think that it's perhaps acceptable to     20· ·agreements to, quote, support the business. I
21· ·characterize it as you've said it.· I --· I would      21· ·would characterize it as documents that simply
22· ·have --· I would have --· If you had said --· If I     22· ·documented what we were agreeing to.· And maybe
23· ·had said, "What does this characterize," it was        23· ·it's parsing hairs or --· Anyway, that's how I
24· ·just the documentation of some business terms that     24· ·think of them or would have said it.
25· ·we were agreeing to, and we were attempting to be      25· · · · Q· · ·(By Mr. Abelman)· Thank you.
                                                  Page 91                                                     Page 92
·1· · · · · · · MR. ABELMAN:· Would you pull up             ·1· ·regard to the purchase and sale of Zap! Products?
·2· ·Exhibit 47, please.                                    ·2· · · · · · · MR. PULKRABEK:· Foundation.
·3· · · · A· · ·Would you like me to overview that?         ·3· · · · A· · ·They were --
·4· · · · Q· · ·(By Mr. Abelman)· Would you identify        ·4· · · · · · · THE DEPONENT:· I'm sorry.· Ross, did
·5· ·what's been marked as Exhibit 47, please.              ·5· ·you have something to say?
·6· · · · A· · ·Yes.· It's an e-mail from Steve Miller      ·6· · · · · · · MR. PULKRABEK:· Yes.· I said
·7· ·to Vince Keller, Ken Bodie, copying Matt Schenk        ·7· ·foundation, but go ahead.
·8· ·and Kerry Speth that is dated September 14, 2016.      ·8· · · · · · · THE DEPONENT:· Thank you.
·9· · · · Q· · ·And what's the essence of this              ·9· · · · A· · ·My understanding of that relationship
10· ·communication?                                         10· ·is that Tristar was taking over, as it says in the
11· · · · A· · ·It would appear, as I'm kind of reading     11· ·e-mail, the rights to sell it and benefit from it.
12· ·it, because it's not very long, that Steve is          12· ·And Jeff was, in essence, licensing them, the name
13· ·telling us -- telling Vince -- telling me, Vince,      13· ·and the rights to use his -- presumably his
14· ·and Ken Bodie that he and Matt Schenk reviewed the     14· ·trademarks and his name, and he would -- and he
15· ·ZAP! agreement between ZAP! and Tristar and had        15· ·was going to get commissions from that, but they
16· ·the following summary; that it was a licensing         16· ·were the new company in charge.
17· ·play.· And I think he means by that the agreement      17· · · · · · · So that was my understanding of their
18· ·relationship.· Also that ZAP! retains all              18· ·relationship.
19· ·ownership rights to the brands and patents and         19· · · · Q· · ·(By Mr. Abelman)· So Tristar was going
20· ·that Tristar has exclusive rights to sell through      20· ·to buy product directly from Midlab -- wasn't it?
21· ·all channels worldwide.                                21· ·-- ZAP! product?
22· · · · · · · "There is no protection of our              22· · · · A· · ·Correct.
23· ·manufacturing position with Tristar written in the     23· · · · Q· · ·And as part of the arrangement, any
24· ·agreement."                                            24· ·royalty to which ZAP! was entitled would -- would
25· · · · Q· · ·What role would Tristar play with           25· ·be paid to Midlab as well?

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·1· · · · A· · ·Well, that was the intention and idea.      ·1· · · · Q· · ·(By Mr. Abelman)· So I --· I --· My
·2· ·Certainly not every penny of every dollar they         ·2· ·questions here will only relate to what's been
·3· ·would have gotten, because he still maintained a       ·3· ·marked as Bates No. -0013854, which is what's on
·4· ·company that had some employees and he had some        ·4· ·the screen presently.
·5· ·expenses, et cetera.· It was Jeff's intention          ·5· · · · A· · ·Okay.· On the screen presently is an
·6· ·to -- to -- from what he -- from -- you know, from     ·6· ·e-mail from Jeff Wycoff to Matt Schenk dated
·7· ·those funds to use it to retire and pay down his       ·7· ·12-5-2016, subject "Update."· It's pretty short.
·8· ·accounts receivable to Midlab.                         ·8· ·Do you want me to read it or read it and then
·9· · · · Q· · ·So Jeff Wycoff was engaging to try and      ·9· ·characterize it?
10· ·reduce the outstanding indebtedness ZAP! owed to       10· · · · Q· · ·Well, just read the second paragraph,
11· ·Midlab?                                                11· ·please.
12· · · · A· · ·Yes.                                        12· · · · A· · ·The second paragraph, okay.· "The farm:
13· · · · · · · MR. ABELMAN:· Would you pull up Exhibit     13· ·Mr. Trump kicked the cramp" -- I assume he means
14· ·62, please.· And I think there's another page to       14· ·to say crap, but that's a guess -- "out of high
15· ·that.· Okay.· Yeah.· That's . . .                      15· ·end real estate here in Boulder and elsewhere.
16· · · · Q· · ·(By Mr. Abelman)· Can you identify          16· ·Anything over $2 million is pretty much dead in
17· ·what's been marked as Exhibit 62, please.              17· ·the water until we see how crazy he really is."
18· · · · A· · ·Yes.· I don't know if it's all --           18· · · · Q· · ·So Jeff Wycoff was explaining to you in
19· · · · · · · MR. PULKRABEK:· Object to the form.         19· ·December that the sale of the farm had been
20· ·Yeah.· We have multiple pages here, so I -- I          20· ·unsuccessful thus far.
21· ·don't know if that's . . .                             21· · · · · · · Is that the message being conveyed?
22· · · · A· · ·Okay.· I don't know if Exhibit 62 is        22· · · · · · · MR. PULKRABEK:· Foundation, form.
23· ·all of these pages, but what's on the screen now       23· · · · A· · ·I --· He --· He didn't say that, but
24· ·would appear to be the origination of an e-mail        24· ·the --· He's implying that in his opinion, due to
25· ·chain.                                                 25· ·the election, I assume, of Mr. Trump, since it is
                                                  Page 95                                                     Page 96
·1· ·dated 2016, and Mr. Donald Trump became president      ·1· ·$500,000.· Anyway, he --· So the first paragraph
·2· ·in November, shortly before this -- or was elected     ·2· ·is talking about fundraising, what's happened and
·3· ·president, although he didn't become president         ·3· ·what might happen.
·4· ·yet, that it was Jeff's belief that real estate        ·4· · · · · · · The next paragraph talks about Sam's
·5· ·would be -- that it's value would be damaged.          ·5· ·Club and his appointment with the buyer and -- and
·6· ·That's what seems to be his assertion.                 ·6· ·their Costco --· So the second paragraph is
·7· · · · · · · MR. ABELMAN:· Okay.· Can we go to the       ·7· ·talking about the prospect of possible sales into
·8· ·other page on this exhibit, please, which is Bates     ·8· ·the club stores and where that might stand.
·9· ·No. -0013853.                                          ·9· · · · · · · The next paragraph is talking about a
10· · · · Q· · ·(By Mr. Abelman)· Would you take a          10· ·rollout that could occur with another Lowe's, Home
11· ·quick look at this and describe what you see,          11· ·Depot-type company called Menard's and one or two
12· ·please.                                                12· ·others, and then some discussion on CVS and Family
13· · · · A· · ·The top's cut off, so all I can see is      13· ·Dollar.
14· ·"Afternoon Vince."· Okay.· So it's --· Now I can       14· · · · · · · The next paragraph mentions how well
15· ·see it all.                                            15· ·the TV commercials are going and their -- their
16· · · · · · · It's an e-mail from Jeff Wycoff to          16· ·ratios of how they measure success in that -- in
17· ·Vince Keller, Matt Schenk and Steve Miller dated       17· ·that industry, as well as what he plans to do for
18· ·4-8-2016.· It's rather long.· So if you want me to     18· ·the rest of the year strategically on a variety of
19· ·say what it says, I'm going to need to read it.        19· ·matters.
20· · · · Q· · ·Okay.· Take --· Take your time and then     20· · · · Q· · ·So this is yet another example of -- of
21· ·give me your summary understanding.                    21· ·Jeff trying to keep Midlab updated on his
22· · · · A· · ·All right.                                  22· ·efforts --
23· · · · · · · MR. PULKRABEK:· Object to the form.         23· · · · · · · MR. PULKRABEK:· Object to the form.
24· · · · A· · ·The first paragraph updates that he         24· · · · Q· · ·(By Mr. Abelman)· -- on his efforts to
25· ·secured $850,000 to date with access to another        25· ·pay Midlab?

       EXHIBIT Q
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                                                  Page 97                                                     Page 98
·1· · · · · · · MR. PULKRABEK:· Object to --                ·1· · · · · · · MR. ABELMAN:· Ana, would you pull up
·2· · · · A· · ·He's updating us --· In my opinion,         ·2· ·Exhibit 49, please.
·3· ·he's updating us on how the business is going and      ·3· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, do you --
·4· ·its prospects.· He doesn't speak to him paying us.     ·4· ·Do you recognize this e-mail?
·5· ·He's speaking to keeping the business going and        ·5· · · · A· · ·I recognize it as an e-mail.· I don't
·6· ·the capital needed to do so, as well as the            ·6· ·necessarily recall having seen it before.
·7· ·prospects for some certain accounts.· But --· But      ·7· · · · Q· · ·It's one sentence.· Do you want --
·8· ·I will agree that it's an effort to update us in       ·8· ·It's two sentences.· Do you want to read it?
·9· ·general with how things are going.                     ·9· · · · A· · ·I will read it.· It is from Cody
10· · · · · · · MR. PULKRABEK:· Tracy, are you getting      10· ·Housley to Vance Lowe and Steve Miller on
11· ·my objections to form?· I'm just not sure if           11· ·3-16-2020.· "ZAP! Products" is the subject line,
12· ·they're coming through.                                12· ·and it reads, "Zap has been written off.· Please
13· · · · · · · THE REPORTER:· Actually, that one was       13· ·see the attachments of the detail in the excel
14· ·cut off, as Mr. Keller continued to answer over        14· ·file."
15· ·your objection.                                        15· · · · Q· · ·What, if anything, was your role with
16· · · · · · · MR. PULKRABEK:· Okay.· Mr. Keller, if       16· ·regard to writing off ZAP!?
17· ·you wouldn't mind, take a pause between the            17· · · · · · · MR. PULKRABEK:· Form and foundation.
18· ·question that gets asked and then your response,       18· · · · · · · Go ahead.
19· ·because I think that because we're doing this by       19· · · · A· · ·My role would have been somewhat or
20· ·Zoom, if I attempt to object while you're talking,     20· ·quite removed, more just being informed of the
21· ·it doesn't necessarily register.· So I need you to     21· ·matter as -- as opposed to directing it, if that
22· ·give me just a moment to insert any objections,        22· ·answers your question.
23· ·okay?                                                  23· · · · Q· · ·(By Mr. Abelman)· Sure.· Who --· Who
24· · · · · · · THE DEPONENT:· Yes.· I apologize.           24· ·has the authority to make a decision to write off
25· · · · · · · MR. PULKRABEK:· Thank you.                  25· ·ZAP!
                                                  Page 99                                                    Page 100
·1· · · · · · · MR. PULKRABEK:· Foundation.                 ·1· · · · · · · MR. ABELMAN:· How much time --· How
·2· · · · · · · Go ahead.                                   ·2· ·much time would you like, Mr. Keller, to break for
·3· · · · A· · ·I would have authority to do so.· Matt      ·3· ·lunch and anything else you may need to
·4· ·Schenk would have authority to do so.· That's who      ·4· ·accomplish?
·5· ·I think would be most likely and have the              ·5· · · · · · · THE DEPONENT:· Yeah.· I would -- I
·6· ·authority to do it.· I mean, in theory, Ken Bodie      ·6· ·would defer to the other group, because I could --
·7· ·would have the authority to do so.· That would be      ·7· ·I don't have to leave my office, so I could take
·8· ·who would -- who would make -- who would do that.      ·8· ·5 minutes or 30 minutes, whatever you-all need to
·9· · · · Q· · ·(By Mr. Abelman)· So were you consulted     ·9· ·have your lunch.
10· ·on this write-off?                                     10· · · · · · · MR. PULKRABEK:· Mr. Abelman, how long
11· · · · A· · ·I don't specifically recall.· Very          11· ·do you want --· Go ahead.
12· ·likely, yes.                                           12· · · · · · · MR. ABELMAN:· I was going to suggest we
13· · · · Q· · ·What went into the decision?                13· ·reconvene at maybe 12:30.
14· · · · A· · ·A decision like that, in general, would     14· · · · · · · MR. PULKRABEK:· Okay.· That's fine by
15· ·be viewpoints from our company auditors and their      15· ·me.· Vince, does that work for you?
16· ·recommendations.· They compile audited financial       16· · · · · · · THE DEPONENT:· 2:30 Eastern Time?
17· ·statements and have to sign off on them, and so        17· · · · · · · MR. ABELMAN:· Yes.
18· ·they would have viewpoints and opinions as to the      18· · · · · · · (The deposition recessed at 11:52 a.m.,
19· ·age of accounts receivable, the collectibility of      19· · · · · · · ·to be reconvened at 12:30 p.m.)
20· ·accounts receivable.· So those types of factors go     20
21· ·into making the -- a decision such as that.            21
22· · · · · · · MR. ABELMAN:· Okay.· I think this might     22
23· ·be a good time to take a lunch break.· Yeah, this      23
24· ·is a good breaking point.                              24
25· · · · · · · MR. PULKRABEK:· Okay.                       25

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                                                 Page 101                                                    Page 102
·1· · · · · · · ·AFTERNOON SESSION· · · 12:35 p.m.          ·1· ·you, Mr. Keller, to read a few of these pages for
·2· · · · · · · MR. ABELMAN:· Ana, there was an exhibit     ·2· ·me, starting with -000736.
·3· ·sent to you, Exhibit 69.· Do you have that?            ·3· · · · A· · ·Is that --· Is that --· I can't see the
·4· · · · · · · THE TECHNICIAN:· Yes, I do.· I'm            ·4· ·numbers?· Is that the one?
·5· ·pulling it up right now.                               ·5· · · · Q· · ·So it's the one that --
·6· · · · · · · MR. ABELMAN:· Thank you.                    ·6· · · · A· · ·Yes.
·7· · · · · · · · ·EXAMINATION (Continued)                  ·7· · · · Q· · ·-- is -- one, two, three, four, five,
·8· ·By MR. ABELMAN:                                        ·8· ·six --· Yeah.· Okay.· Could you read --· And if
·9· · · · Q· · ·Mr. Keller, is Exhibit 69, is that your     ·9· ·you need to, it looks like it's a continuation of
10· ·handwriting?                                           10· ·the page before, so --
11· · · · A· · ·I'm embarrassed to say, yes, it is my       11· · · · A· · ·I think it is, yep.
12· ·handwriting.· It's not very neat.                      12· · · · Q· · ·Yeah.· So if you want to start there --
13· · · · Q· · ·You have no cause for embarrassment,        13· ·Yeah, why don't you start at -00735, then.
14· ·because it's -- it's --· Mine is just as bad, if       14· · · · A· · ·Okay.· Would you like me to just give
15· ·not worse.                                             15· ·an overview or read -- or literally read the --
16· · · · A· · ·Yes.· That --· Thank you.· That's my        16· ·the notes?
17· ·handwriting.                                           17· · · · Q· · ·Well, so let's start with the date.
18· · · · Q· · ·And these are the notes that you            18· ·It's dated July 13, 2016.
19· ·alluded to earlier that you tend to keep               19· · · · A· · ·Yes.
20· ·contemporaneously with meetings and -- and             20· · · · Q· · ·And then there's a $5,850,000 from
21· ·conferences?                                           21· ·$3.7 million.· What is that?· Do you know?
22· · · · A· · ·Yes, that is correct.                       22· · · · A· · ·That was Jeff relating to me numbers
23· · · · · · · MR. ABELMAN:· Ana, could you go to          23· ·relative to his farm value on the call.· He said
24· ·Bates No. -0003 -- I'm sorry -- Bates No. -000736.     24· ·it was worth $5.85 million.· He had presently
25· · · · Q· · ·(By Mr. Abelman)· And I'm going to ask      25· ·borrowed $3.7 million, giving him -- I rounded
                                                 Page 103                                                    Page 104
·1· ·there -- $2 million of net or equity.· It says         ·1· ·mortgage, perhaps, borrowing on the -- on the --
·2· ·"2mm net," which means $2 million net value to him     ·2· ·against the farm.
·3· ·right at that time.                                    ·3· · · · Q· · ·Okay.· Is there anything on the next
·4· · · · Q· · ·So you may recall earlier, I asked you      ·4· ·page that relates to the Wycoffs' personal assets?
·5· ·if you had seen the exclusive right to sell            ·5· · · · A· · ·Just a moment.· Technically, perhaps
·6· ·listing contract and Bernardi as the listing           ·6· ·the bullet point that reads "$4.9 mm," meaning
·7· ·agent, and I referenced that the amount in that        ·7· ·million, "in risk by Jeff Wycoff to date."· You
·8· ·contract for the sale of the farm was $5,850,000.      ·8· ·know, presumably that's an investment he had made
·9· ·It seems like that corresponds to -- to what I had     ·9· ·in the business to date and, therefore, would
10· ·referred to earlier, doesn't it?· It's very            10· ·potentially reflect, you know, an investment,
11· ·consistent.                                            11· ·therefore an asset, therefore a value.
12· · · · A· · ·I'm --· I'm pausing.· I usually don't       12· · · · · · · Aside from that, no, I don't see
13· ·pause, but I've been taught to do that.                13· ·anything that would refer to asset values.
14· · · · · · · Yes, I think it's consistent.· That's       14· · · · Q· · ·Is that --· Is the $4.9 million what
15· ·what he said and that's what I wrote down.· But,       15· ·Jeff told you he had invested in ZAP!?
16· ·again, I did not see the agreement.                    16· · · · A· · ·I cannot say with certainty.· My
17· · · · Q· · ·Okay.· Is there anything else on this       17· ·recollection is that -- in the context of that is
18· ·page referring to the Wycoffs' personal assets?        18· ·that's what that meant, and that "in risk by
19· · · · A· · ·Give me a moment.· No, I don't see it.      19· ·Jeff" --· In other words, I think he was saying as
20· ·The rest of that page is speaking about his            20· ·to what's been going on, "Hey, Vince.· I've got
21· ·efforts to raise money from various sources.           21· ·$4.9 million tied up in this."· You know,
22· · · · Q· · ·Okay.· And the $3.7-something million       22· ·that's -- that's what I think it meant.· I cannot
23· ·that you alluded to earlier, what did you              23· ·say that with certainty.
24· ·understand that amount represented?                    24· · · · Q· · ·And so the remainder of this -- of --
25· · · · A· · ·I understood that amount represented a      25· ·of your notes, does that primarily reflect updates

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                                                 Page 105                                                    Page 106
·1· ·on ZAP!'s progress from Jeff and Andy Eisen?           ·1· ·write advertisements, and he means they -- they
·2· · · · A· · ·Yes.                                        ·2· ·were going to shoot or literally film the
·3· · · · Q· · ·Okay.· Let's go to the page after that,     ·3· ·production, in which he hosted a little
·4· ·which -000737 is the Bates number.                     ·4· ·infomercial or commercial or whatever and then an
·5· · · · A· · ·Okay.                                       ·5· ·unhosted one with just words.
·6· · · · Q· · ·Now, I --· Because of the size of this,     ·6· · · · · · · The next bullet point --· So there's
·7· ·I really can't read anything.                          ·7· ·several in a row coming up.· The next says,
·8· · · · A· · ·It's harder --· I can read it, mostly.      ·8· ·"Commitments from other DR companies," direct
·9· · · · Q· · ·Would you mind just reading it and          ·9· ·response companies," in those countries all around
10· ·sharing, please.                                       10· ·the world literally.
11· · · · A· · ·No, that's fine.· I will do so.· The        11· · · · · · · "Home Depot given a green light.
12· ·very top says "250,000 pieces to fill the pipeline     12· · · · · · · ·"All major retailers, Walmart says
13· ·excluding the" club stores.· So that meant for his     13· ·yes.· A 'PO commitment.'· Spoken to Sam's,
14· ·supply pipeline, he needed 250,000 bottles or          14· ·basically the same.· All drug chains, Family
15· ·cases -- I don't know what the unit count meant --     15· ·Dollar, etc.,· Dollar General.
16· ·to fill the supply chain pipeline.                     16· · · · · · · "Phase I for Restore 4.· "Keith" -- I
17· · · · · · · Anyway, we were talking --· These notes     17· ·think that's the owner or someone influential at
18· ·were taken on 10-9-2017.· Two weeks ago they --        18· ·Tristar.· "Keith interested in the line
19· ·Well, I'll just read it verbatim.· Two weeks ago       19· ·extensions," meaning having additional products.
20· ·shot Restore 4 shows hosted and unhosted written       20· ·"Stainless steel cleaner and Keith wanted
21· ·by Jeff.· Due Friday & will get rolling."              21· ·consumables."· He wanted to have a line of other
22· · · · · · · What he means by that is --· And            22· ·products that -- that were used more frequently
23· ·Tristar changed the name of ZAP! to Restore 4, by      23· ·perhaps than just the tile cleaner.
24· ·the way.· Perhaps you knew that, but that was the      24· · · · · · · Next, it says "Phase II - Local
25· ·new product name to be used.· Jeff helped them         25· ·Attorney in Boulder to get zoned," meaning his
                                                 Page 107                                                    Page 108
·1· ·farm, "for marijuana growth.· Worth" 10 million --     ·1· ·"Expect a call & offer to sell outright," the
·2· ·"10 MM," it says.· Top county person on their side     ·2· ·intellectual property is what he means, to Henkel.
·3· ·to get him zoned & meet in a week."· So a top          ·3· · · · · · ·"Jeff Ansel (Sun Brands) guesses," the
·4· ·county official that is influential on that matter     ·4· ·price would be $5 to $10 million with the cube
·5· ·is on Jeff's side and agreeing to get that done,       ·5· ·Simplicity technology.· So that's what that means.
·6· ·and he's meeting with him in a week.                   ·6· · · · · · · And then my writing in the margin above
·7· · · · · · · Towards the bottom, it says, "Phase 3,      ·7· ·on the upper left-hand side of the current page
·8· ·Henkel," that's a German concern.· And I think         ·8· ·we're on says, "Keith is prepared to spend a lot
·9· ·they were interested --· Well, now I'm sharing         ·9· ·of money to make things work."· So Jeff's telling
10· ·just things I remember.· Henkel was interested in      10· ·me, "Hey, Keith at Tristar, he's all about this.
11· ·purchasing the Simplicity intellectual property,       11· ·He's ready to step to the plate and really market
12· ·and so it says, "Henkel - Simplicity -- met in         12· ·things and make this successful."· So that's what
13· ·Connecticut 2 hr. meeting that went well."· So         13· ·he's saying.
14· ·Henkel --· What that means is --· There's "Love        14· · · · · · · Then do you want me to go to the next
15· ·cube & formula," meaning he loved his cube             15· ·page?
16· ·packaging concept, which is more efficient on the      16· · · · Q· · ·Yes, please.
17· ·store shelves.· And they brought a chemist there       17· · · · A· · ·"Jeff says he has $2 million commitment
18· ·to that meeting, Henkel did, and they had "Lots of     18· ·from Tri- Star.· In order for them to keep the
19· ·questions."· And the chemist's name was Chuck,         19· ·License Agreement they have to pay him this.· He
20· ·according to my notes.                                 20· ·agrees with me & will know by the end of this
21· · · · · · · "Both Don & Jack Guybig" -- Don's a         21· ·month what he can do.· He expects them to ask for
22· ·consultant that's worked with Midlab in the past,      22· ·an amendment by the end of this period (October),"
23· ·a chemist, and Jack Guybig, the same thing to a        23· ·an amendment to that commitment which requires
24· ·lesser extent -- "joined via conference call."· So     24· ·them to pay him $2 million is what he means.
25· ·apparently that's the meeting with Henkel.             25· · · · · · · The next part, I can read it, but I'm

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                                                 Page 109                                                    Page 110
·1· ·not sure what the heck it means.· It says,             ·1· ·that --· I recall that, so that's what that
·2· ·"1 - 1.5" million or "MM rental for farm."· And        ·2· ·discussion was about.
·3· ·then below that it says, "4-6.5 MM per year.           ·3· · · · Q· · ·Would it be fair to say that by the
·4· ·Would be interested in this to have way more down      ·4· ·fall of 2017, Jeff's primary -- or ZAP!'s primary
·5· ·the road."· I don't know what --· I don't know         ·5· ·lifeline was with Tristar?
·6· ·what he meant by "rental for farm."· I just -- I       ·6· · · · · · · MR. PULKRABEK:· Form and foundation.
·7· ·just don't remember that, but that's what it says.     ·7· · · · · · · Go ahead.
·8· · · · · · · And then in my side margin there, I         ·8· · · · A· · ·Yeah.· I mean, I don't think that would
·9· ·said, "Agrees he should & will.· Just give three       ·9· ·be inaccurate.· I --· he was relying heavily on
10· ·more weeks to commit."· So he had asked me, "Hey,      10· ·Tristar to have this move forward, and --· Yes, I
11· ·my agreement calls for them to pay me 2 million        11· ·think that's accurate.· He had tried to raise
12· ·bucks, but they're going to tell me -- but if I'm      12· ·money elsewhere.· I think he had gotten some here
13· ·going to hold them to that, they're going to say,      13· ·and there, but, you know, he was always talking
14· ·'Pound sound and we're done.'"                         14· ·about needing millions of dollars, and Tristar was
15· · · · · · · He --· He felt they just weren't going      15· ·capable of that if they had desired.· So, yes.
16· ·to do that and that they were going to ask for an      16· · · · Q· · ·(By Mr. Abelman)· And to the best of
17· ·amendment.· He said, "I really think I should give     17· ·your knowledge, he had been successful in
18· ·it to him.· I believe this thing's going to work       18· ·marketing these kind of products in the past and
19· ·and that's where things stand with Tristar."· And      19· ·doing these kinds of -- these type of infomercials
20· ·I said to Jeff, "I agree.· Based on what I'm           20· ·Tristar was considering doing?
21· ·hearing and knowing, I suspect they're not going       21· · · · · · · MR. PULKRABEK:· Form and foundation.
22· ·to come through and pay you the money.· You know,      22· · · · A· · ·To the best of my knowledge, he had had
23· ·what are you going to do?"· And he goes, "I'll         23· ·previous success.
24· ·probably give them more time."                         24· · · · Q· · ·(By Mr. Abelman)· Okay.· Let's go to
25· · · · · · · Anyway, that's what -- that's what          25· ·the next page, which is Bates No. -000738.· This
                                                 Page 111                                                    Page 112
·1· ·is a shorter e-mail (sic).· Would you mind reading     ·1· ·after it occurred?
·2· ·it, please.                                            ·2· · · · · · · MR. PULKRABEK:· Object to the form.
·3· · · · A· · ·Yes.· I assume you mean, by "e-mail,"       ·3· · · · Q· · ·(By Mr. Abelman)· Is that true?
·4· ·that you mean my notes in the book?                    ·4· · · · A· · ·Yes.· I think on 11-29-2017, he
·5· · · · Q· · ·Your notes.· I'm sorry.· Starting with      ·5· ·informed me of it.· And as we discussed hours ago,
·6· ·the date, please.                                      ·6· ·I think that occurred in October of 2017, so a
·7· · · · A· · ·Yes.· So the date is 11-29-2017.· It        ·7· ·month and a half or -- or within 60 days following
·8· ·reads, "Jeff lost case with IRS $11MM" or              ·8· ·that would be my understanding.
·9· ·$11 million.                                           ·9· · · · Q· · ·And what, if any --· What, if any,
10· · · · · · · "Restore 4 profit can't be touched or       10· ·conversations did this call generate with Jeff?
11· ·attached.                                              11· · · · · · · THE DEPONENT:· I'm sorry, Ross.· Did
12· · · · · · · "Farm & house" with an arrow sign,          12· ·you say something?
13· ·"they will force sale & take it.                       13· · · · · · · MR. PULKRABEK:· No.· Go ahead and
14· · · · · · · "Paying Andy only health insurance to       14· ·answer.
15· ·keep company viable & legitimate.· Andy has not        15· · · · · · · THE DEPONENT:· I'm sorry.
16· ·been paid in a while.· He is struggling really         16· · · · A· · ·It generated --· As you can see here in
17· ·bad.· Home, etc... in jeopardy.                        17· ·the notes, he informed me about it.· He, you know,
18· · · · · · · "CFO" with an arrow sign, "of Tristar,      18· ·was feeling bad for his employee or consultant
19· ·he is who" -- "who we should work with.                19· ·Andy.· You know, he shared he was really
20· · · · · · · "Keith Merchant" --· I don't --· That       20· ·struggling, and Jeff was saying, "Hey, you know,
21· ·might be the CFO's name, but I'm not sure.             21· ·this is largely in Tristar's" --· He had intimated
22· ·"Keith Merchant is loyal to Andy because he saved      22· ·"This is in Tristar's hands, as we've been
23· ·him early on during a trucking strike."                23· ·discussing.· Keith Merchant is the key guy there
24· · · · Q· · ·So Jeff --· So it looks like Jeff           24· ·and he's loyal to Andy; he's kind of your go-to
25· ·informed you about the adverse IRS ruling shortly      25· ·guy."

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·1· · · · · · · And that's what I recall him saying.        ·1· ·in the scheme of things for you, but, you know,
·2· ·That's what he shared.                                 ·2· ·this is our duty" -- "our fiduciary duty for our
·3· · · · Q· · ·Did this generate any response              ·3· ·company, because we have this situation, the debt
·4· ·internally from Midlab or the Keller Group?            ·4· ·and the ongoing situation, and we have to follow
·5· · · · A· · ·None that I specifically recall. I          ·5· ·up on this."· I was simply being delicate, or at
·6· ·don't know that we --· No.· I don't think so.          ·6· ·least trying to be, about the situation.
·7· · · · Q· · ·Let's go to the last page, which is         ·7· · · · · · · And I explained --· We wanted to gain
·8· ·Bates No. -0004742.· Would you read -- read this       ·8· ·an increased understanding about the debt and
·9· ·entry of your notes, please.                           ·9· ·Jeff's intention with it with his estate now --
10· · · · A· · ·Yes.· It occurred on June 1st of 2018.      10· ·obviously, Jeff was deceased -- his estate and
11· ·These are notes from a telephone conversation that     11· ·what was going on.· And I asked her or was --· You
12· ·occurred with Merrie Wycoff and Andy -- I'm sorry.     12· ·know, I did ask her -- or I recall asking her, you
13· ·I can't recall his last name, but he was on the        13· ·know, "Do you want us to communicate directly with
14· ·call, the Andy -- Andy that we've been referring       14· ·you in the future or" -- or this blank here, you
15· ·to -- Matt Schenk and myself.                          15· ·know, to write in a name.
16· · · · · · · I recall speaking first to -- or Matt       16· · · · · · · I had thought we might go over numbers
17· ·Schenk might have said, "Thank you for taking our      17· ·in some detail.· I recall asking her about an
18· ·call," et cetera.· But I had a few talking points      18· ·executor.· It is my recollection that she said, on
19· ·to cover, and I had written those talking points       19· ·this call, "Oh, we're not probating it and I'm
20· ·before the conversation actually occurred, things      20· ·not" -- "not real familiar with all of that." I
21· ·I wanted to cover with her.                            21· ·don't know --· I didn't know, at that time, what
22· · · · · · · So I shared my condolences, because         22· ·that meant, but she -- but I do recall her saying
23· ·this was after the death of Jeff, several months       23· ·that.
24· ·later.· And I made the point that "I'm sure your       24· · · · · · · I specifically recall, as I wrote here,
25· ·life's topsy-turvy.· Merrie, this is perhaps small     25· ·Merrie saying that she's been familiar with
                                                 Page 115                                                    Page 116
·1· ·things, meaning business, and what's been going on     ·1· ·Exhibit 68, please.
·2· ·and of the many communications on the sidelines.       ·2· · · · Q· · ·(By Mr. Abelman)· Would you identify
·3· ·She was aware of the many things that Jeff said to     ·3· ·that, Mr. Keller.
·4· ·me, his promises, et cetera.· She acknowledged --      ·4· · · · A· · ·It says, "In the United States District
·5· ·I mean, you know, with perfect hindsight, I would      ·5· ·Court For the District of Colorado, Civil Action"
·6· ·have acknowledged the debt.· And she said, "Things     ·6· ·and then has a long number with letters.· It says,
·7· ·are really crazy now.· We're dealing with a lot of     ·7· ·"Midlab, Inc., a Tennessee Corporation, Plaintiff,
·8· ·stuff and we will deal with this the best we can."     ·8· ·v. Merrie Pisano Wycoff individually," and then it
·9· · · · · · · And that was it.· That was the call.        ·9· ·names a variety of trusts and other entities.· It
10· ·I'm guessing it was five to eight minutes in           10· ·is dated -- or filed 7-21-21.
11· ·length or something like that.· And I recall           11· · · · Q· · ·Okay.· And the plaintiff is Midlab?
12· ·talking with Matt Schenk after the call, feeling       12· · · · A· · ·Yes.
13· ·that it went pretty well.· She acknowledged the        13· · · · Q· · ·And you would expect that a legal
14· ·debt and indicated an intention to pay it and work     14· ·document prepared on behalf of Midlab would be
15· ·with us, but she needed time and was dealing with      15· ·honest and accurate, wouldn't you?
16· ·a lot of issues.                                       16· · · · A· · ·Yes.
17· · · · Q· · ·Was this the last conversation you had      17· · · · · · · MR. ABELMAN:· Let's start at Page 5,
18· ·directly with her?                                     18· ·which is Exhibit -- which is where we'll see
19· · · · A· · ·To my recollection, yes.                    19· ·Paragraph 18.· Ana, could you move to Page 5.· I'm
20· · · · Q· · ·Neither Jeff Wycoff or Merrie Wycoff        20· ·sorry.· It's Paragraphs 17 and 18.
21· ·has ever disputed the debt that ZAP! owed or Jeff      21· · · · Q· · ·(By Mr. Abelman)· Do you see that
22· ·owed to Midlab, have they?                             22· ·there's representations here that --· Well,
23· · · · A· · ·To my knowledge, they have not disputed     23· ·Paragraph 17 says, "BHFS represented Jeffrey
24· ·it.                                                    24· ·Wycoff and Merrie Wycoff in connection with the
25· · · · · · · MR. ABELMAN:· Would you pull up             25· ·Guaranty, as evidenced by, inter alia, exchanges

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·1· ·of emails between BHFS attorney Kevin A. Kudney        ·1· ·that that happened.
·2· ·and Coleman Hoffman in November 2015, concerning       ·2· · · · Q· · ·(By Mr. Abelman)· Conversations with
·3· ·the Guaranty and Jeffrey Wycoff's agreement            ·3· ·whom?
·4· ·to personally guaranty the obligations of Zap!         ·4· · · · · · · MR. PULKRABEK:· Mr. --· I'm sorry.
·5· ·Products, Inc. to Midlab, Inc. up to a                 ·5· ·Mr. Keller, if you're going to get into
·6· ·$1,000,000."                                           ·6· ·conversations with my office at this point, I'd
·7· · · · · · · And we've previously established that       ·7· ·just instruct you not to answer questions about
·8· ·only Jeff Wycoff executed a guaranty on behalf of      ·8· ·that, as that would implicate the attorney-client
·9· ·Midlab, correct?                                       ·9· ·privilege.
10· · · · A· · ·I think that is the case.· It was --        10· · · · · · · MR. ABELMAN:· Actually, that does not
11· ·The reason I pause is I was uncertain --· It is my     11· ·implicate the attorney-client privilege, Ross.
12· ·understanding that Merrie acknowledged, in a           12· ·I'm asking for conversations with whom.· I'm not
13· ·letter or in some way with whoever compiled the        13· ·asking about the content.
14· ·information that it was accurate, but she did not      14· · · · · · · MR. PULKRABEK:· All right.· So has he
15· ·sign the personal guaranty.· That's just my            15· ·discussed --· Has he had discussions with legal
16· ·understanding.                                         16· ·counsel about the complaint?
17· · · · Q· · ·That --                                     17· · · · · · · MR. ABELMAN:· No, that's not what I
18· · · · A· · ·I might be wrong.                           18· ·asked.· I asked who --· He said --· We went back,
19· · · · Q· · ·That what was accurate?                     19· ·and he said that Merrie Wycoff --
20· · · · A· · ·The financial --· The --· The statement     20· · · · Q· · ·(By Mr. Abelman)· I believe, but
21· ·of financial condition.                                21· ·correct me if I'm wrong, Mr. Keller, you said that
22· · · · Q· · ·What's the basis for that conclusion --     22· ·Merrie Wycoff had acknowledged the validity of the
23· ·for your conclusion?                                   23· ·guaranty?
24· · · · · · · MR. PULKRABEK:· Form and foundation.        24· · · · · · · Is that what you said?
25· · · · A· · ·I guess conversations that -- that --       25· · · · · · · MR. PULKRABEK:· Object to the form.
                                                 Page 119                                                    Page 120
·1· · · · A· · ·I said --· I said it was my                 ·1· · · · Q· · ·Okay.· And it says "BHFS," which is my
·2· ·understanding that Merrie acknowledged the             ·2· ·law firm, "represented Jeffrey Wycoff and Merrie
·3· ·validity of the information on the financial           ·3· ·Wycoff in connection with the Guaranty."
·4· ·disclosure; that was my understanding.                 ·4· · · · · · · What's the basis for that statement?
·5· · · · Q· · ·(By Mr. Abelman)· Okay.· Then I asked       ·5· · · · · · · MR. PULKRABEK:· Foundation.
·6· ·you, "What was the basis for that understanding,"      ·6· · · · A· · ·I do not know the answer to your
·7· ·and you said "Conversations."· And I asked you,        ·7· ·question.
·8· ·"Conversations with whom?"                             ·8· · · · Q· · ·(By Mr. Abelman)· The same allegation
·9· · · · A· · ·Correct.· And then my counsel objected      ·9· ·is made in Paragraph 18.· It says, "BHFS as
10· ·and instructed me not to answer.                       10· ·counsel for Jeffrey Wycoff, Merrie Wycoff, and
11· · · · · · · MR. PULKRABEK:· You can answer the          11· ·Zap! Products, LLC provided Midlab, Inc. with a
12· ·question --· Without getting into communications       12· ·personal financial statement."
13· ·with legal counsel, you can answer the question.       13· · · · · · · Would it surprise you to learn that
14· · · · A· · ·With --· With counsel is the answer.        14· ·BHFS never represented Merrie Wycoff prior to
15· · · · Q· · ·(By Mr. Abelman)· Okay.· Now, this --       15· ·Jeff Wycoff's death?
16· ·You were referring to the statement of financial       16· · · · · · · MR. PULKRABEK:· Foundation and form.
17· ·condition, I believe, which was Exhibit 51.· I'm       17· · · · A· · ·Would I be surprised?· I would have
18· ·looking at it now.· I don't see Merrie Wycoff's        18· ·to --· I have no --· I have no opinion as to
19· ·signature on that.· Do you have a copy of this         19· ·whether I'm surprised or not.· I have no knowledge
20· ·statement of financial condition with Merrie           20· ·of it at all.
21· ·Wycoff's signature on it?                              21· · · · Q· · ·(By Mr. Abelman)· Let's move to Page 7,
22· · · · A· · ·I --· I do not have a copy of it.· I do     22· ·please.· And, in particular, I'm looking at
23· ·recall seeing it on the screen earlier today, but      23· ·Paragraph 29.· And so I'd like you to read
24· ·I -- I do not recall, in those hours ago, seeing       24· ·Paragraph 29, please.
25· ·her signature on it.                                   25· · · · A· · ·Okay.· "Jeffrey Wycoff and Merrie

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·1· ·Wycoff did not reflect the transfer on the             ·1· ·do so.
·2· ·Statement of Financial Condition that they             ·2· · · · · · · So having title or the right to it, the
·3· ·provided to Midlab, Inc., nor did the Statement of     ·3· ·ability to do so and not have them be encumbered
·4· ·Financial Condition otherwise refer to Wycoff          ·4· ·in other ways through different entities was
·5· ·Financial, LLC or particular assets held through       ·5· ·important, yes
·6· ·Wycoff Financial, LLC.· The impression created by      ·6· · · · Q· · ·(By Mr. Abelman)· Well, if Jeff and
·7· ·the Statement of Financial Condition was that the      ·7· ·Merrie Wycoff were the owners of Wycoff Financial,
·8· ·Farm was an asset of Jeffrey Wycoff and Merrie         ·8· ·wouldn't they have the ability to sell the farm?
·9· ·Wycoff that Midlab, Inc. could rely upon as            ·9· · · · A· · ·Perhaps, but I do know enough from my
10· ·supporting the Guaranty."                              10· ·business experience to know that when you start
11· · · · Q· · ·So was title to the farm important to       11· ·having assets legally owned and/or titled in
12· ·Midlab at that time?                                   12· ·other -- in other entities, that other agreements
13· · · · · · · MR. PULKRABEK:· Foundation.                 13· ·or situations or conditions of that other entity
14· · · · · · · THE DEPONENT:· I assume I can proceed.      14· ·can interfere with things if it's not just
15· · · · A· · ·I believe that the answer to that would     15· ·directly owned by an individual that has clear
16· ·be yes, it would be, in that it was --· I know in      16· ·title and right to act.
17· ·retrospect from seeing this now, this financial        17· · · · · · · I mean, yes, you might be right.· But
18· ·statement, believed by Colman Hoffman, who was         18· ·it could be far more involved and complex than
19· ·advising on this, that it made up a substantial        19· ·that.
20· ·part of Jeff's assets -- Jeff Wycoff's assets in       20· · · · Q· · ·It could be.· You're absolutely right.
21· ·signing the guaranty.· Jeff, on numerous               21· ·So what inquiry has -- have you made with regard
22· ·occasions, promised me and assured me of financial     22· ·to whether Wycoff Financial had any obligations
23· ·security in the debts because of the value and the     23· ·about which Midlab was not informed?
24· ·equity he had in the farm, and it could be sold to     24· · · · · · · MR. PULKRABEK:· Foundation and form.
25· ·pay his debts should the business not be able to       25· · · · A· · ·I can't answer that, because I
                                                 Page 123                                                    Page 124
·1· ·personally haven't done that.· So I don't know the     ·1· · · · A· · ·I did not know about BC 24.· I -- I
·2· ·answer to your question.                               ·2· ·assumed there was a mortgage with some entity. I
·3· · · · Q· · ·(By Mr. Abelman)· Wouldn't that be          ·3· ·had no idea the name and had never heard it,
·4· ·important for you to find out -- for Midlab to         ·4· ·because Jeff said, when he would describe the
·5· ·find out before --                                     ·5· ·asset value of the farm, what its market value
·6· · · · · · · MR. PULKRABEK:· Object --                   ·6· ·was, how much he had borrowed on it, which clearly
·7· · · · Q· · ·(By Mr. Abelman)· -- proceeding with        ·7· ·indicates a loan of some kind, that his equity
·8· ·this lawsuit?                                          ·8· ·resulting was always as represented by him more
·9· · · · · · · MR. PULKRABEK:· Object to the form of       ·9· ·than the personal guaranty.
10· ·the question.                                          10· · · · Q· · ·(By Mr. Abelman)· Well, Mr. Keller, if
11· · · · · · · THE DEPONENT:· Should I answer, Ross?       11· ·you look at the statement of financial condition,
12· · · · · · · MR. PULKRABEK:· If you can, go ahead.       12· ·it shows a mortgage payable on the farm of
13· · · · A· · ·Well, yes.· I think it would be             13· ·$3,650,000.· So --
14· ·important, but it was my belief and understanding,     14· · · · A· · ·Okay.
15· ·assumption that that is and has been done by           15· · · · Q· · ·-- right from the inception of your
16· ·numerous people under the guidance of our -- of        16· ·knowledge about the farm, Midlab knew that there
17· ·Midlab's counsel.                                      17· ·was a mortgage against the farm; is --
18· · · · Q· · ·(By Mr. Abelman)· Oh, that's -- that's      18· · · · A· · ·Okay.
19· ·interesting.· Because as it turns out, Wycoff          19· · · · Q· · ·-- that correct?
20· ·Financial only owed one creditor, and that was         20· · · · A· · ·I think that is correct.
21· ·BC 24.· And as we've established, you knew about       21· · · · Q· · ·So if -- if the only indebtedness that
22· ·the mortgage owed by BC 24, correct?                   22· ·Wycoff Financial owed was to -- was the mortgage,
23· · · · · · · MR. PULKRABEK:· Objection.· And this is     23· ·would -- would it change whether -- would it
24· ·argumentative.                                         24· ·change what -- what value would be available to
25· · · · · · · Go ahead, Mr. Keller, if you can.           25· ·Midlab?

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·1· · · · · · · MR. PULKRABEK:· Foundation and form.        ·1· ·answer.
·2· · · · A· · ·I don't know the answer, because I          ·2· · · · Q· · ·(By Mr. Abelman)· I would love for you
·3· ·don't --· I --· You know, I wasn't familiar with       ·3· ·to know them all as well.· This --· This --· This
·4· ·all of the dealings of Wycoff Financial.· But          ·4· ·amended complaint was filed on May 17th of 2021,
·5· ·going back in time, it was my understanding that       ·5· ·so there's been a great deal of information
·6· ·Jeff Wycoff and his wife owned the farm, not           ·6· ·produced on precisely these points since the
·7· ·Wycoff Financial, at the time of the guaranty.         ·7· ·original complaint was filed.· I just don't
·8· · · · Q· · ·(By Mr. Abelman)· But what difference       ·8· ·understand why you're not aware of these salient
·9· ·would it make from the standpoint of their --          ·9· ·points.
10· ·What difference would it make from the standpoint      10· · · · · · · MR. PULKRABEK:· Mr. Abelman, that's not
11· ·of the net -- of their net worth if they owned it      11· ·a question.· I'd ask you to limit your examination
12· ·directly or indirectly?                                12· ·to questions rather than berating the witness,
13· · · · · · · MR. PULKRABEK:· Foundation and form.        13· ·please.
14· · · · A· · ·I --· I don't know, Steve, is my            14· · · · · · · MR. ABELMAN:· I'm not berating.· I'm
15· ·answer.                                                15· ·asking a question.
16· · · · Q· · ·(By Mr. Abelman)· Don't you think it's      16· · · · · · · MR. PULKRABEK:· That was not a
17· ·something you should know now, after the               17· ·question.
18· ·litigation has -- has been ongoing?                    18· · · · · · · MR. ABELMAN:· I mean, Mr. Keller is a
19· · · · · · · MR. PULKRABEK:· Object to the form.         19· ·very bright man.· He's got an MBA.· He's --
20· · · · A· · ·I --· I don't --· I don't have -- I         20· ·He's --· He's a sophisticated businessman.· I'm
21· ·don't have an answer.· I mean, I'd love to know        21· ·surprised that we're -- that he's not familiar
22· ·all of the intricacies and details of all of the       22· ·with some of the most salient facts in a complaint
23· ·dealings that have occurred since he signed that       23· ·that's been filed on behalf of his company.
24· ·guaranty; that would be lovely.· But I don't know      24· · · · · · · MR. PULKRABEK:· Okay.· So ask a
25· ·them all.· I would love to know them all is my         25· ·question.· You're making a speech about your
                                                 Page 127                                                    Page 128
·1· ·surprise.· The purpose of the deposition is not        ·1· · · · · · · And he would try to give me confidence
·2· ·for you to indicate your surprise.· It's to ask        ·2· ·that he had personal assets that were sufficient
·3· ·questions, and so I'd ask you to move on and ask a     ·3· ·to satisfy his obligations.
·4· ·question.                                              ·4· · · · Q· · ·So I'm trying to understand the nature
·5· · · · · · · MR. ABELMAN:· Would you --· Ana, would      ·5· ·of your -- of this conflict.· And when I say
·6· ·you turn to Page 8, please.                            ·6· ·"your," I mean Midlab.· Is there any question that
·7· · · · Q· · ·(By Mr. Abelman)· And, Mr. Keller, I'm      ·7· ·the Wycoffs made efforts to sell the farm?
·8· ·going to direct your attention to Paragraph 33.        ·8· · · · · · · MR. PULKRABEK:· Foundation.
·9· ·Would you read the allegation in Paragraph 33.         ·9· · · · A· · ·I am not knowledgeable about the detail
10· · · · A· · ·It reads, "Jeffrey Wycoff also              10· ·of their efforts at all.· Apparently there's an
11· ·mentioned the Residence to Vince Keller in the         11· ·MLS listing which would indicate an effort, and he
12· ·context of establishing his net worth."                12· ·told me that, you know, they intended to market
13· · · · Q· · ·And what did --· When did Mr. Wycoff        13· ·it.· He told me a lot more about its value, about
14· ·mention the residence?· And what did he say?           14· ·why it was valuable with Google coming into the
15· · · · A· · ·Like I've said a few other times, I         15· ·area and about the possibility of having a
16· ·don't recall the specific conversation or which        16· ·redistrict -- or rezoned for marijuana growth and
17· ·quarter in a given year, but in the several            17· ·things of that nature.
18· ·occasions that he would speak about paying us and      18· · · · · · · But it would appear, if he had an MLS
19· ·about the value of his farm, he would often -- I       19· ·agreement, that there was effort made.· I don't
20· ·don't know that he did it every time -- also           20· ·know any details beyond that.· I don't know any
21· ·mention his home having value and that the --          21· ·details about the MLS.· It's just that I'm told it
22· ·the --· He would say, you know, "There's the farm      22· ·existed, and so I take that at face value.
23· ·and there's the equity left in the farm.· Of           23· · · · Q· · ·(By Mr. Abelman)· Are you interested in
24· ·course, if it really got tough, there's the            24· ·knowing the details, Mr. Keller?
25· ·house."                                                25· · · · A· · ·At this point, not particularly.· If it

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·1· ·happened, it happened.· I certainly am not             ·1· · · · · · · So is any of that of interest to you?
·2· ·interested in reading an MLS listing.                  ·2· · · · A· · ·Yes, it's of interest to --
·3· · · · Q· · ·Well, but are you interested in finding     ·3· · · · · · · MR. PULKRABEK:· Hold on just one
·4· ·out what the value of the farm was at -- at this       ·4· ·second.· Foundation and form to the question.
·5· ·time?                                                  ·5· · · · · · · Go ahead, Mr. Keller.· You can answer
·6· · · · A· · ·Yes.· I would like to know the value of     ·6· ·the question as to whether it is of interest to
·7· ·the farm, yeah.· I was told all along, as we've        ·7· ·you.
·8· ·discussed today on numerous occasions, what Jeff       ·8· · · · A· · ·It is affirmatively, yes, of interest
·9· ·purported its value to be.· I took him at face         ·9· ·to me.
10· ·value that that was accurate, or largely accurate,     10· · · · Q· · ·(By Mr. Abelman)· I mean, what I'm
11· ·or at least within the ballpark of rounding within     11· ·trying to understand, Mr. Keller is --· I mean, is
12· ·a half million or million or whatever.                 12· ·Midlab upset with the Wycoffs because they don't
13· · · · Q· · ·So Midlab has requested and the             13· ·believe the Wycoffs made an adequate effort to
14· ·defendants here have provided the backup for the       14· ·sell the farm or they think that the Wycoffs sold
15· ·sales efforts as to the farm.                          15· ·the farm at an inadequate price?
16· · · · A· · ·Okay.                                       16· · · · · · · MR. PULKRABEK:· Object to the form.
17· · · · Q· · ·So there's -- there's e-mails from the      17· · · · · · · Go ahead, Mr. Keller, if you can
18· ·Bernardi Group detailing the sales efforts and the     18· ·answer.
19· ·changes in price, starting with a contract that        19· · · · A· · ·I would not characterize Midlab,
20· ·listed the farm for $5,850,000 and ending with, on     20· ·speaking for it as an inanimate entity, of having
21· ·November 27th of 2017, the real estate broker,         21· ·emotion about it.· They're certainly not angry.
22· ·Karen Bernardi, recommending that they list the        22· ·They --· And as I sit here, and for the first time
23· ·farm at somewhere between $2.3 million and             23· ·learn of the value that it was suggested to be
24· ·$2.7 million.· And in between, there are e-mails       24· ·sold for, I, as a representative of Midlab, would
25· ·explaining why the price needs to be lower.            25· ·be disappointed, because that sounds --· You
                                                 Page 131                                                    Page 132
·1· ·said something about a price in the upper to mid       ·1· ·needs to sell property quickly for some reason,
·2· ·$2 million range of a sales price was far less         ·2· ·and things get sold at or below market value for a
·3· ·than it was purported to be worth.· So I'm             ·3· ·myriad of reasons.· I mean, that's my opinion to
·4· ·disappointed to hear that would be my                  ·4· ·your question.
·5· ·characterization.                                      ·5· · · · Q· · ·(By Mr. Abelman)· So here, you were
·6· · · · Q· · ·(By Mr. Abelman)· And you mentioned         ·6· ·told in the summer of 2016, that the property --
·7· ·earlier that the value of real estate is -- is         ·7· ·the farm was being sold for around $5 million.
·8· ·informed by market conditions.                         ·8· ·And so --· You were told there was a listing, and
·9· · · · A· · ·Yes.                                        ·9· ·then over the next almost two years, there was
10· · · · Q· · ·Did I accurately represent your             10· ·only one offer that was obtained.
11· ·statement?                                             11· · · · · · · Is that --· Does that comport with your
12· · · · A· · ·Yes.                                        12· ·understanding?
13· · · · Q· · ·And when you're selling a piece of real     13· · · · · · · MR. PULKRABEK:· Form and foundation.
14· ·estate, is it your experience that you depend upon     14· · · · · · · You can answer the question
15· ·your real estate agent to help you assess what an      15· · · · A· · ·I --· I do not know how many offers
16· ·appropriate sales price would be?                      16· ·were given or not given.· I --· I have no
17· · · · · · · MR. PULKRABEK:· Form and foundation.        17· ·understanding or knowledge of that.
18· · · · · · · Go ahead.                                   18· · · · Q· · ·(By Mr. Abelman)· Well, your complaint
19· · · · A· · ·It would be my experience and just          19· ·references one offer, and that was almost two
20· ·perception that sellers generally rely on their        20· ·years later at $3.3 million; is that correct?
21· ·real estate agent to assist in -- in setting value     21· · · · A· · ·If that's what it says in what you're
22· ·and sales prices.· However --· And, obviously,         22· ·reading there, then I -- I assume that's correct.
23· ·market conditions dictate what those may be.           23· · · · Q· · ·So in between the summer of 2016 and
24· · · · · · · Individual situations in any given          24· ·the spring of 2018, it would appear that the
25· ·situation can necessitate undermarket value or         25· ·market for properties like the farm was on a

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·1· ·downward swing.                                        ·1· ·2015, the amount outstanding on the mortgage?
·2· · · · · · · MR. PULKRABEK:· Form and foundation.        ·2· · · · A· · ·I --· I don't.· We'd need to see the
·3· · · · A· · ·I --· I don't have any close knowledge      ·3· ·exhibit, or you can read it to me.· But it's --
·4· ·of the Colorado marketplace aside from residential     ·4· ·It seems like it was $2-something million.· I --
·5· ·real estate.· I happen to have a few acquaintances     ·5· ·It was $2 million or $3 million, and it left
·6· ·that live there and own multiple homes there and,      ·6· ·equity of several -- of a couple million is my
·7· ·therefore, have some knowledge of the home values      ·7· ·recollection.
·8· ·there, which seem astronomically high to me.           ·8· · · · Q· · ·Well, let me help you here.· The --
·9· · · · · · · And so I -- I -- I find that                ·9· · · · A· · ·All right.
10· ·surprising.· It seems counter to what's happening      10· · · · Q· · ·-- value that was -- on the statement
11· ·to valuable in-close farms that are near               11· ·of financial condition for the farm was listed at
12· ·metropolitan areas, which I understand this is.        12· ·$4,750,000.
13· ·And the fact that it would be declining in             13· · · · A· · ·Okay.
14· ·Colorado, when water's important and it has water,     14· · · · Q· · ·The mortgage on the farm, at that
15· ·I just --· It just seems astonishing to me that it     15· ·point, was $3,650,000.
16· ·would decline in value like that.                      16· · · · A· · ·Okay.
17· · · · · · · So that's my opinion, but it's not          17· · · · Q· · ·So --
18· ·informed by any more than what I'm saying, you         18· · · · A· · ·Which leaves a delta of $1.1 million,
19· ·know.                                                  19· ·so a bit more than the personal guaranty.
20· · · · Q· · ·(By Mr. Abelman)· So we've established      20· · · · Q· · ·Right.· But if it turns out that the
21· ·that there was a mortgage against the farm that        21· ·farm was worth, as Karen Bernardi said in November
22· ·you were informed about right from the statement       22· ·of 2017, between $2.3 million and $2.7 million,
23· ·of financial condition; is that right?                 23· ·where does that leave the -- the equity position
24· · · · A· · ·Correct.                                    24· ·for the farm?
25· · · · Q· · ·And do you recall how much it was in        25· · · · · · · MR. PULKRABEK:· Foundation and form.
                                                 Page 135                                                    Page 136
·1· · · · · · · If you are able to answer the question,     ·1· ·of it, but the holder of the mortgage is an entity
·2· ·go ahead, Mr. Keller.                                  ·2· ·called BC 24, which is a subsidiary of a lender
·3· · · · A· · ·If, in fact, that was the value, and        ·3· ·called Bloomfield out of Michigan.· Were you aware
·4· ·if, in fact, a mortgage of -- of $3.65 million         ·4· ·that -- that after Jeff Wycoff's death, and after
·5· ·remained, it would imply that the property was, as     ·5· ·the $3.3 million purchase contract from Caerleon
·6· ·they say, under water, had a negative value,           ·6· ·was terminated by Caerleon, that BC 24 issued a
·7· ·negative equity.                                       ·7· ·notice of default?
·8· · · · Q· · ·(By Mr. Abelman)· So one of the             ·8· · · · · · · MR. PULKRABEK:· Objection form and
·9· ·documents provided to Midlab pursuant to its           ·9· ·foundation.
10· ·request was a settlement agreement with the holder     10· · · · · · · Go ahead.
11· ·of the mortgage, and that document indicates that      11· · · · A· · ·No.
12· ·the mortgage, by that point, so in the summer of       12· · · · Q· · ·So earlier when you -- when you -- when
13· ·2018, was $4.9 million.                                13· ·we were talking about valuations, you mentioned a
14· · · · · · · Were you aware of that?                     14· ·variety of situations where sometimes property is
15· · · · A· · ·No.                                         15· ·sold for even below what its fair market value
16· · · · · · · MR. PULKRABEK:· Object to the form and      16· ·would be, and you gave a description of some
17· ·foundation.                                            17· ·examples that, I think, generally would fall under
18· · · · A· · ·No.                                         18· ·the -- the ambit of distressed sales.
19· · · · · · · MR. PULKRABEK:· Mr. Abelman, when you       19· · · · · · · Did I get that right?
20· ·get to a good point, could we take a break -- a        20· · · · A· · ·Yes.
21· ·restroom break, please.                                21· · · · Q· · ·And would a sale that occurred after
22· · · · · · · MR. ABELMAN:· Okay.· Let me finish this     22· ·the lender had issued a notice of default on a
23· ·subject.                                               23· ·loan secured by the property, in your opinion,
24· · · · Q· · ·(By Mr. Abelman)· So the holder of the      24· ·constitute a potential distressed sale?
25· ·mortgage --· And you said you didn't know the name     25· · · · · · · MR. PULKRABEK:· Foundation and form.

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·1· · · · · · · Go ahead.                                   ·1· ·10 minutes, I think that would be sufficient.
·2· · · · A· · ·Yes, it could.                              ·2· ·Thanks.
·3· · · · Q· · ·(By Mr. Abelman)· One of the primary        ·3· · · · · · · MR. ABELMAN:· Okay.
·4· ·allegations in this complaint, Mr. Keller, is          ·4· · · · · · · (Recess from 1:33 p.m. to 1:45 p.m.)
·5· ·that -- and correct me if I'm wrong -- is that         ·5· · · · Q· · ·(By Mr. Abelman)· So, Mr. Keller, I'm
·6· ·Merrie Wycoff sold the farm at a value that was        ·6· ·just trying to understand, in part, why we're
·7· ·below fair market value.                               ·7· ·involved in this lawsuit, why Midlab is
·8· · · · · · · Is that --· Is that an accurate             ·8· ·prosecuting claims against Merrie Wycoff and the
·9· ·statement about this complaint?                        ·9· ·other defendants.· One of the --· One of the bases
10· · · · · · · MR. PULKRABEK:· Form.                       10· ·for the lawsuit is that the farm was sold for less
11· · · · · · · THE DEPONENT:· Can I proceed, Ross?         11· ·than fair market value.
12· · · · · · · MR. PULKRABEK:· Yes.· You can go ahead      12· · · · · · · If you look at Paragraph 85 of the
13· ·and answer the question.                               13· ·complaint, it says, "In March and April 2018, the
14· · · · A· · ·I think that is possibly a fair thing       14· ·Farm was under contract for" the sale -- "for sale
15· ·to say.· It's hard for me to say with much             15· ·for $3,3000,000."
16· ·certainty, in that it's a long complaint.· I saw       16· · · · · · · Is that what Midlab believes the fair
17· ·it for the first time yesterday, and there's a lot     17· ·market value was in the spring and summer of 2018?
18· ·of movements and parts.· But from my brief             18· · · · · · · MR. PULKRABEK:· Foundation.
19· ·familiarity with it, I think that that's accurate.     19· · · · · · · Go ahead, Mr. Keller, if you can.
20· · · · · · · MR. PULKRABEK:· Mr. Abelman, I'd like       20· · · · A· · ·I don't know what Midlab thinks,
21· ·us to take a break.· I do need to use the              21· ·because they don't have a close working knowledge
22· ·restroom.                                              22· ·of the real state market in that area.· But it
23· · · · · · · MR. ABELMAN:· Okay.· I --· I apologize.     23· ·would seem to indicate, if there was a contract
24· ·Let's take a break.· How much time do you want?        24· ·with an arm's-length third party, that that might
25· · · · · · · MR. PULKRABEK:· If we can just have         25· ·be reflective, although perhaps on the lower end.
                                                 Page 139                                                    Page 140
·1· · · · Q· · ·(By Mr. Abelman)· So it might be a good     ·1· · · · · · · MR. PULKRABEK:· Object to the form of
·2· ·indication, but then when the contract was             ·2· ·the question
·3· ·terminated by the potential purchaser, what in         ·3· · · · A· · ·I --· Mr. Abelman, I -- I -- I don't
·4· ·your opinion would that indicate?                      ·4· ·have close working knowledge of the machinations
·5· · · · · · · MR. PULKRABEK:· Foundation.                 ·5· ·that were going on after Jeff's death.· I --· So I
·6· · · · · · · Go ahead, Mr. Keller                        ·6· ·depend on our counsel for that and the details of
·7· · · · A· · ·I don't have --· I don't know what it       ·7· ·the myriad of LLCs that were created and the
·8· ·would indicate.· There could be a myriad of            ·8· ·things sold and transferred, to my understanding,
·9· ·things.                                                ·9· ·of which I have no specific knowledge.· So it's
10· · · · Q· · ·(By Mr. Abelman)· Sure.· But that           10· ·hard for me to opine.
11· ·could --· But one of the things it could be is         11· · · · · · · My involvement is at a very high level.
12· ·that $3.3 million wasn't a fair market value; that     12· ·Jeff promised to pay.· He said for years on end
13· ·it was too high?                                       13· ·that the farm and/or the residence, or even other
14· · · · · · · MR. PULKRABEK:· Foundation and form.        14· ·assets of the company would be sufficient to do
15· · · · A· · ·That's your opinion.· It could mean,        15· ·so.· Merrie was aware of all those conversations
16· ·literally, 100 different things or more.· It could     16· ·and said such.· It is my understanding that she
17· ·mean the buyer changed his mind.· It could mean        17· ·could have sold this property or continued to try
18· ·the buyer ran into financial problems.· It could       18· ·to sell the property at the market value of
19· ·mean the buyer changed its mind for any number of      19· ·$3.3 million, or perhaps higher.· And, again,
20· ·reasons.                                               20· ·without close knowledge of all the details, that's
21· · · · Q· · ·(By Mr. Abelman)· Okay.· Fair enough.       21· ·what I would have expected her to do and settle
22· ·So from Midlab's perspective, what should have         22· ·her debts.
23· ·happened then?· What --· What should have --· What     23· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, we just
24· ·should Merrie Wycoff have done with regard to the      24· ·took a break.· Did you speak to your counsel
25· ·sale of the farm?                                      25· ·during that break?

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·1· · · · · · · MR. PULKRABEK:· Object to the form and      ·1· ·familiar with the litigation.· Who is?
·2· ·foundation.· And --· And I don't know where this       ·2· · · · · · · MR. PULKRABEK:· Mr. Abelman, I object
·3· ·is going, Mr. Abelman, if you're just about to         ·3· ·to the -- to foundation and form.
·4· ·inquire into attorney-client communications or         ·4· · · · · · · Mr. Keller, if you can answer, go
·5· ·not, but --                                            ·5· ·ahead.
·6· · · · Q· · ·(By Mr. Abelman)· Answer the question,      ·6· · · · A· · ·The law firm --· Ross' law firm is
·7· ·Mr. Keller.                                            ·7· ·largely managing this process, in my opinion.
·8· · · · A· · ·Yes, briefly after he used the              ·8· · · · Q· · ·(By Mr. Abelman)· So you --· Let's
·9· ·restroom.                                              ·9· ·assume for a second that the property was sold for
10· · · · Q· · ·Okay.· So let's dig down on this            10· ·$3.3 million.· How would that have helped Midlab?
11· ·deeper.· You say you don't have personal knowledge     11· · · · · · · MR. PULKRABEK:· Foundation.
12· ·about it.· This is your company that has filed a       12· · · · · · · Go ahead and answer, if you are able
13· ·lawsuit, Mr. Keller.· Why don't you have more          13· ·to, Mr. Keller.
14· ·knowledge?· Don't you --· Go ahead.                    14· · · · A· · ·I don't know what other assets were
15· · · · A· · ·Because I read the complaint beginning      15· ·still available or what remaining funds could have
16· ·to end for the first time this morning.· I'm a         16· ·been available to pay us; for instance, the
17· ·busy person.· I trust the managers and lawyers to      17· ·residence, et cetera.· So I --· Yeah.· I don't --
18· ·handle these issues, and they have been handling       18· ·I don't know the answer to your question.
19· ·these issues.· And that's the answer.· I just --       19· · · · Q· · ·(By Mr. Abelman)· Well, Mr. Keller,
20· ·Just like yourself --· I'm sure we're all busy in      20· ·your -- Midlab's lawsuit makes specific claims
21· ·life and have a myriad of things we're doing, and      21· ·about a fraudulent conveyance involving the farm.
22· ·I'm in the same situation.                             22· ·So for purposes of the farm itself, how would a
23· · · · Q· · ·Mr. Keller, if you're not managing          23· ·sale at $3.3 million have helped Midlab?
24· ·this, who is?· Mr. Schenk wasn't that familiar         24· · · · · · · MR. PULKRABEK:· Foundation and now also
25· ·with the litigation.· Mr. Miller wasn't that           25· ·form.
                                                 Page 143                                                    Page 144
·1· · · · · · · Go ahead, if you're able to answer the      ·1· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, there is
·2· ·question, Mr. Keller.                                  ·2· ·no disrespect intended.· I am involved in a
·3· · · · A· · ·I don't have anything further to            ·3· ·lawsuit brought by a company that you own
·4· ·answer.· I've said --· I've given an answer to the     ·4· ·indirectly, and I want to understand the basis for
·5· ·best of my knowledge.                                  ·5· ·this dispute as best as possible.· So please
·6· · · · Q· · ·(By Mr. Abelman)· Are you aware that        ·6· ·answer that question?
·7· ·the mortgage was in the amount of $4.9 million?        ·7· · · · A· · ·So I began reviewing detailed documents
·8· · · · · · · MR. PULKRABEK:· Foundation and form.        ·8· ·this morning.· I don't recall seeing a document
·9· · · · A· · ·I'm not aware of that.· It seems like       ·9· ·about a mortgage for $4.9 million.· I'm not
10· ·that had been said earlier today, and so perhaps.      10· ·disputing that fact, and I would not have been
11· ·Again, I'm not close to the detail of it.              11· ·aware of it prior to this morning.· It's --· I am
12· · · · Q· · ·(By Mr. Abelman)· You have a                12· ·aware there was a mortgage on this property in the
13· ·document --· Your counsel has a document that          13· ·past, as we've discussed today, according to Jeff
14· ·reflects the mortgage was $4.9 million.· Are you       14· ·Wycoff saying that.· We also had exhibits from my
15· ·telling me today that you've never bothered to         15· ·notes that showed that it was something, like,
16· ·look at that document?                                 16· ·$3-something million, which left a net value of
17· · · · · · · MR. PULKRABEK:· Mr. Abelman, I'm going      17· ·$2 million at the time of our conversations.· You
18· ·to object, and I'm going to ask that you treat the     18· ·know, that's that.
19· ·witness with courtesy and maybe dial back your         19· · · · · · · And our counsel -- Colman Hoffman is
20· ·tone a bit.· This is becoming a bit abusive, in my     20· ·who I'm referring to -- reviewed the agreement and
21· ·opinion.· I know that we're not video-recording        21· ·felt there was sufficient assets to make good on a
22· ·this deposition, but in my opinion, you're getting     22· ·guaranty, so we went forward on that basis. I
23· ·a little over the top here.                            23· ·don't have any more specific knowledge or
24· · · · · · · Go ahead, Mr. Keller, if you can            24· ·familiarity with specific mortgage documents than
25· ·answer.                                                25· ·that.

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·1· · · · Q· · ·(By Mr. Abelman)· Well, Mr. Keller,         ·1· · · · · · · Go ahead.
·2· ·forgive me, but I'm going to go through this step      ·2· · · · A· · ·Again, if one was to sell the farm to
·3· ·by step.· I understand you don't want -- that you      ·3· ·children or close relatives or insiders or
·4· ·don't have more knowledge, but I'm going to take       ·4· ·friendly people, close friends, whatever the case
·5· ·this opportunity to pin you down on each of these      ·5· ·may be, there may be an opportunity to preserve
·6· ·issues.                                                ·6· ·value in the remaining value of the property for
·7· · · · · · · So assuming that the --· And I              ·7· ·the related parties.· That would be a reason.
·8· ·understand you haven't read the settlement             ·8· · · · Q· · ·(By Mr. Abelman)· How would you expect
·9· ·agreement, but assuming that the property could be     ·9· ·the lender to respond to an attempt to sell the
10· ·sold at $3.3 million, the farm, and assuming that      10· ·property at less than fair market value?
11· ·the mortgage was $4.9 million, what difference did     11· · · · · · · MR. PULKRABEK:· Foundation and form.
12· ·it make whether the sales price was $3.3 million?      12· · · · A· · ·I can't speak for the lender.· I don't
13· · · · · · · MR. PULKRABEK:· Foundation and form.        13· ·know.
14· · · · · · · Mr. Keller, if you're able to answer        14· · · · Q· · ·(By Mr. Abelman)· Hey, you're a
15· ·that question, you may proceed.                        15· ·businessman.· Have you ever dealt with a lender
16· · · · A· · ·I -- I assume, under those facts --         16· ·who was willing to walk away from a deficiency of
17· ·If --· If we were relying solely on just the farm      17· ·$1.6 million when it wasn't in its best interest?
18· ·and those facts occurred and were accurate, we         18· · · · · · · MR. PULKRABEK:· Same objection.
19· ·would not get funds from the sale of the farm in       19· · · · A· · ·I've not heard --· I've not personally
20· ·that circumstance you've described.                    20· ·dealt with that, but I've heard of that on
21· · · · Q· · ·(By Mr. Abelman)· So can you think of       21· ·occasions with other people I know of.
22· ·any incentive that the -- that the Wycoffs would       22· · · · Q· · ·(By Mr. Abelman)· Okay.· Are you aware
23· ·have to sell the farm at less than fair market         23· ·that --· Are you aware that Merrie Wycoff offered
24· ·value?                                                 24· ·the lender a deed in lieu to the farm as an
25· · · · · · · MR. PULKRABEK:· Foundation and form.        25· ·alternative to the sale at $2.5 million and that
                                                 Page 147                                                    Page 148
·1· ·the lender declined that offer?                        ·1· ·knowledge of that, no.· I don't recall seeing
·2· · · · A· · ·I am not aware of that, or I don't          ·2· ·that.
·3· ·recall it in reading whatever I read today.            ·3· · · · Q· · ·(By Mr. Abelman)· But you're aware that
·4· · · · Q· · ·There are allegations in the complaint      ·4· ·the purchase price was actually $1,275,000?
·5· ·with regard to the residence also.· Did you --         ·5· · · · A· · ·How much was it?· I'm sorry.
·6· ·Does Midlab believe that the residence was sold        ·6· · · · Q· · ·$1,275,000.
·7· ·for less than fair market value?                       ·7· · · · A· · ·I'm not aware of that or don't recall
·8· · · · · · · MR. PULKRABEK:· Foundation and form.        ·8· ·it.· If you say so, then I accept that.· I don't
·9· ·And I just want to state for the record that this      ·9· ·recall it.
10· ·is not a notice of Rule 30(b)(6) deposition of         10· · · · Q· · ·Isn't it in the complaint?
11· ·Midlab.· This is a deposition of Mr. Keller            11· · · · A· · ·Perhaps.· The complaint's 33 pages, and
12· ·individually.                                          12· ·I read it one time this morning.· I'm not saying
13· · · · · · · But go ahead, Mr. Keller.                   13· ·it's not there.· I'm just saying I don't recall.
14· · · · A· · ·I don't know the answer to that. I          14· · · · Q· · ·Okay.· Would you look at Paragraph 39
15· ·don't know that they have an opinion or knowledge      15· ·on Page 9.· Please read it.
16· ·of it.                                                 16· · · · A· · ·"Based on the representations of
17· · · · Q· · ·(By Mr. Abelman)· Do you individually       17· ·Jeffrey Wycoff and Merrie Wycoff made on the
18· ·have an opinion or knowledge about that?               18· ·Statement of Financial Condition, Midlab, Inc.
19· · · · A· · ·No.                                         19· ·proceeded with manufacturing products for Zap!
20· · · · Q· · ·Have you seen the e-mail from Karen         20· ·Products, Inc., with Jeff Wycoff's obligations
21· ·Bernardi dated November 27th of 2017 where she         21· ·under the Guaranty securing payment of Zap!
22· ·recommends selling the residence at between            22· ·Products, Inc.'s obligations to Midlab, Inc."
23· ·$975,000 and $1.1 million?                             23· · · · Q· · ·Do you think that's a full and fair
24· · · · · · · MR. PULKRABEK:· Form.                       24· ·representation?
25· · · · A· · ·No.· I have no --· No.· I have no           25· · · · · · · MR. PULKRABEK:· Form.

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·1· · · · · · · Go ahead.                                   ·1· · · · A· · ·I --· I don't have an opinion to your
·2· · · · A· · ·Yes.                                        ·2· ·characterization.· I don't --· That's your --
·3· · · · Q· · ·(By Mr. Abelman)· I thought we had          ·3· ·That's maybe your opinion.· I don't --· I don't
·4· ·established that Midlab had a pretty -- had a          ·4· ·have an opinion about your question.
·5· ·valuation -- had performed an evaluation of ZAP!       ·5· · · · Q· · ·(By Mr. Abelman)· Well, if you were
·6· ·that took a couple months before Midlab accepted       ·6· ·writing it, how would you write it?
·7· ·ZAP! as a customer.                                    ·7· · · · · · · MR. PULKRABEK:· Object to the form.
·8· · · · · · · Did that not happen?                        ·8· · · · A· · ·I don't know how I would write it off
·9· · · · · · · MR. PULKRABEK:· Form, foundation.           ·9· ·the top of my head in a 10-second answer.
10· · · · A· · ·It is my understanding that that            10· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, the other
11· ·happened.· We discussed that earlier today.            11· ·part of this complaint that is one of the more
12· · · · Q· · ·(By Mr. Abelman)· Where is that             12· ·material elements has to do with Jeff Wycoff's and
13· ·referenced in Paragraph 39?                            13· ·Merrie Wycoff's change in their beneficiary to
14· · · · A· · ·It is not referenced in Paragraph 39.       14· ·Jeff Wycoff's insurance policy.
15· · · · Q· · ·Doesn't Paragraph 39 make it sound as       15· · · · · · · Is that accurate?
16· ·if the statement of financial condition was the        16· · · · · · · MR. PULKRABEK:· Object to the form and
17· ·sole or primary basis for Midlab doing the             17· ·foundation.
18· ·manufacturing?                                         18· · · · · · · Mr. Keller, go ahead and answer, if you
19· · · · · · · MR. PULKRABEK:· Object to the form.         19· ·know.
20· · · · A· · ·My opinion to that answer is that it --     20· · · · A· · ·Again, I'm not a lawyer and not very
21· ·it implies and indicates that it was a factor.· It     21· ·familiar with these types of documents.· As to
22· ·does not say it was the exclusive factor, no.          22· ·whether --· How foundationally important it is in
23· · · · Q· · ·(By Mr. Abelman)· So, at best, it's --      23· ·the overall lawsuit, I'm not qualified to say. I
24· ·it's a statement without important qualifications?     24· ·think that it is an issue and a factor from what
25· · · · · · · MR. PULKRABEK:· Object to the form.         25· ·my layman's opinion and answer is.
                                                 Page 151                                                    Page 152
·1· · · · Q· · ·(By Mr. Abelman)· Okay.· Well,              ·1· ·our timing and our pressing of Merrie.· She
·2· ·Mr. Keller, we've already established you're a         ·2· ·acknowledged the debt and the intention to pay it.
·3· ·very smart man and an accomplished business            ·3· · · · · · · It is my understanding, in a limited
·4· ·person, well-educated.· Tell me, what is the           ·4· ·way, that many machinations went on that assisted
·5· ·essence of Midlab's claims against Merrie Wycoff       ·5· ·them in avoiding that, and so that's the
·6· ·and the other defendants?                              ·6· ·contention of the suit.· I don't have any --
·7· · · · · · · MR. PULKRABEK:· Object to the form of       ·7· ·That's my answer.
·8· ·the question.· I object on the basis of this           ·8· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, let me
·9· ·witness having foundational knowledge.                 ·9· ·say that I agree that you were gentle and that you
10· · · · · · · You may answer, if you can.                 10· ·were considerate with regard to exercising your
11· · · · A· · ·I would defer you to the entirety of        11· ·remedies until you filed this lawsuit.· But you
12· ·the complaint, which would state that in a lot of      12· ·used the word "opportunities."· Tell me what those
13· ·detail.· I --· I don't object to giving you my         13· ·opportunities are -- were.
14· ·overall personal opinion.· Jeff signed a guaranty.     14· · · · · · · MR. PULKRABEK:· Object to the - -
15· ·He promised to pay multiple times using his            15· ·object to the form of the question and foundation.
16· ·assets, his home, his farm in particular, but his      16· · · · · · · Go ahead, if you can.
17· ·home and other assets that could be sold that he       17· · · · A· · ·I cannot answer your question now.
18· ·controlled through various business entities, such     18· · · · Q· · ·(By Mr. Abelman)· I'm sorry.· You used
19· ·as the ZAP! intellectual property value that he        19· ·the word "opportunities."· I want you to explain
20· ·was trying to sell to Henkel as an example.            20· ·what -- to what opportunities you were referring.
21· · · · · · · He committed suicide.· It became,           21· ·I can have the question read back to you.
22· ·again, from my layman's understanding, an              22· · · · A· · ·No.· That's okay.· The opportunities
23· ·obligation of his estate and was due.· And there       23· ·are outlined in the complaint as I understand
24· ·was opportunity to make good on it or portions of      24· ·them.
25· ·it and that was not done.· We were very gentle in      25· · · · Q· · ·I would like you to tell me in your own

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·1· ·words, though.                                         ·1· ·statements that are inconsistent with what the law
·2· · · · · · · MR. PULKRABEK:· Object to the form.         ·2· ·is.
·3· · · · Q· · ·(By Mr. Abelman)· I mean, we've been        ·3· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, please
·4· ·through --· We've been through the farm and we've      ·4· ·answer the question.
·5· ·been through the residence.· I've asked you            ·5· · · · · · · MR. PULKRABEK:· There is no question
·6· ·several times about what the fair market value         ·6· ·pending, Mr. Abelman.· You made a statement.· So
·7· ·would be, and you don't have knowledge about that.     ·7· ·if you want to ask a new question, ask a new
·8· · · · · · · Let's talk about what opportunities --      ·8· ·question.
·9· ·What other assets should have been made available      ·9· · · · Q· · ·(By Mr. Abelman)· I'll repeat the
10· ·to Midlab?                                             10· ·question that's pending, which is please
11· · · · · · · MR. PULKRABEK:· Foundation and form.        11· ·elaborate, in your own words, as to what
12· · · · A· · ·I --· So I --· I don't have a detailed      12· ·opportunities or what other assets were available
13· ·answer for you.· If this goes forward, those would     13· ·or should have been made available to Midlab.
14· ·be discovered in a trial, as I understand it.          14· · · · · · · MR. PULKRABEK:· Same objections, form
15· · · · Q· · ·(By Mr. Abelman)· That is true, but you     15· ·and foundation.
16· ·don't have the luxury of not answering the             16· · · · · · · Go ahead, Mr. Keller.· You can answer.
17· ·question.                                              17· · · · A· · ·I don't know exactly, but perhaps the
18· · · · · · · MR. PULKRABEK:· Mr. Abelman, I'm going      18· ·home could have been sold, as well as perhaps
19· ·to impose an objection to your statement there.        19· ·other -- the remaining intellectual property of
20· ·He does have the luxury of answering the way he's      20· ·the various companies and the farm itself at the
21· ·answered.· This isn't a 30(b)(6) deposition in         21· ·higher market values.· I don't know what would
22· ·which you've noticed topics and asked Mr. Keller       22· ·have shaken out at the end of paying other
23· ·to expound on legal theories or anything along         23· ·obligations, but you've asked for my personal
24· ·those lines.· He's giving you his testimony.· He's     24· ·opinion.· So I felt like we were put off and
25· ·answered your questions.· I object to you making       25· ·stalled and that others were -- some others were
                                                 Page 155                                                    Page 156
·1· ·paid and dealt with and we were not, to our            ·1· ·should read the multiple documents that have been
·2· ·detriment.                                             ·2· ·created.· I'm asking why you haven't read the ones
·3· · · · · · · I don't know of any other assets to --      ·3· ·that are probably the most salient to your
·4· ·to list for you or to suggest beyond what I've         ·4· ·lawsuit.
·5· ·said.                                                  ·5· · · · · · · MR. PULKRABEK:· Object to the form.
·6· · · · Q· · ·(By Mr. Abelman)· And you're right.         ·6· ·Object, foundation.· He's answered the question.
·7· ·Some others were paid.· Are you aware that the         ·7· ·You're making a speech, Mr. Abelman, and I'd ask
·8· ·other creditors of ZAP! were paid pennies on the       ·8· ·you to move on to a different topic.
·9· ·dollar?                                                ·9· · · · · · · MR. ABELMAN:· I'm not interested in
10· · · · A· · ·I am not aware of that.                     10· ·moving on.
11· · · · · · · MR. PULKRABEK:· Foundation.                 11· · · · Q· · ·(By Mr. Abelman)· Please answer the
12· · · · Q· · ·(By Mr. Abelman)· Your --· You have --      12· ·question.
13· ·You have been given --· Your --· Your counsel has      13· · · · A· · ·I don't have an answer beyond that I
14· ·been given a list of ZAP! creditors who were paid      14· ·just haven't.· I've been busy.· The first time
15· ·and how much they were paid.· It --· If that's         15· ·I've gotten very involved in this was yesterday
16· ·important to Midlab, why don't you know about it?      16· ·afternoon, and I simply have not.· That is my
17· · · · · · · MR. PULKRABEK:· I object to the form        17· ·response.
18· ·and foundation.· Frankly, it's misstating              18· · · · Q· · ·Does Midlab believe it's entitled to be
19· ·evidence.                                              19· ·paid by ZAP! at some higher rate than other
20· · · · · · · Go ahead, Mr. Keller, if you can.           20· ·similarly situated creditors?
21· · · · A· · ·I don't know why I'm -- I have not been     21· · · · · · · MR. PULKRABEK:· Form and foundation.
22· ·informed of that.· Perhaps I have not asked or         22· · · · · · · If you can answer the question, go
23· ·have not read all of the multiple documents that       23· ·ahead.
24· ·have been created.                                     24· · · · A· · ·I do not have an opinion on that.
25· · · · Q· · ·(By Mr. Abelman)· I'm not implying you      25· · · · Q· · ·(By Mr. Abelman)· I'm sorry.· I don't

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·1· ·understand.· It's --                                   ·1· ·that's certainly your prerogative.
·2· · · · A· · ·I don't know the other creditors. I         ·2· · · · · · · MR. ABELMAN:· It's clear that what's
·3· ·don't know their situations.· I --· I'm --· I care     ·3· ·happening is you're running amuck with this case,
·4· ·about Midlab and their situation, and I don't have     ·4· ·and so -- and we -- and we will be taking some of
·5· ·anything else to say about that.                       ·5· ·this up.
·6· · · · Q· · ·Well, would it influence your position      ·6· · · · · · · MR. PULKRABEK:· Mr. Abelman, I mean,
·7· ·if you saw what the other creditors of ZAP!            ·7· ·it's noted that your law firm happened to get paid
·8· ·accepted as -- as a full and final settlement?         ·8· ·100 cents on the dollar out of these creditors,
·9· · · · · · · MR. PULKRABEK:· Okay.· I'm going to         ·9· ·when you're trying to tell Mr. Keller here that it
10· ·shut the questioning down.· This is actually,          10· ·was pennies on the dollar.· So with all respect, I
11· ·essentially, probing into what Midlab's settlement     11· ·think that your -- your questions are misleading.
12· ·position would be, Mr. Abelman.· It's an improper      12· · · · · · ·I think you've been making plenty of
13· ·line of questioning.                                   13· ·speeches, and I'm just asking you to move on to
14· · · · · · · Don't answer the question.                  14· ·some questions of this witness that are not really
15· · · · · · · MR. ABELMAN:· I didn't ask him for a        15· ·just trying to drive at your own speeches and
16· ·number.· I asked him if he was interested.             16· ·trying to get matters that, frankly, are improper,
17· · · · · · · MR. PULKRABEK:· This is --· This has no     17· ·like Midlab's valuation.
18· ·probative value to the lawsuit, and it's clear         18· · · · · · · MR. ABELMAN:· Ross, don't make
19· ·that what you're doing is you are probing into         19· ·misstatements.· I was asking about creditors of
20· ·Midlab's valuation of a settlement issue for this      20· ·ZAP! alone, not creditors of -- of Merrie Wycoff.
21· ·case, which is an improper line of questioning.        21· ·So the --· You know, talk about speeches.· You
22· ·There's no probative evidence that could emerge        22· ·just made one.
23· ·from this line.                                        23· · · · · · · MR. PULKRABEK:· All right.· Can we move
24· · · · · · · If you want to take it up with the          24· ·on to a question that has something to do with
25· ·Court and have -- have the Court rule on it,           25· ·facts that Mr. Keller might be able to testify
                                                 Page 159                                                    Page 160
·1· ·about?                                                 ·1· ·insurance rather than --· I'm sorry.· Let me
·2· · · · · · · MR. ABELMAN:· Well, again, I'm trying       ·2· ·restate that.
·3· ·to understand the nature of the dispute, so --· so     ·3· · · · · · · Merrie Wycoff was changed from a
·4· ·I'll go back to the insurance policies.                ·4· ·beneficiary on -- as -- from Jeff's life insurance
·5· · · · Q· · ·(By Mr. Abelman)· Mr. Keller, the           ·5· ·policy and Merrie Wycoff, the beneficiary, was
·6· ·complaint sets forth that Jeff Wycoff, for             ·6· ·changed to the Wycoffs' two daughters.· Is it your
·7· ·instance, in November of 2017, changed the             ·7· ·position that those policies -- or the proceeds
·8· ·designation of his beneficiaries to his daughters,     ·8· ·from -- from those insurance policies should have
·9· ·who are, I think, the ages are 22 and 25               ·9· ·been made available to Midlab?
10· ·currently.· Is it Midlab's position --· Is it your     10· · · · · · · MR. PULKRABEK:· Form, foundation.
11· ·position that the -- the proceeds from the             11· · · · · · · Go ahead, if you can answer.
12· ·insurance policies shouldn't go to Jeff Wycoff's       12· · · · A· · ·I do not have much specific knowledge
13· ·children and that should have gone to Midlab?          13· ·of that issue, Mr. Abelman.· It is my
14· · · · · · · MR. PULKRABEK:· Foundation, form,           14· ·understanding from reading the complaint and from
15· ·misstates evidence.                                    15· ·memory that -- and I may have this slightly wrong,
16· · · · · · · Go ahead and answer, if you can,            16· ·or maybe I have it exactly right -- those
17· ·Mr. Keller.                                            17· ·insurance proceeds were to originally go to the
18· · · · A· · ·In my opinion, that's -- that's not --      18· ·mortgage holder and that that change was made
19· ·So that's not my opinion or Midlab's, in that we       19· ·unbeknownst to the mortgage holder.· Therefore,
20· ·never were promised or had insurance policies on       20· ·the farm and other real estate that could have
21· ·Jeff.· So, no.                                         21· ·been used to pay other creditors was impaired and
22· · · · Q· · ·(By Mr. Abelman)· What about --· The --     22· ·wrapped up in this when it should not have been.
23· ·The complaint also references changes that Merrie      23· · · · · · · ·That's the --· And that's from
24· ·Wycoff made to her policies that also designated       24· ·communications with -- with other people.· I don't
25· ·her two daughters as beneficiaries on Jeff's life      25· ·have any specific knowledge, but that's my

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·1· ·understanding.· So if true, then indirectly, that                    ·1· ·lawsuit, yes.
·2· ·would have damaged Midlab.· But I don't have any                     ·2· · · · · · · MR. ABELMAN:· Mr. Keller, I -- I
·3· ·more knowledge about that than what I've just                        ·3· ·appreciate your time today.· I appreciate your
·4· ·said.                                                                ·4· ·civility.· I apologize if you felt disrespected in
·5· · · · Q· · ·(By Mr. Abelman)· And explain to me how                   ·5· ·any way.· That was not my intent.· I --· I truly
·6· ·that would have damaged Midlab.                                      ·6· ·have respect for you and your accomplishments.
·7· · · · · · · MR. PULKRABEK:· Foundation, form.                         ·7· · · · · · · I have no further questions.
·8· · · · · · · Go ahead, if you're able to answer the                    ·8· · · · · · · THE DEPONENT:· Thank you, Steve.· I was
·9· ·question, Mr. Keller.                                                ·9· ·not offended.· It's a tiresome process, but I view
10· · · · A· · ·If --· If --· If my understanding is                      10· ·that you're doing your job to the best of your
11· ·correct, the mortgage holder, when the death                         11· ·ability.· Disagreements can sometimes be
12· ·occurred, would have had plenty of money to have                     12· ·unpleasant, and that's life.
13· ·been paid in full.· And the properties would have                    13· · · · · · · Thank you for your time.
14· ·been free and clear, and there's a lot of dollar                     14· · · · · · · MR. PULKRABEK:· I have no questions for
15· ·value there to go towards other debts.                               15· ·the witness.· Thank you.
16· · · · Q· · ·(By Mr. Abelman)· So is it your                           16· · · · · · · We will read and sign, and I will take
17· ·understanding that these insurance policies were                     17· ·an E-tran with exhibits, please.
18· ·pledged to the mortgage holder?                                      18· · · · · · · THE REPORTER:· Thanks, everyone.
19· · · · · · · MR. PULKRABEK:· Form and foundation.                      19· · · · · · · (The deposition concluded at
20· · · · · · · You can answer.                                           20· · · · · · · ·2:22 p.m., August 6, 2021.)
21· · · · A· · ·I --· I don't know, Mr. Abelman.                          21
22· · · · Q· · ·(By Mr. Abelman)· Would that be                           22
23· ·important for you to know?                                           23
24· · · · A· · ·For me, no.· For my counsel, who -- who                   24
25· ·pursues the lawsuit and the execution of the                         25
                                                               Page 163                                                             Page 164
·1· · · · · · I, VINCENT T. KELLER, do hereby certify                     ·1· ·STATE OF COLORADO)

·2· ·that I have read the foregoing transcript and                        ·2· · · · · · · · · · )ss.· ·REPORTER'S CERTIFICATE

·3· ·that the same and accompanying amendment sheets,                     ·3· ·COUNTY OF DENVER )

·4· ·if any, constitute a true and complete record                        ·4· · · · ·I, Tracy L. Harris, do hereby certify that I
                                                                          ·5· ·am a Certified Realtime Reporter, Registered Merit
·5· ·of my testimony.
                                                                          ·6· ·Reporter, and Notary Public within the State of
·6
                                                                          ·7· ·Colorado; that previous to the commencement of the
·7· · · · · · · · · · · · · ________________________
                                                                          ·8· ·examination, the deponent was duly sworn to
·8· · · · · · · · · · · · · Signature of Deponent
                                                                          ·9· ·testify to the truth.
·9
                                                                          10· · · · ·I further certify that this deposition was
10· · · · · · · · · · · · · (· ) No amendments
                                                                          11· ·taken in shorthand by me at the time and place
11· · · · · · · · · · · · · (· ) Amendments attached                      12· ·herein set forth, that it was thereafter reduced
12                                                                        13· ·to typewritten form, and that the foregoing
13· · · · · · · · ·Subscribed and sworn to before me                      14· ·constitutes a true and correct transcript.
14· ·this _____ day of _____________, 2021.                               15· · · · ·I further certify that I am not related to,

15                                                                        16· ·employed by, nor of counsel for any of the parties

16· · · · · · My commission expires ________________                      17· ·or attorneys herein, nor otherwise interested in
                                                                          18· ·the result of the within action.
17· · · · · · Seal:
                                                                          19· · · · ·In witness whereof, I have affixed my
18
                                                                          20· ·signature this 16th day of August, 2021.
19
                                                                          21· · · · · My commission expires July 30, 2025.
20
                                                                          22
21
                                                                          23
22
                                                                          · · · · · · · · · · · ·_______________________________
23· ·TLH
                                                                          24· · · · · · · · · · ·Tracy L. Harris, CRR, RMR, RPR
24                                                                        · · · · · · · · · · · ·216 - 16th Street, Suite 600
25                                                                        25· · · · · · · · · · ·Denver, Colorado 80202



           EXHIBIT Q
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·1· ·AB LITIGATION SERVICES                                             ·1· ·AB LITIGATION SERVICES
· · ·216 - 16th Street, Suite 600                                       · · ·216 - 16th Street, Suite 600
·2· ·Denver, Colorado· 80202
                                                                        ·2· ·Denver, Colorado· 80202
·3· ·August 16, 2021
                                                                        ·3
·4· ·KEATING WAGNER POLIDORI FREE, PC
· · ·Ross W. Pulkrabek, Esq.                                            ·4
·5· ·1290 Broadway, Suite 600                                           ·5· · · · · · · · · · VINCENT T. KELLER
· · ·Denver, Colorado· 80203                                            · · · · · · · · · · · ·August 6, 2021
·6
                                                                        ·6· · · Midlab, Inc. vs. Merrie Pisano Wycoff, et al.
· · ·Re:· Deposition of VINCENT T. KELLER
·7· · · · Midlab, Inc. vs. Merrie Pisano Wycoff, et al.                 · · · · · · ·Civil Action No. 1:20-CV-03142-KLM
· · · · · Civil Action No. 1:20-CV-03142-KLM                            ·7
·8                                                                      ·8
· · ·The aforementioned deposition is ready for                         ·9· ·The original deposition was filed with
·9· ·reading and signing.· Please attend to this
                                                                        10· ·Steven E. Abelman, Esq., on
· · ·matter by following BOTH of the items indicated
10· ·below:                                                             11· ·approximately the 16th day of August, 2021.
11· ·_____ Call 303-296-0017 and arrange with us                        12· ·_____ Signature waived
· · · · · ·to read and sign the deposition in our                       13· ·_____ Signature not requested
12· · · · ·office                                                       14· ·_____ Unsigned; signed signature page and
13· ·_XXX_ Have the deponent read your copy and sign
                                                                        · · · · · ·amendment sheets, if any, to be filed at
· · · · · ·the signature page and amendment sheets, if
14· · · · ·applicable; the signature page is attached                   15· · · · ·trial
15· ·_____ Read the enclosed copy of the deposition                     16· ·_XXX_ Unsigned; original amendment sheets and/or
· · · · · ·and sign the signature page and amendment                    · · · · · ·signature pages should be forwarded to
16· · · · ·sheets, if applicable; the signature page                    17· · · · ·AB Litigation Services to be filed in the
· · · · · ·is attached
                                                                        · · · · · ·envelope attached to the sealed original.
17
· · ·_XXX_ WITHIN 30 DAYS OF THE DATE OF THIS LETTER                    18
18                                                                      19
· · ·_____ By _______ due to a trial date of _______                    · · ·Thank you.
19                                                                      20
· · ·Please be sure the original signature page and
                                                                        · · ·AB LITIGATION SERVICES
20· ·amendment sheets, if any, are SIGNED BEFORE A
· · ·NOTARY PUBLIC and returned to AB Litigation                        21
21· ·Services for filing with the original deposition.                  · · ·cc:· All Counsel
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25                                                                      25

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· · · · · Deposition of VINCENT T. KELLER

· · · · · · · · · August 6, 2021

· Midlab, Inc. vs. Merrie Pisano Wycoff, et al.

· · · · Civil Action No. 1:20-CV-03142-KLM

The deponent wishes to make the following changes

in the testimony as originally given:

Page· Line· · · · · ·Should Read· · · · · Reason

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Signature of Deponent: __________________________

Acknowledged before me this ____ day of _________,

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